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in re: ERIN ENERGY le C s' No.18-321
coRPoRATioN,"éi"'.-;\l
Debtors.

 

 

SWORN AFFIDAV|T OF FACTS OF MR BOSAH OKONY|A

l, Mr Bosah 0konyia, Adu|t, |Vlale, Christian, Nigerian Citizen of Zenith
l-leights1 Plot 84/87Ajose Adeogun Street, Victoria ls|and, Lagos, Nigeria do

hereby make oath and state as follows;

lNTRODUCTlON

1. That this Affidavit is being sworn to form records in the matter of re: Erin
Energy Corporation With case No. 18-32106 at the United States

Bankruptcy Court, Southern District of Texas, l-louston Division.

2. That l am a Legal Officer in the legal department of Zenith Bank P|c.
Creditor of Erin Petroleum Nigeria Limited, by virtue of Which position l

am conversant With the facts of this case.

3. That |-have the consent and authority of my employer Zenith Bank P|c

(hereinafter referred to as “Zenith Bank”) to depose to this Affidavit.

 

 

 

 

 

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4. That except as otherwise stated, l depose to facts within my personal
knowledge1 as well as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from
information derived in the course of carrying out my duties in the

employment of Zenith Bank.

5. That I have perused the Petition, l\/lotion papers amongst other
processes filed in this matter and am well acquainted with the facts of

this matter.
FACTS SURROUND|NG ZEN|TH TERM LOAN FAC|L|TV

6. That Zenith Bank Plc is a public company incorporated and licensed
under the Laws of the Federal Republic of Nigeria having its registered
office at Plot 84/87, Ajose Adeogun Street, Victoria lsland, Lagos State.

7. That Erin Petroleum Nigeria Limited Previously known as (‘Camac
international Nigeria Limited’) is a private limited company incorporated
under the Laws of the Federal Republic of Nigeria having its registered

office at Plot 1649, Olosa Street, Victoria lsland, l_agos, Nigeria.

8. That Erin Energy Corporation with United States Federal Tax
ldentification Number 9798 Corporation and situate at 1130 Post Oak
Blvd, Suite 2250, Houston Te)<as 77056, is a Company Registered in
the United States and alleges to be the parent company for Erin

Petroleum Nigeria Limited.

9. That Allied Energy PLC is a public company incorporated under the
Laws of the Federal Republic of Nigeria with its registered office at Plot
1649, Olosa Street, Victoria lsland, Lagos, Nigeria, and an affiliate of

Erin Petroleum Nigeria Limited.

 

 

 

 

 

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10. The Nigerian Agip Exploration Limited (NAEL) is a private limited

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company incorporated under the Laws of the Federal Republic of
Nigeria to carry on business in Nigeria with its offices situate at 1, Elsie

Femi Pearse Street, Victoria lsland, Lagos, Nigeria.

That by virtue of an Acreage Allocation (Discretionary Award) of OPL

210 issued by the Nlinistry of Petroleum Resources (Petroleum

Resources Department), Allied Energy Plc. is the legal holder of Oil
Mining Leases (O|VlL) 120 and 121.

That by virtue of a transfer agreement between Erin Petroleum Nigeria
Limited and Allied Energy Plc., Erin Petroleum Nigeria Limited acquired
all the economic interest of Allied Energy Plc. in the oil block covered by
OlVlL 120 and 121 (although the approval of the l\/linister of Petroleum

was yet to be obtained with respect to the transfer).

That Erin Petroleum Nigeria Limited sometime in 2014, approached
Zenith Bank Plc for a Term Loan Facility of USD100, 000,000.00 (One
Hundred lVlillion United States Dollars) to part-finance the expansion

and development of the oil blocks covered by OlVlL120 and 121.

That by virtue of a Term Loan Facility Agreement on about September
30, 2014, Zenith Bank granted a loan facility of USD100, 000,000.00
(One Hundred lVlillion United States Dollars) to Erin Petroleum Nigeria
Limited. A copy of the Term Loan Facility Agreement is hereto annexed

and marked as Exhibit1.

That as security for the repayment of the loan facility granted by Zenith
Bank to Erin Petroleum Nigeria Limited, Erin Petroleum Limited

undertook to obtain in favour of Zenith Bank, a legal charge over the

 

 

 

 

 

 

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both Erin Petroleum Nigeria Limited and Allied Energy Plc.’s entire
interest in Oil Block ONlL 120 and 121.

That further to paragraph 15 above, a Deed of Legal Charge over
interest in OlVlL 120 and 121 dated Nlay 14, 2014 was executed
between Zenith Bank and Erin Petroleum Nigeria Limited as well as
Allied Energy Plc., by which Allied Energy Plc. charged its entire interest
in OlVlL 120 and 121 in favour of Zenith Bank.

That an undertaking from Al|ied Energy Plc committing to domicile the
proceeds from sale of crude oil and processing of all NXPs through its

account with Zenith.

. That similarly, an All Asset Debenture dated November 25, 2014 was

executed between Zenith Bank and Erin Petroleum Nigeria Limited, by
which Erin Petroleum Nigeria Limited charged Al_L its assets whether

fixed, or floating, present and future in favour of Zenith Bank.

That some of the agreements executed as security for the repayment of
the Term Loan Facility Agreement granted by Zenith Bank to Erin

Petroleum Nigeria Limited are:

19.1 All Assets Debenture dated November 25, 2014;
19.2 Deed of Legal Charge dated Nlay 14, 2015; and
19.3 Deed of Assignment of Rights.

20. The agreements outlined in the above paragraph are hereto annexed

21

and marked as Exhibits 2, 3 and 4 respectively

. That following the execution of the above referenced Deed of Legal

Charge and Deed of All Assets Debenture, in evincing security of credits

 

 

 

 

 

 

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22.

under Nigerian law, Zenith Bank registered the aforementioned security
documents at the Corporate Affairs Commission which are evidenced
by the Certificate of Registration of Deed of Legal Charge dated lVlay
26, 2015 and the Certificate of Registration of Deed of All Assets
Debenture dated December 12, 2014. Copies of the Certificates of
Registration are hereto annexed and marked as Exhibits 5 and 6

respectively

ER|N PETROLEUM NlGER|A LlMlTED’S DEFAULT |N LOAN
REPAYMENT OBLIGAT|ON

That by Clause 17 (Representation and Warranties) of the Term l_oan
Facility Agreement between Zenith Bank and Erin Petroleum Nigeria
Limited1 particularly, paragraph 17.8 thereof (proceedings pending or
threatened)1 Erin Petroleum Nigeria Limited represented and warranted
to Zenith Bank that, no litigation, arbitration or administrative proceeding
of or before any court, arbitral body or agency has (to the best of its
knowledge and belief) been stated or threatened against it (or against
its directors) or any other Obligor (or against any director of an Obligor)

which:

a) l\/lay restrain its entry into, the exercise of its rights under, or the
performance, enforcement of or compliance with any of its

obligations under this Agreement', or

b) lf adversely determined, would reasonably be expected to have a

material adverse effect

23. That at the time of entering into the Term l_oan Facility Agreement and

the Disbursement of the loan sum by Zenith Bank to Erin Petroleum

Nigeria Limited, Zenith Bank was not aware or informed of the existence

 

 

 

 

 

 

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of any |itigation, arbitration or administrative proceeding the Erin
Petroleum Nigeria Limited or Allied Energy Plc., or any other parties

thereof

24. That by a Thisday Newspaper in Nigeria extract dated February 20,

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28.

2018; Zenith Bank became aware of an Arbitral Award given at the
London Court of international Arbitration (LClA) on February 14, 2017.
A copy of the newspaper extract is hereto annexed and marked as
Exhibit 7.

That by the above referenced newspaper publication Zenith Bank
became aware that the NAEL had obtained a Final Arbitral Award
against Erin Petroleum Nigeria Limited and Allied Energy Plc. from the
l_ClA in an Arbitration with Arbitration number: LC|A 132498.

That the Arbitral Award which was given by the London Court of
international Arbitration purportedly arose from a dispute on a Sale and
Purchase Agreement (SF’A) which was concluded in June 2012

between NAEL as Seller and Allied Energy Plc. as Purchaser.

That by virtue of the above referenced SPA; the NAEL had transferred
to Allied Energy Plc., the entirety of its interest and rights in both Oil
l\/lining l_eases 120 and 121.

That the said Arbitral Award was given in respect of the Oil Assets
(Ol\/lL 120 and 121 )1 the interest of which is charged in favour of Zenith
Bank as security for the repayment of the Term Loan Facility granted by

Zenith Bank to Erin Petroleum Nigeria Limited.

 

 

 

 

 

 

 

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That by virtue of an Order of the Federal High Court of Nigeria made on
lVlay 11, 2017l leave of Court was granted to NAEL that the LC|A Fina|
Award dated February 14, 2017 be recognised and enforced A copy of
the Order of the Federal High Court dated l\/iay 11, 2017 is hereto
annexed and marked as Exhibit 8.

That the said order of the Federal High Court enforcing and recognising
the Arbitral Award is for the cumulative sum of $101,638,966.67 (One
Hundred and One i\/lillion, Six Hundred and Thirty Eight Thousand, Nine
Hundred and Sixty Six United States Dollars, Sixty Seven Cents) and
interest thereon compounded on a monthly basis against Erin

Petroleum Nigeria Limited

That NAEL in an attempt to realise the fruits of the Award granted by the
LC|A and recognised by an Order of the Federal i-ligh Court dated i\iiay
11, 2017 executed a ‘Notice of Seizure/Attachrnent of Goods' by locking
the export valve on the FPSO operated by Allied Energy Plc. (the
interest of which has been charged in favour of Zenith Bank for the
repayment of the loan granted by Zenith Bank to Erin Petroleum Nigeria
Limited).

That Clause 19 (lll) (lV) and (v) of the loan facility agreement stipulates
what amounts to an event of default as it relates distresses or

encumbrances on the charged assets under the loan.

That there have also been defaults by Erin Petroleum Nigeria Limited on

the repayment of the loan facility.

That there has been non-payment of the Principal of $4,903,272.79 and
interest of $2,065,019 which were due on lViarch 30, 2018.

 

 

 

 

 

 

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35. That it was agreed by Erin Petroleum Nigeria Limited and Zenith Bank
Plc., that Debt Service Recovery Account (DSRA) funding would initially
be for one (1) quarter of interest, but will increase to two (2) quarters

once oil price is at or above $55 per barrei.

36. That there has been non-funding of the additional quarter of DSRA upon

achievement of Crude Oil price of over $55 dollars.

37. That contrary to an agreement between Erin Petroleum Nigeria Limited
and Zenith Bank l:i’lc.l notwithstanding several notices issued by Zenith
Bank Plc. to Erin Petroleum Nigeria Limited1 there has been a continued

failure to institute a hedge protection

APPL|CABLE LAW AND COURT WiTH JURiSD|CT|ON

38. That i know for a fact that the contract between Zenith Bank Plc and
Erin Petroleum Nigeria Limited and all the relevant agreements between
them including the Term Loan Facility Agreement, the All Assets
Debenture and all relevant security documents are governed by

Nigerian Law by the mutual agreement of the Parties.

39. That the Companies and Allied iVlatters Act Chapter C20, Laws of the
Federation of Nigeria 2004 is the relevant Law governing Nigerian-

registered companies and their activities.

40. That Erin Petroleum Nigerian Limited being a company registered in
Nigeria, is subject to the authority of Nigerian courts, the Companies

and Allied i\/latters Act and other extant laws of Nigeria.

41. That the aforesaid Companies and Allied l\/latters Act contains
numerous and copious provisions regulating Arrangement and

Compromise of a Company with its Creditors, which provisions are

 

 

 

 

 

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similar in nature to the provisions sought to be relied up by Erin Energy
Corporation on behalf of Erin Petroleum Nigeria Limited in the Vo|untary

Petition for Chapter 11 Bankruptcy in the United States of America.

42. That | know for a fact that reiiefs identical to those sought by Erin
Energy Corporation purportedly on behalf of Erin Petroleum Nigeria
Limited for reorganisation, bankruptcy or howsoever referred to, are
provided for in the Companies and A|iied i\/latters Act and other extant

Nigerian Laws on the subjectl

43. That the 1999 Constitution of the Federal Repub|ic of Nigeria (as
amended) is the grundnorm, the supreme law of Nigeria and has
binding force on all the authorities and persons throughout the Federal

Repub|ic of Nigeria

44. That the aforesaid 1999 Constitution of Nigeria vests the Nigerian
courts with all judicial power and authority to adjudicate upon all matters
between persons, or between government or authority and to any
persons in Nigerial and to all actions and proceedings relating thereto,
for the determination of any question as to the civil rights and

obligations of that person.

45. That the Federal l-iigh Court (of Nigeria) is the particular court vested
With the authority and exclusive jurisdiction under the 1999 Constitution
of Nigeria to determine all matters arising from the operation of the
Companies and A||ied i\/latters Act or any other enactment replacing the
Act or regulating the operation of companies incorporated under the

Companies and A||ied lVlatters Act.

 

 

 

 

 

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46. That l know for a fact that the proper forum for creditor arrangement or
business reorganisation involving Erin Petroleum Nigeria Limited is the
judicial division of the Federal High Court of Nigeria where the head
office of Erin Petroleum Nigeria Limited is situatel being the Federal

High Court of Nigeria, Lagos Judiciai Division.

CONCEALMENT OF FACTS BY ER|N PETROLEUM NlGER|A
L|M|TED

47. That one lVlr. Kase Lukman Lawa| is the Chairman and Chief
Executive of Erin Energy Corporation which is the parent company of
Erin Petroleum Nigeria Limited and the corporate entity which filed the
petition for Chapter 11 Bankruptcyat the United States Bankruptcy

Court, Southern District of Texasl Houston Division..

48. That lVlr. Kase Lukman Lawa| is also the Chairman and Chief
Executive of other related corporations including CAIV|AC international
Corporation and A|iied Energy Corporation. Annexed hereto is the
search report dated Aprii 13, 2018 by the law firm of Okwubanego &
Okwubanego as Exhibit 9.

49. That a dispute arose sometime in 2012 between Camac Petroleum
Limited (now Erin Nigeria Petroleum Limited) and Nigeria AG|P Energy
Limited (NAEL), a subsidiary of italian oil major EN|. Allied Energy
purportedly bought 40 percent of the oil rights in Oil |Vlining Lease
(ON|L) 120 and 121 from NAEL and transferred same to Camac
Petroleum Limited, however A||ied Energy only paid $100 million of a

$270million purchase price, according to court records

 

 

 

 

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50. That l know for a fact that the Courts in Nigeria and the London Court
of international Arbitration ruled in favour of NAEL in the dispute,
instructing Camac international to pay NAEL $200-million, a Cayman
islands court issued a winding up order for Lawal’s Camac international

who was its chairman, CEO and controlling shareholder

51. That Zenith Bank Plc has filed an application dated April 17, 2018
seeking leave of the Court of Appeal to appeal as an interested party
against the Judgment of the Federal High Court of Nigeria (recognising
and enforcing the Award of the London Court of international Arbitration
granted in favour of NAEL) as weil as an application for Stay of
execution of the said Judgment The above referenced application of
Zenith Bank plc seeking leave to appeal as an interested party dated
April 14, 2018 and the application for Stay of Execution dated i\/iay 8,
2018 are herein annexed and marked Exhibits 10 and 11.

52. That in 2016, South Africa’s Pension investment Corporation (PlC)
investment Committee agreed to secure a $100-million bank guarantee
so that Erin Energy Corporation could borrow for drilling and other
expenses at the Oyo oil field covered by the aforementioned Oi\/iLs 120
and 121. This secondary loan was finalised in January 2017l and Erin

pledged its assets as security thereunder.

53. That i know for a fact that neither Erin Energy Corporation nor Erin
Petroleum Nigeria Limited or any of its subsidiaries raised any of the
above facts before this Honourabie Court in its Vo|untary Petition for

Chapter 11 Bankruptcy

 

 

 

 

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CONCLUS|ON

That Erin Petroleum Nigeria Limited being a private limited company
registered under Nigeria laws of the Federal Republic of Nigeria is a

body Corporate, separate and distinct from Erin Energy Corporation.

That Erin Petroleum Nigeria Limited and its subscribers together with
the members of the Company constitute a body capable of exercising all
the powers and functions of an incorporated company including the

power to sue and be sued in its own name.

That the credit facility advanced by Zenith Bank Plc to part finance the
expansion and development of the oil blocks covered by OiVlL 120 and
121 was granted to Erin Petroleum Nigeria Limited and not its parent

company and/or such other entity affiliated to it.

That Zenith Bank continues to possess a first lien over ALL the
economic interest accruing from O|VlL 120 and 121 as security for the
repayment of the credit facility granted to Erin Petroleum Nigeria
Limited.

That further to paragraph above, Erin Petroleum Nigeria Limited
charged in favour of Zenith Bank Plcl ALL its assets whether fixed or
floating, present and future as security for the credit facility advanced to
it by Zenith Bank Pic.

That in paragraph 3 of the ‘Debtors’ Emergency iVlotion for the Entry of
an Order pursuant to Section 105 (a) and 382 of the Bankruptcy code
extending the automatic stay’, the Petitioners alluded to the fact that
Erin Petroleum Nigeria Limited accounts for virtually all of Erin Energy

Corporation’s revenues

 

 

 

 

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That what the Petitioners seek to do by this voluntary petition filed under
chapter 11 of the United States Code is to utilize the assets of Erin
Petroleum Nigeria Limited held by Zenith Bank Plc as a security for the
credit facility granted in 2014 to finance its operations and settle its
outstanding obligations to other creditors despite Zenith Bank Plc being

a first lienor to ALL the Assets of Erin Petroleum Nigeria Limited.

That Erin Petroleum Nigeria Limited being a Company incorporated
under the Companies and Allied iVlatters i\ct1 Cap C20, Laws of the
Federation of Nigeria, 2004 is a Nigerian Company, governed and

subject to Nigerian Laws

That matters relating to arrangement and compromise involving a
Company incorporated under the Laws of Nigerian (as in the instant
case with ‘Erin Petroleum Nigeria Limited’) has been sufficiently
provided from Section 537 - 540 of the Companies and Allied i\/latters
Act, Cap. C20, Laws of the Federation of Nigeria, 2004.

That the appropriate Court clothed with jurisdiction to hear any matter
relating to arrangement and compromise with creditors involving a
Company incorporated under the Laws of Nigerian is the ‘Federal High

Court of Nigeria’ to the exclusion of any other Court.

That the voluntary filing of the petition under Chapter 11 by Erin
Petroleum Nigeria Limited is a deliberate attempt to usurp the powers of
the Federal High Court of Nigeria as conferred upon it by Section 251
the 1999 Constitution of the Federal Republic of Nigeria (as amended)
and Section 567 of the Companies and Allied iVlatters Act, Cap C20,
Laws of the Federation of Nigeria, 2004.

That the above facts are relevant and ought to be brought to the

attention of this Honourabie Court.

 

 

 

 

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86. That this action is designed to overreach Zenith Bank's secured interest

in its lending to Erin petroleum Nigeria Limited.

87. That this Affidavit is to place on recordl material particulars pertaining to
the voluntary petition under chapter 11 of the United States Code filed
by Erin Energy Corporation and its purported ‘subsidiaries’ including
Erin Petroleum Nigeria Limited which may have been suppressed

and/or unreveaied.

68. That it is in the interest of justice to refuse the grant of the applications
filed by the Debtors as same is orchestrated to hoodwink this
Honourabie Court into making Order in vainl and further plunge Erin

Petroleum Nigeria Limited into further debt with unsuspecting creditors

89. That l make this Affidavit solemnly and in good faithl conscientiously
believing the same to be true and correct in accordance with the Oaths

Law of Lagos State.

 

l
DEPONENT

SWORN to at the Lagos State
High Court Registry1 Lagos1 Nigeria
This Qrv, day of Niay, 2018

 

 

 

 

 

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FOR SERV|CE ON THE DEBTORS

1. Erin Energy Corporation -
|ionel.mcbee@erinenergy.com

AND (2) Erin Energy Corporation’s Attorneys
and/ or Proposed Attorneys, David L. Curry Jr.
Texas Bar No. 00784695

Bridget Moore - bmoore@okinadams.com
Okin Adams LLP

1113 Vine St. Suite 201, Houston, Texas 77002
Tei; 713.228.4100, Fax:888.865.2118

2. Zenith Bank Plc (non-party to US suit)
C/o their Proposed Attorneys

Professor Fabian Ajogwu, SAN

Kenna Partners

Barristers & So|icitors

8, Ogunyemi Road

Paiace Way, Oniru

Victoria island, Lagosr Nigeria

Tei; +234 815 8390714; +234 706 5197981
Email: cnwabulu@kennapartners.com

 

 

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DATED THIS ........,.DAY OF ....................................... , 2014

f b cAMAc PETRoLEuM LlMiTEo
aj 1 ` As aoRRowER

AND

1 ZENITH BANK PLC
AS LENDER

 

s $100,000,000 (ONE HUNDRED MiLLION UNITEDSTATES
DOLLARS)

TERM LOAN FAC|L|TY AGREEMENT
FOR THE EXPANS|ON AND DEVELOPMENT OF THE OlL
BLOCK OML 120 AND 121

 

 

 

 

 

 

 

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_1_ tv t_ __gt‘tt'> dompany incorporated _ ,_.
Pecei¢é_i:&e`i'-'?~ of Nigeria’-has office at 'Cam'ac i-iouse. Pi`ot"“

Victoria’isianci, Lagos (hereinafter referred to as “Th er” which expression shall _

Whera the context so admits include its successors-l ~tide\'mdpssig )H§‘}I§‘di§iii?§zm ~
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AND

zener BANK PLc. a banking company incorpora c*£hd.iise` _ ‘

the Federal Republic of Nigeria having its register r:i'iii’t!§\ttt*i3 tethme
Street, Victoria island, Lagos State (hereinafter referred to as “m_r'_wm`c'i`l_‘
expression shall where the context so admits include its successors-in-titie and assigns)
of the other part

 

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The Borrower and the Lender shall be jointiy referred to as "Partie_s“ in this agreement
WHEREAS:

i. The Borrower has applied to the Lender for a Term Loan Facility in the
principal sum of $100,000,000.00 (One Hundred Miliion United States
Dollars) for the purposes of part financing the expansion and development of
the Oil Block Oi'iiiL 120 and 121.

ii. The legal holder of the Oil Biock OML 120 and 121 is Aiiied Energy P|c. The
Lender understands that by virtue of a Transfer Agreement, between Ailied
Energy Plc and the lBorn:)viierl the Borrower acquired ali the economic interest
of Ai|ied Energyr Pic in Oil Biock ON|L 120 and 121. The approval of the
iiiiinister of Petroleum has not been obtained with respect tc the transfer

lii. Pursuant to the request for the Term Loan Facility by the iBorro\iverI the
Lender has made an Offer cf Credit Facility (dated Juiy 21, 2014) to the
Borrower, the terms of which have been duly accepted by the Bcrrr_wverA

iv. The Lender and the Borrower have agreed upon the grant of the term loan
faciiity by the Lender to the Borrower on the terms and conditions herein
contained

NOW THEREFORE lT IS AGREED as foilovvs:
1. INTERPRETATlON

1.1 in this Loan agreement except the context otherwise admits the following
words, terms, phrases and expressions shall have the meanings ascribed
hereto. i-'urther the male gender shaii include the female gender and vice-
versa while the words and phrases in the singular shall include the piurai
and vice-versa

i. "Ail Assets Debenture" means the Nigerian law governed
agreement so granted by or to be granted by the Borrower in
favour cf the i_ender and to include, without limitation a charge
over the current and future assets cf the Borrower.

= `-T'l;&j j /\“Avaitabiiity Period” means the period during which the Lender
"-°'“-"1"’-‘ inner of Smlp puti`,,! undertakes to make the Term Loan Facility available to the

~v_¢-_-____,._._._____________. _ _
Eorrower for utilization subject to the satisfaction by the Borrower

of atl the conditions precedent to drawdown.

    

 

 

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“Avaiiabte Facility" means the undrawn and uncancelied portion
of the Term Loan Facility_

“Anciliary Documents" means the Legal Charge over the OML
120 and 121, Ail Asset Debenture Deed of Share Charge over the
shares of the sponsors Corporate Guarantees, Letter of Ccmfort
from CAMAC Energy Hoidings Limited and ali other documents
referenced in this Agreernent required in order to give effect to the
Terms of this Ag reement.

“Board of Directors” means the board cf directors for the time
being of the Borrower within the meaning of the Companies and
Aiiied Matters Act CAP 020, Laws of the Federal Republic of
Nigeria, 2004,

“Business Day” means a day on which banks in Nigeria are
open for normal banking business excluding Saturdays and
Sundays and any public holiday declared by the Federal
Government of Nigeria

"Charged Assets" means each of the assets and undertakings of
the Borrower and more particularly charged to the Lender in the
A|i Assets Debenture dated on or about the date of this
Agreement between the Lender and the Borroweri

CAPEX Reserve Account (“CRA"}: An account established with
the Lender and which will be used to build up and maintain the
CRA required balance Such amount shall not be less than 10% of
net revenue after expenses

“Compensation Account" Nieans the account established with
the Lender to be used to receive all insurance payments andior
any other compensation due to the Borrower.

“Ciosing dat'e” means the or any other date
agreed for the execution of this Agreement and any other ancillary
agreementsl

"Drawdown" means when all the conditions to drawdcwn set forth
in this Agreement are metv

"Debt Service Reserve Account" means the account estabiished
by the borrower with the Lender to be used to fund debt service
obligations due_s on the next'repaymeril date. To be funded no
iater than 7 days prior to each repayment date

“Events of Default" means any one cf the events stated in
clause 19 hereof

“Fina| Maturity Date" means ..., 2019 or any other date as may
be agreed in writing between the Lender and the Borrower.

“Legai Charge*’ means the legal charge created or to be created
over Oil Biock OML 120 and 121 {which license is held by Aliied
Energy Pic).

 

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xvi. “LiBOR" means the i_ondon interbanl< Offered Rate which is the
rate at which banks offer and place money at the London inter~
bank money maritall Speoificaiiyl this is the one-month LiBOR
rate for a period equal to that interest period which appears on the
screen display designated as page 3750 on the ivtoneyiine
Teierate Service (or such other screen display or service as may
replace it for the purpose ot displaying British Bankers'
Asscciation L.iBOR Rates for Doiiar deposits in the i_ondcn
interbani< market) at or about 1100 hours GiviT on the applicable
rate fixing day.

xvii. lii'iateria| Adverse Effect: means any outcome or circumstance
which materially and adversely affects the obligations of the
Borrower under this facility agreement or materially and adversely
affects any of the securities hereby created

xviii. “itiioratorium" means a period of grace during which repayment
of the principal amount of the L.oan shall be suspended and shall
be twelve (12) months commencing from the date of the first
drawdown.

 

xix. "iiiionth" means a calendar montn.

xx. “Ob|igor” means any person having an obligation (directiy or
indirectly under this facility agreement or any other ancillary
agreement related to this facility (including Ai|ied Energy Plc` the
off takers, Camac Energy incorporated.... etc)

xxi. "Project" means the further expansion and development of the
Oil B|ock Oi\i|i_ 120 and 121_

xxii. “Request" means a request by the Borrower to utilize the Term
i_oan Facility, substantially in the form of Scheduie 1.

xxiii. “Sponsors” means the shareholders of the Borrowers`

xxiv. “The Term Loan Facility" means the term loan facility described
in clause 2 granted to the Borrower by the Lender_

xxv. “`fhe Loan amount" means the aggregate principal amounts
drawn by the Borrower at any time under the Term i_oan Facility
and not repaid or prepaid

xxvi. “USD" and "$" means the lawful currency of the United States of
America.

1.2 Words and phrases defined in the Companies and Allied iviaters Act Cap
C20 Laws of the Federal Republic of Nigeria 2004 shall subject to the
foregoing have the same meanings respectively in this Tsn'n i_oan Facility
Agreement.

1.3. The headings cf the various clauses are inserted for convenience only
and shall not affect the construction of the c!auses of this Term Loan
Facility Agreement.

 

 

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: - - _ 1.4 Reterences to any statute or statutory provisions are to the statute or
provisions as may from time to time be amendedl modifiedl extended or
re-enacted.

_ 2. FAC|L|TY

The Lender hereby grants to the Borrower upon the terms and subject to the
conditions herein contained a term loan facility in the aggregate principal sum of
US$‘{O0,000,000.UO (One Hundred Mit|ion United States Dollars) to be
designated the Term Loan Facility and the Borrower hereby accepts the Facility
from the Lender.

3. DlSBURSEMENT

 

3.1. The Term Loan Facility sl‘iai“l be avaitable for utilization for a period of 12
(tvvelve) months from the date of execution of this agreement

3.2. The disbursement shall be made in 4 (four) tranches of US$Q§,OO0,000
(Twenty Five Niil|ion US Dollars) each upon satisfaction by the Borrower
ot all the condition precedent lt being understood that at least 10% of the
facility (equivaient of N'l.E\Bi||ion Naira) shall be disbursed in Nigeria
currency (Naira)_

 

3.3. The Term Loan Facility shall be available in US Dollars {for offshore
portion) and Naira (for payment to local contractors and suppliers)_ The
dollar portion will also be available for utilization as letters of credit
unconfirmed, confirmed deferred and Usance.

4. COMMITMEN¥

 

Ttie Lender hereby undertakes and agrees that subject to the terms of this Loan
Agreement and the Offer Letter for the facility it shail during the Avai|abllity
Period make the Term Loan Facility available to the Borrower for utilization for
the purpose stated in clause 5 as contemplated under this Agreement.

5_ FURF’OSE.

5.1. The Borrower shall utilize the Loan strictly for the purposes of part
financing the expansion and development cf the Oil Block OML 120 and
121.

5.2. The Facility shai| loe utilized (i) via direct payment to supptiers and
contractors offshore`payment via letters of credit and transfers based on
the terms ot supply while direct disbursement shall be made to local
suppliers fron", the Naira disbursement (ii) to fund financing costs,
expenses and fees associated with the facility

5.3. The Lender is not bound to monitor or verify the application of any
amount borrowed pursuant to this Agreernent_

6. TENOR

 

This Term Loan Facility shall be for a period of five (5) years inclusive of twelve
{12) months moratorium on Principa| oniy.

 

 

 

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7.1. The Bor'rower shall be entitled to make drawings under the Term Loan
Facility at any time during the Availabi|ity Period, and for each such drawing
(to be designated a “Drawing”} the Borrower must complete a Request, such
Request to be made in the form of schedule 1 hereto and delivered to the
Lender during a Business Day. The Lender shall communicate acceptance
of the Request to the Borrower within thirty (30] days of the request.

7.2. Drawings under the Facility shall be subject to satisfaction by the Borrower
of all the conditions precedent to drawdown stipulated in the accepted Offer
Letter dated July 211 2014 in each case in form and substance satisfactory
to the Lender unless waived by the Lender on such terms as the Lender
deems fit in writing

7.3. Notwithstanding any other provision of this Loan Agreement, including,
without |imitation, those in Clauses 3.3 and 5.2, the amount of any standby
letter of credit issued hereunder shall not be considered to be a drawing
under the Term Loan Facility but shall be considered to be a Contingent
Liabiiity which reduces availability but does not incur interest and/or charges
until actual presentation for payment

B. lNTEREST AND OTHER FEES

8.1. The dollar rate of interest chargeable in respect of the i_oan shall be i.lBOR
+ 7.5% per annum, subject to a floor of 9.5% per annum

8.2. The Naira interest rate shall be 18.75% per annum. This rate is subject to
upward or downward review by the Lender in line with money market
realities However, any future advice of upward review shall be for
information only and will be deemed accepted accordingly unless the facility
is paid down on the effective date of such upward review.

3.3. Default interest will be payable on all overdue amounts at floor rate plus
applicable margin of 2_00% per annum

8.4. The Borrower shall also pay the following other fees

{_i) Management Fee at 1% flat payable upfr_ont upon acceptance of
ofter;

(ii} Processing Fee at 0.35% flat, payable upfront upon acceptance of
offer.

(iii} Commitment i'-'ee at 0.50%, payable quarterly in arrears annually on
the undrawn balancel

(iv} Loan Service Fee (Periodio): 0.5% payable upfront upon acceptance
and on every anniversary on the outstanding balance until the facility
is fully repaid.

8.5. Where any interest payment or principal repayment under this Clause is due
on a day that is not a Business Day, such payment shall be made on the
next Business Day in the same calendar month (if there is one] or the
preceding Business Day (if there is none).

 

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i. SECUR|TY

91 As security for the repayment of the Loan, which security shall terminate
and be released by the Lender at such time as no amount is or may be
outstanding under this Loan Agreement, the Borrower shall'_

(a) Obtain in favor of the Lender a Legal Charge over Allied Energy Plc and
Camac Energy lncorporated’s entire interest in Oil Blocl< OML 120 and
121'l

ibi Create in favor of the Lender a fixed and floating Legal Charge by way of
an All Assets Debenture over its present and future assets including any
currently unissued shares in the Eorrower or any shares created as a
result of an increase in the authorised share capital of the Borrower. This
Agreement and the All Asset Debenture to. be executed and read
contemporaneously

(cl Obtain in favor of the Lender, a corporate guarantee lcovering the entire
facility and interests) from Camac Energy incorporated (the parent
company of the Borrowerl and a corporate guarantee (covering the
entire facility and interests} from Allied Energy Plc.

 

(d) Obtain an undertaking from A|lied Energy Plc and Camac Energy
incorporated committing to domicile the proceeds from the sale of crude
oil from OllflLs 120 and 121 and processing of all NXPs from such sales
through its account with the Lender.

(e

v

Obtain a letter of comfort from Camac Energy l-ioldings Limited to
ensuring that its subsidiary (Al|ied Energy rPlc and Camac Energy
lncorporated) domicile the crude oil proceeds with the Lender and
ensure performance of obligations under this Term Loan Facility
Agreement

{f) Obtain an assignment to the Lender of all the rights in the share capital
of the Borrower and to ensure the shareholders of the borrower create a
pledge in favor of the Lender over their shares in the Borrower (including
current and future shares as well as additional shares in the event of
increase in the authorized share capital of the Borrower).

(g) Assign to the Lender, the Borrower`s rights under ali commercial
contracts including sale and purchase agreementsl oft-take agreements
and crude handling agreements

(h) Cause A|lied Energy Plc and Camac Energy incorporated to assign to
the Lender all their rights under all commercial contracts relating to
ON|Ls 120 and 121 including sale and purchase agreements off-taker
agreements and crude handling agreements

(i) Create in favor of the Lenderl an irrevocable Domiciliation agreement
(between the Borrower, Ailied Energy Plcl Camac Energy incorporated
and oft»tal<ers domicil‘.ng all proceeds from the off take agreement in the
designated accounted opened with the Lender.

{j) Enter into an irrevocable undertaking talong with Allied Energy Plc and
Camac Energy lncorporated) to open all NXP in respect of crude oil
lifting from ONlLs 120 and 121 being financed throughout the tenor of
the facility with the Lender and to route all proceeds of crude oil sales
from ON|l_s 120 and 121 to its account with the Lender.

 

 

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/ (k) Create a charge in favor of the Lender over all of the Borrower’s
ij accounts. receivables rights and interest and cause A|lied Energy Plc
and Camac Energy incorporated to create a charge in favor of the
Lender over ali its accounts receivablesl rights and interest with respect
to OML120 and 121.

(l) Assign to the Lender, all rights under any hedging agreement entered
into in relation to the Facility_

(m)Assign to the Lender, all insurance and reinsurance contracts including
performance guarantees by EPC related to the protect

(n} Obtain from the off-takers of the crude oil from OMl_s 120 and 121 a
commitmentfacknowledgment of domiciliation instruction by Al|ied
Energy Plc and Camac Energy incorporated to domicile ali sales
proceeds to the Eorrower’s account with the Lender_

 

(o) Pledge ali its unissued shares tinciuding news shares issued in the event
increase in the share capital) to the l_.ender.

9.2. Except with the written consent of the Lender, the Borrower hereby
undertakes not to and shall not create or permit to subsist any other
mortgagel charge, pledge or lien teach a “Security |nterest") on any of its
Charged Assets andfor securities hereby created except for any Security
interest:

a. 'l'o secure any excise or import taxes or duties owed to. or industrial
grants made by any state, government political sub-division or
international organization, or any agency, authority, instrumentality or
body or any regulatory authority; or

b. Arising by operation of |aw; or

c. Created or arising with the prior written approval of the Lender; or

 

_ d. Created or arising out of retention of title provisions or a conditional sale
'_ §._FH in respect of goods acquired by the Eorrower in the ordinary course of
business; or

-,k_ § et Whicn is a lien or other Security interest arising in the ordinary course ot
the Borrower's business consistent with the Borrower’s past practice and
not securing Borrowings‘. cr

-»"sz.-

f. The principal purpose and effect of which is to allow the setting-off or
-_ netting oft obligations with those of a financial institution in the ordinary
_';_\ course of the cash management arrangements of the Borrower; cr

l
`_'i_': g. Constituted by netting, sat-off or cash collateral arrangements in relation
ll ` to swaps or other derivative agreements in the ordinary course of its
business or

h. Arising under arrangements in connection with the participation in or
trading on or through any clearing system or investmentl commodities or
stock exchange where the Security interest arises in the ordinary course
of business under the rules or normal procedures or legislation governing
such system cr exchange; or

 

 

 

 

 

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l. Over securities derivatives or commodities in respect of the acquisition
cost of such securitiesl derivatives or commodities owed to a dealer
therein or an agent for the purchase thereof where such cost fails to be
paid within 180 days of being incurred; or

j. Arising out of or in connection with pre-judgment legal process or a
judgment-or a judicial award relating to security for cosls; or

l<. Which is to renew, extend or replace a Permitled Security interest if the
principal amount secured is not thereby exceeded and such permitted
Security interest is discharged or released within 3 {three} months of the
creation of the replacement Security lnlerest; or

 

|. Over cash or cash equivalents covering any indebtedness (or obligations

in respect thereof such as future interesl) in respect of capital market

s issues in existence on thisl Closing Date which has been fully covered by

cash or cash equivalents as a means of achieving the economic effect of
full repayment cf that indebtedness or

10. CREAT|ON OF ACCOUNTS

 

10.1. Coliection Accounts: A collection account shall be opened with the Lender to
receive all revenues generated from the obligor base asset {DN|L 120 and 121}
including receivables from the off-take agreement Withdrawals shall be made
from the collection account to fund the following accounts (i) Debt Service
Reserve Account (DSRA) (ii} Operations Account (iii) Debt Service Account (iv}
CAPEX (v) Compensalion Account_

 

10.2. Operations Accounfs: The Borrower shall open an operations account with
the Lender. On each waterfali date. the company shall deposit in the operation
account from the collection account such amounts as necessary to permit

ft payment from that account of up to 100% of the operating expenditure for the

next 3months.

10.3. Debt Service Account: The Lender shall open a Deth Service Account with

the Lender which will be used to fund debt service obligations due on the next

_ repayment date This is to be funded no later than 7 days prior to from the
DSRA.

10.4. CAPEX Reserve Account (CRA): This account shall be established with the
lLender and will be used to build up and maintain the CRA required balance
The CRA balance shall not be less than 10% of net revenues after expenses

10.5. Compensation Account'. A compensation account shall be established with
the Lender for the purpose of receiving all insurance payments and/or any
other compensation due to the Borrower.

10_6 DSRA Required Balance: Debt Service Reserve Account {“DSRA") shall be
opened to warehouse the DSR required balance in an event of default, any
funds held in the Debl Service Reserve Account may be promptly applied as a
mandatory prepayment under the facility This shall be maintained to hold 12
months interest obligation during the moratorium and subsequently funds

cufficient to pay one quarter interest and principal shall be constantly held in
this account

 

 

 

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__ luoRATORiulvi

The Lender hereby grants to the Borrower a moratorium on principal only of the Term
i_oan Facility for a period of twelve {12) months, interest will be paid during the
moratorium period on a quarterly basis_

causal

12.1 The Borrower shall make quarterly {per annum) repayment of principal and
interest commencing after the moratorium period l-lcwever, interest shall be payable
quarterly during the moratorium period.-

12.2 The principal end interest on the facilities shall be paid by the Borrcwe'r to the
Lender on the due date through the legally accepted mode of repayment as specified by
the Central Bank of Nigeria, accompanied by a letter signed by the authorised
representative of the Borrower. stating the purpose of the paymentl Notwithstanding the
purpose stated in the letter by the Borrower, the Lender shall apply any payment so
received from the Borrower first in or towards the satisfaction or reduction of the
payment of interest then due and unpaid before applying same to or towards the
repayment of the principal sum then due and it the amount is not enough to repay the full
amount then due, the Lender shall so notify the Borrower who shall within 30 tlhirly)
days of receiving such notification pay to the Lender the amount necessary to repay the
installment in tull_

 

; j 123 Where any dale for a repayment underthis Clause is not a Business Day, such
: repayment shall be made on the next Business Day in the same calendar month tit
there is one) orthe preceding Business Day (if there is not).

124 On the Final Repayment Date, the Borrower shall pay and discharge all
outstanding secured obligations in tul|.

‘i3. PREPAYMENT AND CANCELLATEON

13.1. On giving not less than 14 ifourteen) business days prior written notice to the
Lender, the Borrower may prepay the Loan in whole or in part.

_~ 13.2. Parties agree that Prepayment is allowed only in multiples of US$E.DUU,OO0.00
{Five lylil|ion US Dollars). l-lowever. a 1% flat charge shall be applied on the l
prepaid amount

13.3. Amounts prepaid will not be re-borrowed and shall first be applied in or towards
payment of any interest due and unpaid then towards repayment of any principal
installments then due and unpaid.

14. COND\TIONS PRECEDENT TO D'RAWDOWN

14.1, The Borrower shall not be entitled to draw or utilize the Term Loan Facility or any
part thereof unless the Lender shall have received the following:

lA.t.t.Acceptance ot the offer dated Ju|y 21 2014, evidenced by signing and
returning a copy of the offer letter by the authorized signatories of the
Borrower. Such authority to accept the offer by the Borrower to be
obtained via a duly signed Board resolution of the Elorrower. The Lender
confirms that the referenced offer dated July 21, 2014 has been accepted
and signed by the Borrower.

14.1_2_ Submission of duly executed written Board Resolution of the Borrower
authorizing and accepting usage of the term loan facility

 

 

 

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14.1_3_Submisslon of a Board Resolution of the Borrower authorizing and
accepting the terms and conditions contemplated under this Agreement.

14_1.4_ Submission of a duty executed written Board Resoiution of Aliied Energy
Plc and Camac Energy incorporated authorizing the following;

 

i. The use of their OML 120 and 121 as collateral for this facility. A|i the
documents required for perfection and creation of legal charge shall be
executed accordingly4

 

ii. That all proceeds of crude oil export from OML 120 and 121 shai| be
domiciled with the Lender and transferred to the account of the
Borrower with the Lender towards liquidation of the maturing
installments of the Term Loan Faci§ity.

14.1.5. Submission of a Board Resoiution of the Borrower, Aliied Energy Plc and
Camac Energy incorporated undertaking that the Borrower and Al|ied
Energy Plc shall not obtain any additional nnance or create any security
interest over Oil Eloc|< O|`vlt_s 120 and 121 as weil as its current and future
assets without the prior written consent of the Lender.

14_1_6. Receipt of a Letter from the Borrower stating its current indebtedness iit
any} to other lenders with the facility limits obtained current outstanding
balance {if any) and the collateral pledged

 

14.1.7. Receipt of duly executed Term Loan Agreement between the Elorrower
and the Lender.

14.1_8. Receipt of duly executed legal charge by Allied Energy Plc and Camac
Energy incorporated on its interest in OML 120 and 121.

14.1.9. Receipt of duly executed ali asset debenture over the fixed and floating
assets of the Borrower in favor of the Lender_

14_1.10. Receipt of duly executed pledge over all the shares of the
Borrower {including issued and unissued shares and to extend to any
new shares created in the event of shares capital increases).

14.1.11.Receipt of duly executed agreement between the Borrower, Ai|ied Energy
F’icl Camac Energy incorporated and the off-takers domiciiing all the
proceeds from the sale of crude from the Gii Blocl< OML 120 and 121 with
the Borrower.

14.1.12.Receipt of duly executed agreement assigning the rights of the Borrower
Camac Energy incorporated and Ailied Energy Plc under all commercial
contracts related to Oi\lit_s 120 and 121 (including sale and purchase
agreements off-take agreements and crude handting agreements).

14.1.13.Receipt of an irrevocable undertaking by the E»orrowerl Camac Energy
incorporated and Aliied Energy Plc to open all NXF’ tn respect of crude oil
lifting from OlViL 120 and 121 throughout the tenor ot the facility with the
Lender and to route all proceeds of crude oil sales from OML 120 and
121 to its account With the Lender.

14.1.14. Receipt of duly executed pledge in favor of the Lender over the Elorrowers
accountsl receivablesl rights and interestsl

 

 

 

 

 

 

15.

14.2.

14.1.15.Submission of an independent reserves and technical report on the
assets provided by an independent technical consultant, acceptable to
the Lender.

14.1.16_Receipt of duly executed first charge on the Borrower`s account with the
Lender, warehousing the proceeds of crude oil sales on ONiL 120 and
121_

14.1.1?~Receipt of duly executed standard corporate guarantee of Camac Energy
incorporated and Allied Energy P|c, the parent company of the Borrower.

14.1.1S.Receipt of duly executed undertaking by the Eiorrower that the US Dollars
and Naira equivalent of the foreign exchange or the Borrowers account
with the Lender should be debited for the Dollar andior Naira equivalent
of principal and interest in the event that payment from the crude
exported is delayed on due date or repayment or at the time of expiration
of the facility.

14_1_19.Receipt of written confirmation or certificate of compliance issued by the
Department of Petroleum Resources in respect of OiviL 120 and 121.

14.1.20.Receipl of documents relating to the Borrower's acquisition of the
remaining economic interest in OiviL 120 and 121 form Ailied Energy P!c
and Camac Energy incorporated

14.1.21.Receipt of ali other necessary security documents

14.1.22.Execution of any other necessary security document{s] as may be
reasonably required by the Lender_

The Lender may allow the Borrower to utilize the facilities or any part thereof
notwithstanding that atl or any of the conditions precedent to the utilization of the
facilities have not been fulfilled and such a concession shall not prejudice the
right of the Lender to insist upon the fulfillment of all the conditions precedent to
the utilization thereof before further utilization of the facilities nor preiudlce the
right of the Lender to recover from the Borrower any part utilized before the
fulfillment cf all or any part of the conditions precedent

UTH ER COND|TlONS

 

15.1.

15.2.

15.3.

15.4.

15.5.

15.6.

The Borrower shall submit to the Lender a copy of its quarterly management
accounts within sixty (60) days of the end of each quarter and audited accounts
within one hundred and twenty (120) days ofthe end of each hnancial year.

This Term Loan Facility is made subject to availability of funds and to the rules
and regulations governing banking business as enunciated by the Central Bank
of Nigeria from time to time.

in line with Centra| Bank cf Nigeria ("CBN") directive The Lender shall disclose
information relating to this facitity to CBN Licensed Credit Bureaus.

Predeterrnination of borrowing base every six (6) months by an Engineering
Consultant acceptable to the tender.

The Borrower hereby undertakes to source foreign currency on or before maturity
of the Term Loan Facility,

The Borrower, Camac Energy incorporated and Al|ied Energy Plc shall inflow the
repayment from proceeds generated from oil trading onlcr before the expiration
ot the facility

 

 

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l5.7, The Borrovver shall be required to take out a comprehensive insurance policy

with a reputable insurance company acceptable to the Lender against fire and

l any other form of peril on Olvtl_ 120 and 121 with the Lender noted as the first
y ` _;_f ‘ loss payee

15.8. The Borrower shall provide a list of contractorslsubcontractors to be engaged in
executing further expansion and development works on Oltllt_ 120 & 121.

15.9. The Borrower shall use its best efforts to ensure that contractorsfsubcontractcrs
associated with this protect openl maintain accounts with the Lender wherein
funds shall subsequently be disbursed

15.10. The Lender reserves the right to unilaterally review the terms and conditions of
this facility from time to time in the light of changing market conditions and also to
terminate this banking facility and accelerate the maturity of the Borrowers
indebtedness based on any adverse information threatening the basis of this
relationship or putting the banking facility at risk or loss and as a result of any
breach of the terms and conditions of this facilityl The Borrower shall be notified
of any decision taken in this respects

 

15_11. in the event of a contemplated sale of shares. issuance of additional share
capita|, amalgamation of business or any other change that would result in any
change of ownership of the companyl or a substantial share capital of the
company being taken over by a new owner, the prior consent of the Lender must
be obtained in writtng` otherwise the facility shall become immediately due and
payable

15.12. 'The Borrower shall carry out periodic reserve redeten"ninatlon audit to ascertain
changes in borrowing base.

15.13. The Lender reserves the right to securitize` syndicate or sell its interest in this
credit facility based on its global risi<fiic;uidity management objectives during the
period of the facility

15.14. All legal fees out-of-pocl<et expenses taxes or commissions including cost of
recovery of the facility in the event of default shall be for the account of the
,_ Borrower.

15_15. The Borrower shall not without the prior written consent ot the Lender obtain any
new facility from any other financial institution both local and foreign for further
expansion of OML 120 and 121. The Lender in the event ot need for additional
borrowing shall have a right of first refusal

16. STAMF TAXES

 

The Borrower shall pay andl promptly on demand indemnify the Lender against
any cost, loss or liability the Lender incurs in relation to all stamp duty, registration
and other similar Taxes payable in respect of this Agreement or any ancillary
agreements

17, REPRESENTATlONS AND WARRANT|ES

l The Borrower hereby makes the following representations and warranties to and
for the benefit of the Lender

ti.’l. Status
it is a duly incorporated and validly existing company with limited liability under
the laws of the Federal Republic of Nigeria.

 

 

 

 

 

  

  
 

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17.2. Powers and Authority
lt has the powers to enter intol or, as the case may be, to comply withl and be
bound by all obligations expressed on its part under this Loan Agreernent
including the powers to borrow under this Loan Agreement and that it has taken
all necessary actions to authorize the borrowings under this Loan Agreement and
to authorize the execution delivery and performance of this Loan Agreernenl.

1?.3. Non~Contiict
The execution, delivery and performance of this Loan Agreement will not violate
any provisions of any existing law or regulation or statute applicable tc it or of any
mortgagel contract or other undertaking to which it is a party or which is binding
upon its assets

17.4. Project Cost:
The project cost is approximately USDZSS.§ Niiilion {Two Hundred and Fifty
Eight |‘v'iillion Five Hundred Thousand Dollars).

17.5. Borrowing Limits
Borrowings under this Loan Agreernent up to and including the maximum amount
available under this Loan Agreernent will not, when borrowed, cause any limit on
borrowings {whether imposed by statute regulationsl agreement or otherwise), or
on the powers of its board of directors, applicable to it to be exceeded

17.6. Accounts

The most recent audited profit and loss account and balance sheet of the
Borrower which have been or are to be delivered to the Lender together with the
notes thereto give -a true and fair view of the resu!ts of the operations of the
Borrower for the period to which they relate andl as the case may be, the
financial position of the Borrower as at the date to which they relate and have
been prepared in accordance with generally accepted accounting principles in
Nigeria consistently applied

17.7. Event of Default
No Event ct Defauit has occurred and is continuing

tT.B. Proceedings pending or threatened _
No litigation arbitration or administrative proceeding of or before any court,
arbitral body or agency has (to the best of its knowledge and belief) been started
or threatened against it (or against its directors) or any other Obligor (or against
any director of an Obiigor] which:

(a) may restrain its entry into, the exercise of its rights underl or the perlorrnance,
enforcement of or comptiance with any ot its obligations under this Agreement;
O[

(b) if adversely determined would reasonably be expected to have a Materia|
Adverse Effect.

17_9, insolvency

No corporate action, legal proceeding or other procedure or step or creditors
process, has been taken against the Borrowar.

 

 

 

 

 

 

 

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17,10.Corruption
Neither the Borrower nor any ot its Affiliates, and their respective officersl
directors or authorised employeesl agents or representatives has:

(a) paid, promised to pay or offered to pay, or authorised the payment of, any
commission, bribe. pay-off or kickback related to the Ol'vlL 120 and 121
that violates or may violate any applicable law or regulation or entered
into any agreement pursuant to which any such commission, bribe, pay~
off or kickback may orwiii at any time be paid; or

(b) offered or given any object or other thing of value to influence the action
of a public officia|. or threatened injury to person, property or reputation. in
connection with the OllrlL 120 and 121.

17.11.Taxation
(a) lt has duly and punctua||y paid and discharged ali Taxes imposed upon lt
or its assets within the lime period allowed without incurring interest or
penalties isave to the extent that the Lender is satisfied that {i) payment is
being contested in good faith, (ii) it has maintained adequate reserves for the
payment of such Ta>res and (iii) payment can be lawfully withheid).
(b) lt is not materially overdue in the filing of any Tax returns
{c] No claims are being or are reasonably likely to be asserted against it with
respect to Taxes other than any initial statement of Taxes due, provided by a
tax authority

17.12.lmmunity

(a) The execution by the Borrower of this Agreement, and the exercise by it
of its rights and performance of its obligations under same will constitute
private and commercial acts performed for private and commercial purposes
(b) The Borrower will not be entitled to claim immunity (in relation to itself or
any of its assets or property) from set-off, suit, execution, attachment or other
legal process in any proceedings in relation to this Agreement or any ancillary
Agreernents.

134 COVENANTS AND UNDERTAK|NGS

18.1. Duration
The undertakings in this Clause 18 will remain in force from the date of this
Loan Agreement and for so long as any amount is or may be outstanding
under this Loan Agreernent.

18.2. Financial information
The Borrower shall deliver to the Lender copies of its audited accounts for
each financial year as soon as the same are publicly available (and in any
event within 120 days of the end of each ofits financial yeer).

lB.B. Notification of Default
The Borrower shall notify the Lender of any Event of Defauit tend the stepsy if
any, being taken to remedy it) promptly upon becoming aware of it_

18.4. Priority of interest
The Borrower shall procure that its obligations under this Loan Agreernent do
and will rank in priority with all its other present and future unsecured and
unsubordinated obligations (subject to the preference of certain obligations in
liquidation, bankruptcy or other analogous proceedings in respect of tt by
operation of applicable |aw)_

 

 

  

 

 

 

   
 

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'18.5. Change of Businessl'corporate structure

18.6.

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The Borrower shall not change the nature of the business being carried on by it`
and Shareholders as at the date of this Loan Agreernent\ Any change in the
current board cf directors shall not be effective unless the Lender is notified and
the Lender's written consent obtained

Production and Liftlng Schedule

The Borrower hereby undertake that on the first working day of every month, it
shall provide the Lender with the certified copy of both the Dai|y Production
Schedu|e as well as the Product Lifting Scheclule showing the quantity of
products produced and lifted respectively from OlV|t_ 120 and 121_

EVENTS OF DEFAULT

Upon the happening of any of the following events, the Lender may by notice in
writing to the Borrovver so long as such event is continuing declare such event to
constitute an Event of Defauit and the amount of the Facility then outstanding
and the interest accrued thereon and any other moneys payable hereunder to be
immediately due and payable and its obligation to provide moneys under this
Loan Agreement to be terminated

i_ lf the Borrower does not pay any moneys payable hereunder
when due and such moneys remains unpaid for 30 (thirty) days
after becoming due;

ii_ ii any order is made or effective resolution is passed or a
successful petition is presented for winding up of the Borrower or
ilthe Borrower goes into liquidation ordissolulion; or

iii. lf the Borrower suspends any of its debts or ceases or threatens

to cease to carry on its business or substantially the whole of its
business; or

iv_ lf any encumbrancer takes possession cr a receiver is appointed
for any part of the assets of the Borrower and the interest of such
encumbrancer or the appointment of the receiver is not terminated
or rescinded within 21 (twenty`one} days; or

v. |f any distress, execution sequestration or other process is levied
or enforced upon or issued out against the properties or
assets!shares of the Borrower and is not discharged within 21
(lwenty one) days; or

vi. if the Borrower is unable to pay its debt within the meaning of
section 409 of the Companies and Allled Matters Act 2004 or any
statutory modifications or reenactment thereof; or

vii. |f the Borrower commits any breach of any material part of this
Loan Agreement and in the case of any breach capable of remedy
fails to remedy the breach within thirty (30) days of being required
in writing by the Lender to do so', or

viii. lf any representation or warranty made by the Borrower in this
Loan Agreement or any noticel certificate or statement delivered
or made hereunder proves to have been incorrect _or materially
inaccurate when made or delivered

Notwithstanding any event provided above_ the Lender may allow the
Borrower a lfifteen (15) days Cure Period’ to remedy any event of default
talking which the Lender may commence the process of realizing the
security

 

 

 

 

 

 

 

 

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23.

CHANGE iN CiRCUMSTANCE

20_1. lt any change in the law or administrative regulations applicabte to this Loan

Agreement or any interpretation by the courts of law makes it unlawful or
illegal for the Borrower to perform its obligations hereunder then the Borrower
shall repay to the Lender any sums outstanding under the Facility together
with all accrued but unpaid interest and commissions

20.2. if any change in applicable law or administrative regulations or in the

interpretation thereof by any authority charged with the administration thereof
makes it unlawful for the Lenderto perform its obligations hereunder then and
in any such situation;

20.2.‘|‘ The Lender shall notify the Borrower accordingly;

20.2.2` The Lender shall be discharged from all obligations towards the
Borrower hereunder and its commitment reduced to zero; and

20.2.3. The Borrower shall on demand repay to the Lender the Loan
within 90 (ninety) days thereafter.

20.3, The Lender undertakes that during the tenor` duration, pendency or life of this

Loan Agreernent it shall continue to upholct, adhere to and comply with all
laws and Governmental rules and regulations applicable to it, its operations
business and status and in particular the rules_ regulations and directives of
the Federal Ministry of Finance, Centrai Bank of Nigeria and other monetary
and fiscal authorities and shat| riot commit, do, condone, allowl facilitate or
accommodate anythingl action, breach or omission that witt put or place the
Lender in a position that it is unable to meet or continue to meet its
obligations hereunder or comply with the terms of this Loan Agreernent.

RECONSTRUCT}ON AND AMALGAMAT|ON

This Loan Agreement shall not be affected by any amalgamation that may be
effected by the Lenderl its successors-in-tit|e or assigns with any other company
or persons whether the new company thus formed shall or shalt not differ in its
namel objectsk character and constitution, it being the intent that this Loan
Agreernent shai' remain valid and effectual in all respects in favour of and with
reference to any such new company when formed and may be proceeded on or
enforced in the same manner to ali intents and purposes as if such new company
had been named in and referred to herein instead of the Lender

iNDULGENCE

The Lender may without p'rejudice to its rights herein enter into any agreement
for giving time or other accommodation to the Borrovver for the Facility or other
monies hereby covenanted to be paid or any part thereof and may release or
compound same with the Borrower or any person, company or corporation |iabie
to pay the same.

REMED!ES AND WAIVER

No failure to exercise and no delay in exercising on the part of the Lender rights.
powers Or privileges hereunder shall operate as a waiver thereof nor shall any
single or partial exercise of anyl right, power or privilege prectude the exercise of
any other rightl power or privilege The rights and remedies herein provided are
cumulative and not exclusive of any rights or remedies provided by |aw.

 

 

 

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tf the Borrower fails to pay hereunder any sum due (of principal or interest) or to
_ _ _ , become due hereunder, the Borrower shall pay interest at the rate aforesaid on
` l ` l the unpaid sum from the date when such payment fell due up to the date of

` ' paymentl PROV|DED that interest shall at ali times be calculated and payable as
simple interest and on a reducing balance basis in conformity with monetary
directives issued by the Central Bank of Nigerial

 

 

25. ASSIGNMENT

The Lender and the Borrower shall be entitledl with the prior consent of the other
in writing to assign any of their rights and powers under this Loan Agreement,
with all or any of the obiigations herein stated and may assign andfor deliver to
any such assignee the security collateral hereto and in the event of such
assignment the assignee thereof of such right and powers and of such security,
if any security be assigned andfor delivered shall have the same rights and
remedies as if originally named herein in place of the Lender or the Borrower as
_ _ the case may be` and thereafter the assignor will be fully discharged from all
;_"!' responsibilities with respect to any obligations so assigned andlor security
_'i delivered

 

 

26. NOT|CE

Any notice or demand required hereunder shall be deemed to have been
sufhciently given if in writing and delivered by hand or courier at the addressee’s
address as hereinbefore stated or at each party's last known address

27. ACCOL|NTS

The Lender shall open in its books such accounts as may be required by the
Lender to show satisfactory evidence of the transactions oonternpiated by this
Loan Agreement_

28. LEGAL COSTS. CHARGES AND EXPENSES

~ The Borrower shall be responsible for the stamp duty payable in respect of this
l_oan Agreement and the costs in connection with the preparation, negotiation
and execution of this Loan Agreement.

29, DlSPUTE RESOLUTION

 

29.1. initial Mecliation of Dispute

tn the event of a dispute between the parties to this Loan Agreement, the
following procedure shall be followed to resolve the dispute prior to either
party pursuing other remedies;

i. A meeting shall be held within 7 (seven} days at which all parties
are present or represented by individuals with full decision making
authority regarding the matters in dispute (lnitial tilleeting).

ii. if within 14 (fourteen} days following the initial Nleeting, the parties
have not resolved the dispute, the dispute shall be referred to
Mediation directed by a mediator mutually agreeable to the
parties Each party shall bear its proportionate share of the costs
of the mediator’s fees.

 

 

 

  
 

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The parties agree to negotiate in good faith in the initial Meeting
and in the iv'lediatlon.

 

iii. if after a period of 30 {thirty) days following the commencement of
|Viediation the parties are unable to resolve the dispute either party
may submit the dispute to binding arbitration in accordance with
clause 292 hereof upon 10 {ten) days prior written notice to the
other party.

 

29.2. Binding Arbitration

i. Either party may submit any dispute arising out of this l_oan
Agreemeni that is not resolved following the processes in clauses
29.1 [i), (ii) and (iii) above to inst and binding Arbitration.

ii. The referral of the dispute lo Arbitretion precludes any other
course of action by the other party except upon the mutual
agreement and consent of both parties

iii. The Arbitration contemplated hereby shall be by 3 (three)
Arbitrators one of whom shall be appointed by the Lender and the
Borrower respectiveiy while the third Arbitrator shall be nominated
by the two (2) Arbitrators aforesaid and the venue for the
proceedings shali be Lagos.

 

Where there is disagreement on the appointment of the third
Arbitretor, then the third Arbiirator shall be appointed by the Chief
Judge of Lagos State.

 

 

iv. Each party shall be responsible for the cost of the Arbitrator
appointed by it, while the cost of the third Arbttrator and ali other
costs and expenses of the arbitration proceedings shall be borne
equally by the Lender and the Borrower respectively

v. The Arbitration shall be conducted in accordance with the
Arbitration and Conci|iation Act Cap AiB Laws of the Federation of
,. Nigeria 2004.

" 30. FORCE MAJEURE

 

Any delay in or failure of performance of this Loan Agreement by either party
hereto shall not constitute default by such party or give rise to any claim for
damages against it if such delay or failure of performance is caused by force
majeure including but not limited to acts of Gocl, acts of war or revolution, civil
commotion, stri‘i<esl lock o‘ut, any iabour unrest_ governmental action, fire. fiood,
earthquakel destructive |ightning, epidemic or other circumstances which are
beyond the reasonable control of the party affected and which they could not
have reasonably foreseen and guarded against and which by exercise of
reasonable care and diiigence they are unable to prevent

31. ACKNC)WLEDGMENT

Any admission or acknowledgment in writing by the Borrower or by any
authorized person on behalf of the Borrower of the amount of indebtedness of
the Borrower to the Lender or any statement of account furnished by the Lender
as the case may be as a true copy extracted from the books of the Lender shall
be accepted as prima facie evidence against the Borrower.

 

 

 

 

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_ 32, EXECUTION GF LOAN AGREEMENT

 

 

This Loan Agreement may be executed in any number of counterparts and such
counterparts signed by all the parties hereto shaii be deemed to constitute one
and the same instrument and the Loan Agraement shall become effective when
each of the parties hereto shali have signed a copy thereof (Whether the same or
different copies} and shail have delivered the same to the Lender_

 

33. SEVERABILITY GF PROV!S|ONS

Any provisions in this Loan Agi'eement which is prohibited or unenforceable
under Nigerian l_aw shall be ineffective to the extent only of such prohibition or
unenforceability without invalidating the remaining provisions hereof.

34. APPL|CABLE LAW

 

The Loan Agreement shall be governed by and construed in accordance with the
l_aws of the Federal Republic of Nigeria_

35. M_Eeec:

 

` __ _ This Loan Agreement supersedes any prior agreementsl promises negotiations
'jij or representations either oral or written relating to the subject matter of this Loan
.i` Agreement and, except as provided for hereio, may not be amended or modified

36. AMENDMENT

This Loan Agreement may riot be amended or modified save by a document
signed and seaied by and on behalf of the parties hereto

3?. COMMENCEMEN'T DATE

 

Notwithstanding any other date herein provided, furnished or appearing herein
the commencement date of this Loan Agreement is the execution Date as herein
provided

-" 38. ENT|RE AGREEMENT

This Loan Agreement shall be read in conjunction with the offer letter for the
faciiity by the Lender dated Liu|y 21, 2014_ in case of any conflict with the terms
of the offer letter for the facility by`the Lender dated Juiy 21, 2014. the terms of
the offer letter shall prevail.

 

 

 

 

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SCHEDULE 1 ,`
ammeev_es_l
TG: Zenith Bank Plc 1
FROM: Camac Petroleum Limited

Zenith Bank P¥c
Term Loan Facility Agreemcnt dated .................. , 201.....
("The Loan Agreement"}

We wish to utilize the Term Loan Facility and request a Drawing to be advanced to us as
foliovvs:

a. Amount of Drawdown; .............................
b. Date;

c. Payment instructions

By.'-

 

Camac Petroleum Limited

Authorised ASignatory Authorised “A" Signatory

 

 

 

 

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lN WITNESS WHEREOF the Lender and the Borrower have executed these presents in
the manner hereinafter appearing the day and year first above written

THE COIV!MON SEAL_ of the within-named “LENDER”
ZENiTl-t BANK PLC
i-iereunto affixed in the presence of:

 
 

DiRECTOR j

THE COMMON SEAL of the within-named “BORROWER"
CAMAC PETROLEUM LiMlTED
i-iereunto affixed in the presence of:

DIRECTOR

 

 

SECRETARY

BANWO & lGHODi-`\LO

BARR!STERS & SOL'lClTGRS
98, Awo!owo Road S. W.
ikoy'i, Lagos.

 

 

 

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re iii f ii pRiGiN)iL
DATED THlS Q”St\j\ DAY OF ........... &_%\{ .................... 2014

CAMAC PETROLEUM LlNilTED
AS BORROWER

AND

ZEN|TH BANK PLC
AS LENDER

ALL ASSET DEBENTURE
OVER F|XED AND FLOAT|NG ASSETS, PRESENT AND
FUTURE CHARGEABLE ASSETS OF CANIAC
PETROLEUM LiNiiTED

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ZEN|TH BANK PLC a bank duty registered l Federal r
of Nigeria and having its registered office at ~Qloj 84, Aiose Adeogun i~`itreett Victori
Lagos State (hereinafter called "the Lender" which expression shali where the context -.'
include its successors~in-tit|e and assigns) of the other part.

i wHEREAs

 
   
  
      
 

sthe Facility for the purposes ot parti Enancing further expansion and develop
gil B|ccl<s ON|L 120 and 121. The holder of the Gii Biock Ol'lilL is Aiiied Ener

n he Lender has agreed to grant the Faciiity to the B`orrower on the terms and
` set out in the Term Loan Facility Agreemertt dated

under the Term Loan Facili ity Agreement dated

r.:`f"" `E~\Ti e execution and delivery of this Ail Asset Debenture Agreement (Deb§'hturei in
__/ \ la dition to execution and delivery of other security documents in favour of the Lende'{{ as%rr
g ~.,',,,-_ `.ecurity for the Secured Obligatioris is a condition precedent to the Lender making titan

-i¢- .

_\ Facility available to the Borrovver

. The Lender and the Borrovver have agreed that the Facility and interest thereon end aii

rank prior to any other obligation
NOW THlS DEED WETNESSETH as follows:
i. DEFINIT|ONS AND iNTERPRETATiON
1i'i. DEF|NiTlONS
i. “Business Day" means a day on which banks in Nigeria are open for
normal banking business excluding Saturdays and Sundays and any _
public holiday dectared by the Federal Government of Nigeria -
ii. "Charged Assets." means atl assets and undertakings of thlz_'.

including the fixe nd fioating, present and future chargeable
movable and immovable including tangii:v"

     
 

 

 

 

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iii. “Coilateral Rights" means ail rights, powers and remedies conferred on
the Lender by or pursuant to this Debenture or by applicable laws;

iv. “Term Loan Facility” means the tacliity (to be) granted by the Lender to
the Borrower iii accordance with the Term Loan Facility Agreemen‘.
between Camac Petroleum Limited and Zenith Bank Plc dated

v. “Faclilty Agreement" means the Term Loan Facility Agreemeni dated
2014 between Camac Petroieurn Ltd as Borrower, Zenith Bank Plc as
Lender (as amended, variedl novated or supplemented from time to time);

vi. "Facility" has the same meaning ascribed to it in the `i'erm Loan Facility
Agreement and Facility will be so construed;

vii, "Monti'i" means a calendar month.

viii; "Parties” means the parties to this Debenture and "Party” means one of
them;

i><. “i-’teceiver’J means a receiver or a receiver and manager appointed by

the Bank pursuant to the provisions of this Debenture;

x. “Related Rights" means, in relation to any asset (a) the proceeds ot cate
of that asset or any part thereof; (b} ali present and future rights under
any iicence. agreement for sale or agreement of lease in respect of that
asset; {c) all present and future rights, powers, benefits claims contracts
warrantiesl remedies, security, guaranteesr lndemnities or covenants for
title in respect of that asset; and (d] all present and future interest and
other moneys and proceeds paid or payable under or in respect of that
asset or its use;

xi. "Security" means the security constituted by or pursuant to this
Debenture;
xii. “Sacurity lnterest" means any mortgage charge, assignment

guarantee hypothecation security interestY title retention, lien including
bankers lien, preferential right, trust arrangement right of set'oftl
counterciaintr privilege or priority of any Kind having the effect of security
or any preference of one creditor over another arising by operation of law;

xiii "Seourity Period" means the period beginning on the date of this
Debenture and ending on the date on which the Borrovver has fuily
discharged its obligations under the Facility Agreemeni; and

xiv. "USD" and "$” means the lawful currency of the United States of
Amertca.
1.2. interpretation
a. Construction:

Untess a contrary indication appearsl any reference in this Aii Asset Debenture to;

i. "assets" inoiudas present and future propertiesl revenues and rights of every
description;

 

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ii. a "d’.sposa|" includes any transfer, grant. iease, a:s.signrrientl saie. participation or
other transfer of economic ownership compulsory acquisition, compulsory saie or
other disposal or agreement for the disposal of, or the grant or creation of any
interest derived from, any asset;

iii. a “Finance Document", shall mean Term Loan Facility Agreement dated
or any other agreement or instrument that is referenced to in the Term Loan
Facility Agreernant as amended. novated, supplemented extended replaced or
restated',

iv. the "Agent", the "Arranger", the "Account Bank", any "Counterparty", the "Lender",
any "Lender“, any "Finance Party" or any "F’arty" shall be construed so as to
include its successors in title, permitted assigns and permitted transferees anci, in
the case of the Lender, any person tor the time being appointed as Lender or
Lender in accordance with this Debenture;

v. “indebtedness" includes any obiigation (whether incurred as principal or as
surety) for the payment or repayment of moneyl whether present or future, actual
or contingent

vii “person" includes any person, firm. company, ccrporation, government, state or
agency of a state or any association trust cr partnership (whethe`r or not having
separate |egai personality) or two or more ot the foregoing'.

vii. a "reguiation" includes any regulation, rulel official directive, request or guideline
(whether or not having the force ct law) of any governmentai, intergovernmental
or supranationai bcdy, agency, department or of any reguiaicry, self-regulatory or
other authority or organisaticn;

viii. a provision of law is a reference to that provision as amended or re-enacted;
ix_ Event of Defauit is as stated in the Term Loan Agreemeni dated....

x_ A default [other than an Event of Del‘ault) is "continuing" if it has not been
remedied or Waived and an Event of Defauit is "continui'ng" if it has not been
Waived} and

xi. a time of day is a reference to London time, Lagos time or New Yori< Time (as
specified).

Section, Ciause and Schedule headings are for ease of reference only and do not affect
the interpretation of this Debenture

Uniess a contrary indication appearsl a term used in this Debenture or in any notice
given under or in connection with this Debenture has the same meaning in the
Debenture

A reference to a Ciause or Scheduie is a reference to that clause or schedule in this
Debenture ‘

References to this Debenture or any specified provision of this Debenture or any other
document shall be construed as references to this Aii Assets Debenture, that provision or
that other document as in force for the time being and as amended in accordance with
the terms thereof or, as the case may be, with the agreement of the relevant Parties.

Words impeding the plural sha|‘. include the singular and vice versa.

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g. Rcferences to any statutory provision means that statutory provision as amended,
supplemented1 re-enacted or replaced from time to time {whether before or after the date
ot this Debenture) and are to include any orders, regulations instruments or other
subordinate legislation made under the relevant statutory provision.

h. A reference in this Debenture to a mortgage of any real property includes all buildings
and nxtures on that property and all Related Right.

i. The fact that no details of any specific property or agreement are included in the relevant
Schedules does not attect the validity or enforceability of any security created by or
pursuant to this Debenture

j. Worcls and phrases defined in the Companies and Allied Nlaters Act Cap 020 Laws of
the Federal Republic of Nigeria LFN 2004 shall subject to the foregoing have the same
meanings respectively in this Debenture

k. The headings of the various clauses are inserted for convenience only and shali not
affect the construction of the clauses of this Debenture

1.3. `Effectiveness of this Debenture

a. Notwithstanding any other provision ot this Debenture or the Term Loan Facility
Agreement dated or any other Finance Document, this Debenture shall
only be effective on and 1irom the date it is signed by the Parties.

b. Entire Agreement

in the interpretation ot the provisions of this Debenture, this Debenture shall be read in
coniunction with the provisions of the term Loan Facility Agreement dated.... entered
between the Borrower and Lender in respect oi the loan Facility and executed.

c. Et'fect as a Deed

This Debenture is intended to take effect as a deed notwithstanding that any Pai'ty may
have executed it under hand only-.

2. REPRESENTATlONS AND WARRANT|ES
2.1. The Borrower represents and warrants to the Lender tiiat:

a_ Ownership of the Chargeabte Assets: lt is absolute|y, solely and beneficially entitled to
all the Chargeable Assets as from the date it or any part of it falls to be charged under
this Debenture and the rights of the Borrovver in respect of the Chargeab|e Assets are
tree from any encumbrance or security interest of any kind other than the Security being
created hereunder.

b. Power: it has the power to execute. deliver and perform its obligations under this
Debenture and ali necessary corporate. shareholder and other action has been taken by
it to authorise the executionl delivery and performance of this Debenture.

c. Consei'its Obtained: Every material consent, permit, authorisation, license or approval
of, registration With or declaration to, governmental or public bodies or authorities or
courts required by it to authorise, or required by ii in connection with, the execution
deiivery, validity, enforceability or admissibility in evidence of this Debenture or the
performance by it of its obligations under this Debenture has been obtained or made and
ls in fuii force and effect and there has been no defauit in the observance of any material
conditions or restrictions iii any) imposed on, or in connection with, any of the same and
none of them is subject to any legal chalienge or revocation or similar proceeding

 

 

 

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2.2.

Binding Obligations: This Debenture constitutes its vaiid and legally binding
obligations enforceable against the Borrower in accordance with its terms.

No Disposal: O`ther than as permitted by the Facility Agreement the Borrower has not
sotd or agreed to sell or otherwise disposed of or agreed to dispose of the benefit of all
or any of the Borrower's right, title end interest in and to the Charged Assets_

The representations made by the Borrower on the date of this Debenture shall be
deemed to be repeated by the Borrower by reference to the facts and circumstances
then subsisting on the first day of each interest Payment Date throughout the Security
Period.

Upon the Lenders declaring an Event of Default pursuant to clause 19 of the Term Loan
Agreement, the Borrowar will on written demand from the Lender pay and discharge all
moneys and liabilities due and owing to the Lender by the Eiorrower under the Terrn
Loan Agreement and any Anci|lary Documents {as defined in the Term Loan
Agreernent)

The Borrower as BENEFlClAL OWNER hereby charges in favour of the Lender for the
consideration aforesaid all its assets with the payment and discharge of ALL moneys for
the time being owing under this Security tincluding any expenses or charges arising out
of or in connection with the acts authorised by this Debenture, ALL its undertaking
goodwill and moveabie properties for the time being both present and future wherever
situate including its uncalled capital stock, raw materials works in progress finished
works materials stock equipment by whatever name and book debts hereinafter called
{"the assets"} and such charge shall be a first fixed charge or debenture on the assets
and further charges to the Lender by Way of Floating Debenture over all its future fixed
and floating assets

The Borrower shall not create any further debenture or charges upon and so that no lien
shall in any case or in any manner arise on or affect any part of the said assets without
the prior written consent of the Lender. PROVIDED that any further debenturesx
mortgages or charges created by the Borrowsr with the consent of the Lender over the
said assets (otherwise than in favour of the Lender) shall be expressed to be subject to
this Debenture

Regarding any present cr future uncalled capitai and unissued shares of the Boi'rower,
the Borrower hereby covenants and agrees with the Lender that'.

(a) The said uncalled capital and unissued shares of the Borrower shall riot during
the continuance of this security be issued or called up or received in advance of
calls without the consent in Writing ofthe Lender first sought and obtained

(b) The amount to be paid in respect of the said uncailed capital shall be paid to the
Lender, which may at any time apply a competent part thereof in or towards
satisfaction of the moneys intended to be'secured.

(c) At all times during the continuance of this Security the Borrower will permit the
Lender or any persons authorized by the Lender to have access to and inspect
free of all charges the share register and transfer books of the Borrower and all
transfers of the Borrower’s shares

td} During the continuance of this Security the Borrower shaft immediately after the
presentation of any transfer of unpaid or partly paid shares in the capital of the
Eiorrower give to the Lender notice in writing containing full particulars of such
proposed transfer and shai| not register any transfer of any such shares in the said
capital until at least fourteen days after such notice as aforesaid shall have been
given to the Lender and shall not register such transfer at all if within the said period
offourteen days the Lender shall object to the proposed transferee; and

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(e) |f the amount due and owing on this Debenture shall not be paid as and when it
becomes payable the Borrower will at the request of the Lender call up or procure to
be called up the uncalled capital hereby charged by such installment and payable at
such time (not being contrary to the regulations of the Borrower} as the Lender shall
in writing direct

(f} The Borrower shall have no authority to sell or in any way transfer any of the present
fixed and floating assets charged by this Debenture.

7. Atl moneys and iiabiiities intended to be hereby secured or other balance thereof for the
time being remaining unpaid shall immediately become payable notwithstanding
anything to the contrary herein contained:

(a) lf the Lender shall demand payment in writing from the Borrowe.r and leave
notice of such demand at the Eorrower's registered post and seven days have
' elapsed after such notice without payment;

(bi if the Borrower fails to pay the rent payabie iri respect of any leasehold premises
for the time being heid by the Borrower or fails to perform and observe the
covenants and conditions contained in or implied by the Grant(s} Assignment of
lease{s} under which any immoveable property is held;

(c} lf an order be made or an effective resolution be passed for the winding-up of the
Borrower;
tdi if a distress or execution be levied cr enforced upon or against any ot the

property of the Borrower and be not paid within seven days;

(ei if the Borrower shall stop payment or shall cease or threaten to cease to carry on
its business; and

(f] if the Borrower shall commit any breach of the covenants and conditions herein
contained or in the Facility Agreement and any other undertaking by the
Borrower or on its behalf to be performed and observed

B. At any time after the moneys and liabilities intended to be hereby secured shall have
become payable under the provisions of this Debenture, the Lender may appoint by
writing under the hands of its duly appointed Attorney or under the seal of the Lender
any person whether an officer of the Lender or not to be a Receiver and/or Manager of
the assets or any part thereof and may in like manner from time to time remove any
Receiver and/or Nlanager so appointed and appoint another in his stead. The Receiver
and/or Manager so appointed shatl in addition to and without prejudice to the powers
conferred upon him by law have power:

(a) To take immediate possession of the property hereby secured or any part thereof
and for that purpose to take or defend proceedings in the name of the Borrower
or otherwise

(b) To sell (by public auction or private treaty) lease or let or concur in selling ieasing
or letting atl or any of the property hereby secured and to carry any such sale
leasing or letting into effect in the name and on behalf of the Borrower or
otherwise

(c) To demand and recover all the income and of the property hereby secured by
action distress cr otherwise to the full extent of the estate or lriterest which the
Borrower couid dispose of and to give effectual receipts accordingly for the same
to exercise any powers which may have been delegated to it by the Lender
pursuant to these presents

 

 

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10.

(d) To make and effect ali repairs and insurances and do all other acts which the
Borrower might do in the ordinary conduct of its business as weil for the
improvement and for the protection of the property hereby secured

(a) To make any arrangements or compromises which the Receiver andror l\!ianager
shall think expedient in the interest of the Lender.

(f) To appoint managersl officersl agents, accountants advisersl stewardsl
workmen and others for the aforesaid purposes or any of them upon such terms
as to remuneration or otherwise as he may think properr

(g) To give valid receipts for all moneys and execute all conveyances assignmentsl
deeds, assurances and things which may be proper or desirable for realizing
such property and to do all such other acts and things as may be considered to
be conducive to any of the matters or the powers aforesaid and which the
Receiver andior Nianager lawfully can do as agent for the Borrower.

(h) To use the name of the B_orrower for all or any of the purposes aforesaid and in
any legal proceedings

{i) To execute and deliver any deed or deeds or instrument and to convey, assign or
otherwise assure the property over which he is appointed

(i) Receive property or any part thereof or any interest therein in the name or on
behalf of the Borrower and by deed in the name and on behalf of the Borrowar to
grant. assign or demise the legal estate in any such property to the purchaser or
lessee thereot.

{k) To do all such other acts and things as may be considered by the Lender to be
incidental or conducive to any of the matters or powers aforesaid and which he or
they lawfully may or can do as agent or agents of the Borrower.

A Receiver andfor ll.'lanager so appointed shall be the agent of the B`orrower and the
Borrower sha|i alone be liable for his acts and defaults and remuneration and he shall
have authority and be entitled to exercise the powers hereinafter set forth and to do all
such acts and things which a Receiver andfor lv'lanager lawfully may or can do which
may be necessary for or considered to be incidental or conducive to the carrying on of
the business of the Borrower including the raising of money with the consent of the
bender on security of the said assets or without security and generally to take
possession of, collect and get iri ali or any part of the assets and for that purpose to take
proceedings in the name of the Borrower or otherwise as may seem expedient to sell
any or any pari of the assets and to make any compromise

All moneys received by any such Receiver andfor Manager shall after providing for all
costs and expenses incurred in carrying on the business of the Borrower or the sale or
disposal of the whole or any part of the said assets be applied:

FlRSTl_Y il‘ the Receiver andfor l\!|anager so desires but not otherwise in
payment of rents. rates, taxes and outgoings affecting any immovabie property of
the Eiorrovv'er and of premium on tire and other insurances thereon and on the
said assets and the cost of executing necessary and proper repairs and
replacements

SECONDLY in payment of all costs, charges and expenses of and incidental to
the appointment of the Receiver and/or Manager end the exercise by him or all or
any of the powers aforesaid including the reasonable remuneration of the
Receiver andfor Nianager.

 

 

 

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THiRDl_\r' in or towards payment of all unpaid interest and atl charges due under
this Debentures

FOURTHLY in or towards payment of ail principai moneys due in respect of this
Debenture

FlFTi-ILY any surplus shall be paid to the Borrower.

11. |n tha event of default or breach of this Debenture no purchaser or other person or
Borrower dealing with the Lender or any Receiver andror i\/lanager appointed by it orwith
'.heir attorneys or agents shall be concerned to enquire whether the powers exercised or
purported to be exercised have become exercisable or whether any money remains due
on the Security of this debenture or as to the necessity or expediency of the stipulations
and conditions subject to which any sale shall have been made or otherwise as to the
property or regularity of such sale calling in collection nor conversion or to the application
of any money paid to the Lender or such Receiver andror Manager and in absence of
Ma|a~fides on the part of such purchaser, mortgagor, mortgagee or other person or
Borrower such dealing shall be deemed so far as regards the safety and protection of
such purchaser person or Elorrower to be within the powers hereby conferred and to be
Vaiid and effectual accordingly

12. The Borrower hereby covenants with the Lender:

(a) To keep proper accounts relating to the said business and to altow the Lender or
its authorized representatives to inspect the same at ei| reasonable times and
from time to time to furnish such information with respect to the assets and all
other assets and liabilities of the Bcrrower as the Lender may requirel

(b} When necessary to repairl renew or replace ali movable piant machinery engines
tools implements utensiis end other effects cl a iike nature now used or hereafter
to be used for the purpose of or in connection with the business of the Borrower
when and as the same shall be in disrepair worn out or destroyed

(c] To permit the Lender and such person as the Lender shall`from time to time in
writing for the purpose appoint to enter into and upon the premises of the
Borrower to view the state and condition of the said assets

(d} To insure end keep in the name of the Eorrower with an insurance office
approved by the Lender such of the said assets (or towards the discharge of the
principal and other moneys hereby secured as the Lender may require AND if
default shali be made in keeping the said assets in good state of repair and in
perfect working order and condition and so insured as aforesaid or in depositing
any such policy or delivering any such receipt aforesaid the Lender may repair
the said assets or such of them as shall in their opinion require reparation and
may insure and keep insured the said assets or any part thereof as they may
deem fir AND the Borrower will on demand repay to the tender every sum of
money expended by the Lender for the above purpose or any of them with
interest at the rate of the Facility from the time of same respectively having been
expended and until such repayment the` same shall be a first charge upon the
said assets and to have every policy of insurance relating to the said assets
endorsed with a memorandum of the interests of the Lender as debenture holder
and with a provision that all moneys payable under any such policy shall be paid
to the Lender, to be applied to the benefit of the Lender in the manner
hereinbefore appearing; end Not to assign mortgage sublet or part with the
possession of the property belonging to the Borrower now or in the future without
the prior consent in writing of the Lender first had and obtained

 

 

 

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15.5.

The Borrower hereby further covenants to indemnify the Lender in the full
Facilityfamount thereof against all costs, charges and expenses (inc|uding the costs of
maintaining or enforcing or endeavouring to enforce this Secun'ty} incurred hereunder by
the Lender and all other moneys property paid by the Lender in respect of the said
costsl charges and expenses or otherwise and the same together with interest thereon
as aforesaid sha|t be added to the moneys hereby securedl PROV{DED that the charge
hereby created shall be in addition and without prejudice to any and every other remedy
lien or security which the Lender may or but for said charge wcuid have for the moneys
hereby secured or any part thereof

The Lender shall not by reason of its entering into possession of any of the said assets
be liable to account as mortgagee in possession or for anything except actual receipts or
be liable for any ioss upon realization or for any default or omission for which a
mortgagee in possession might be liable.

EFFECTNENESS OF SECUR|TY

Continutng Security

_ The Security created by or pursuant to this Debenture shall remain in full force and effect

as a continuing security for the Secured Obligations unless and until discharged by the
Lender in the manner provided for in Clause 161 of this Debenture (Redernptr`on of
Secun'ty}_

Cumulative Rights

The Security and Coltateral Rights created by or pursuant to this Debenture shall be
cumulative in addition to and independent of every other security. which the Lender may
at any time hoid for the Secured Obligations including any other rights powers and
remedies provided by law. No prior security held by the Lender over the whole or any
part ct the Charged Assets shall merge into the Secun`ty constituted by this Debenture

No Prejudice

The Security and the Coliateral Rights created by or pursuant to this Debenture shall not
be prejudiced by any unenforceability or invalidity of any other agreement or document
or by any time or indulgence granted to the Borrower or any other person, or the Lender
or by any variation of the terms of the trust upon which the Lender holds the security or
by any other thing which might otherwise prejudice that security or any Collateral Right.

Remedies and Waivers

No failure on the part of the Lender to exercise or any delay on its part in exercising any
Collateral Right shall operate as a waiver of that Collateral Rightl nor shall any single or
partial exercise of any Coilateral Right preclude any further or other exercise of that or
any other Collateral Right.

N<> liability

`None of the Lender or its nominee(s) or any Receiver shall be liable by reason ot':

15.5.1 taking any action permitted by this Debenture; or

15.5.2 any neglect or default in connection with the Charged Assets or;

15.5.3 taking possession of or realizing all or any part ofthe Charged Assets

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15.6.

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the Borrowsr agrees that it shall not assert or seek to assert against the Lenderl its
nominee{s) or any Receiver any claim it may have against them in respect of any act or
omission of the l_onder, its nominee(s) or any Receiver under this Debenture

Partia| invalidity

|f, at any timel any provision of this Debenture is or becomes illegall invaiid or
unenforceable in any respect under the law of any_jurisdictionr neither the legality,
validity or enforceability of the remaining provisions of this Debenture nor of such
provision under the laws of any otherjurisdiction shall in any way be affected or impaired
thereby and, if any part of the security intended to be created by or pursuant to this
Debenture is invalid, unenforceable or ineffective for any reason, that shall not affect or
impair any other part of the Securityi

lmmadiate Recourse

The-Borrower waives any right it may have of hrst requiring the Lender to proceed
against or enforce any other rights or security or claim payment from any person before
claiming from the Borrower under this Debenture or enforcing the Security.

Waiver of defenses

The obligations cf. and the Security created by. the Borrower under this Debenture will
not be affected by any act, omission matter or thing which, but for this Clause would
reduce. release or prejudice its Secured Ob|igations under_ or the Security created by or
pursuant tc this Debenture and whether or not Known to the Borrower including but not
limited to the following

15.8.‘\. any time, waiver or consent grantee toy or composition with, any person',

15.8.2.the release of any other third parties or any other person under the terms of any

composition or arrangement with any creditor;

15.8.3 any incapacity or lack of powersl authority or legal personality o:` or dissolution or change

in the members or status of, any Obligor or any other person;

15.8.4. any amendmentl novation, supptement, extension (whether of maturity or otherwise) or

restatement (in each case however fundamental and of whatsoever nature and whether
or not more onerousl or replacement of a Finance Document or any other document or
security or of the Secured Obligations;

15.8.5. any unenforceabilityl illegality or invalidity of any obligation cf any person under any

Finance Document or any other document or Security or of the $ecured Obligation_s‘, or

15.8.6. any insolvency or similar proceedings

"lG.

16.1.

RELEASE OF SECUR|TY
Redemption of Security
At the termination of the Security Period, the Lender shalt` at the request and cost of the

Borrov.rerl release and cancel the Security and procure the reassignment to the Borrower
ct the property and assets assigned to the Lender pursuant to this Debenture

 

 

 

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Retention of Security

The Lender may retain this Debenture, the Security and all documents of titie,
certificates and other documents relating to or evidencing ownership of all or any part of
the Charged Assets until the Secured Obiigations have been discharged in full and a
deed of release filed with the Corporate Affairs Commission and other relevant
government authority in respect of any Security constituted by virtue of this Debenturel
which the Lender undertakes to me at the termination of the Security Period_

lNDEMNlTY

The Eorrower shall from time to time, on the demand of the Lender;

reimburse the Lender, its nominee(s} and any Receiver on a full indemnity basis for all
costs, e)rpt=.-nsesl losses and liabilities (inc|uding legal fees and the fees, costs end
expenses of any advisers or consultants) incurred by the Lender in connection with the

enforcement of, orthe preservation of any rights under this Debenture;

pay or reimburse the Lenderi its nominee(s) and any Receiver for any Amounts or

7 Clairns paid or incurred by it in acting as Lender under or ln connection with this

Debenture or the Charged Assets including (i) any AgenUDeiegate Liabiiities; and (Ei}
Amounts or Claims incurred in the course of disputing or defending any Amounts or
Claims made against the Lender or any AgentlDelegate t_iabi|ities, save to the extent
that such Amounts or Ciaims arise from or are caused by the Lender’s. Agentfi;le|egate's
fraudl gross negligence or wilful misconductil “Amounts or Claims" are iosses, llablllties,
costs, claimsi actions, demands or expenses and “AgentiDelegate Liabilitles" are
Amounts or Ciaims Which the Lender is or would be obliged to pay or reimburse to any of
its agents or delegates appointed pursuant to this Debenturel and

indemnify the Lender, its agents, managers, officers employees delegates advisers
and any Receiver for any expense claim, liability, lossl cost. damage or expense
incurred or arising in connection with the exercise or purported exercise of any rights,
powers and discretions under this Debenture in the absence or fraud, gross negligence
willful misconduct on their part

ASStGNNiENT

The Lender may assign and transfer all or any of its rights and obligations under this
Debenture in accordance with the Facility Agreement and for this purpose, the Lender
shall subject to the Facility Agreement be entitled to disclose such information
concerning the Borrower end this Debenture as the Lender considers appropriate to any
actual or proposed successor or to any person to whom information may be required to
be disclosed by any applicants law subject to the agreement of the third-party to be
bound by the existing non~disciosure agreement between Borrower and Lender
concerning non-public information

The Borrower shall not assign or delegate any or its rights or obligations under this
Debenture without the prior written consent of the Lender.

NOT|CEB
Communications in writing

Any communication to be made under or in connection with the Debenture shall be
made in writing and. unless otherwise stated, may be made by fax or letter_

 

 

 

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19.2. Addresses
19.241. The address and tax number (and the department or officer, if any, for whose attention
thecornrnunication is to be made) for any communication or document to be made or

delivered under or in connection herewith is'.

19.2.1.1. The contact details of the Borrower for this purpose are:

Address: Camac i-iouse, Plot 1649, Olosa Street, Victoria lsiand, Lagos
Fax: +2341

Email;

Attention:

19.2.1.2. The contact details of the Lender for this purpose are:

Address'. Zenith Elani< Plc, Plot 84 Ajose Adeogun Street, Victoria lstand, Lagos
Fa)< number: +234'1

Email'.

Attention: Company Secretary, lv‘lr. Niicheal Osilarna Otu

_ Phone No; +234‘1276197'1
19.3. De|ivery

19.3.1. Any communication or document made or delivered by one person to another under or
in connection with this Debenture shall oniy be etfective;

19.3.1.1. if by way of fa)c, , at the time of transmission if received before 1700 hours in the
place of delivery on a Business Day, and otherwise on the next Bosiness Day; or
if by way of letter,5 (Hve) business days after being mailed by either registered or
certified mail, return receipt requested with postage prepaid

19.3.2.Any communication or document to be made or delivered to the Lender shall be effective
oniy When actualiv received by the Lender and then only if it is expressiy marked for the
attention of the officer identified in Clause '19.2.'1.2

19.4. Notification of address and tax number

Each party shall promptly notify the other party of any change to its address and fair
number pursuant to Clause 192 (Addresses).

19.5. Etectrontc communication

19-5.'1.Any communication to be made between the Borrower and the Lender under or in
connection with this Debenture may be made by electronic mail or other electronic
means. if the Borrower and the Lender:

19.5.1.1. agree that, unless and until notified to the contrary, this is to be an accepted form of
communication;

19.5.1‘2. notify each other in Writing of their electronic mail address andi'or any other
information required to enable the sending and receipt of information by that means;

19.5.1.3. notify each other of any change to their address or any other such information
supplied by them.

19.5.2.Any etectronic communication made between the Borrower and the Lender shall be

effective only when actually received in readable form and in the case of any eiectronie
communication made by the Lender to the Borrower only if it is addressed in such a
manner as the Agent or the Lender shall specify for this purpose

 

 

 

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19.5. English language
Any notice given under or in connection with this Debenture must be in Englisri.
20. PAYMENT FREE OP DEDtJCTiON

Aii payments to be made to the Lender` including its fees and costs, under this Debenture shall
be made free and clear of end without deduction for any tax unless the Borrower is required to
make such payment subject to the deduction or withholding of ta><, in which case the sum
payable by the Borrower, in respect of which such deduction or withholding is required to be
made, shall be increased to the extent necessary to ensure that after the making of such
deduction or withholding the person on account of whose liability to tax such deduction or
withholding has been made receives and retains tires from any liabiiity in respect of such
deduction or withholding} a net sum equal to the sum which it would have received and retained
had such deduction or withholding not been made.

21. DlSCRETlON AND DELEGAT|ON
21.1 Discretion

Any liberty or power which may be exercised or any determination which may be made under
this Debenture by the Lender or any Receiver may, subject to the terms and conditions of the
Facility Agreement and this Debenture, be exercised or made in its absolute and unfettered
discretion without any obligation to give reasons

Z‘l.Z Deiegation

Each of the Lender and Recelver shali have full power to delegate either generally or
specific_a|ly,r1 the powersl authorities and discretions conferred on it by this Debenture on such
terms and conditions as it shall see tit which delegation shall not preciude either the subsequent
exercise any subsequent delegation or any revocation of such power, authority or discretion by
the Lender or the Reoeiver itself

22. GOVERN|NG LAW

This Debenture and all obligations arising out of or in connection with it shall be governed by
and construed in accordance with the laws of the Federal Republic of Nigeria

23. FURTHER ASSURANCE

23.1. The Borrower shall promptlyl at its own cost, do any act, make any filing or registration
or sign, seal, execute and deliver such mortgagesl charges, transfers assignments

securities notices deeds instruments or other documents as iri each case the Lender
shall from time to time stipulate and in such form as the Lender may require to'_

23.t.i.pexfect and protect the Security intended to be conferred on the Lender by this
Debenture or the first priority ranking thereof or which are required for the exercise of the

Collatera| Righls;

23.142. maintain the Security interests intended to be hereby created or the first priority ranking
thereof;

23,1.3. create, perfect or protect any security interest which it may, or may be required to, create
in connection with this Debenture

23.1.4. stamp (and up-stamp at the discretion of the Lender) this Debentuiie as and when
demanded by the Lendar; and

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23.1.5. to facilitate the enforcement of the Security, the exercise of the Co||aterai Rights end the
realization of the Charged Assets.

24_ DlSPUTE RESOLUT|ON

______._,..,,__._...-.-.___-

24.1.

initial Mediation of Dispute

in the event of a dispute between the Parties to this A|| Assets Debenture the
following procedure shall be followed to resolve the dispute prior to either party
pursuing other remedios:

iii.

24.2.

iii.

A meeting shall be held within 7 (seven) days at which all parties are
present or represented by individuals with fuii decision making authority
regarding the matters in dispute (initial Meeting)_

if within 14 (fourieen] days foiiowing the initial Meeling, the parties have
not resolved the dispi.ite, the dispute shall be referred to Med'iation
directed by a mediator mutually agreeable to the Parties. Each Party
shall bear its proportionate share of the costs of the mediator's fees.

The Padies agree to negotiate in good faith in the initial l‘vteeting and in
the fv‘ied`iation.

if after a period of 30 (thirty) days following the commencement of
Niediation the Parties are unable to resolve the dispute either Party may
submit the dispute to binding arbitration in accordance with clause 242
hereof upon 10 (ten) days prior written notice to the other Pariy_

Bindlng Arbitration

Eilher party may submit any dispute arising out of this Ail Assets
Debenture that is not resolved following the processes in clauses 241 {i),
(ii) and (iii) above to final and binding Arbitration.

The referral of the dispute to Arbitration precludes any other cause of
action by the other Party except upon the mutual agreement and consent
of both Pai'i`!es.

The Arbitration contemplated hereby shall be by 3 {three) Arbiirators one
of whom shall be appointed by the Lender and the Etorrower respectively
Whi|e l|'le third Arbitrator sha'l be nominated by the two (2) Arbitrators
aforesaid and the venue for the proceedings shall be Lagos.

Where there is disagreement on the appointment of the third Arbitrafor,
then the third Arbitrator shall be appointed by the Chief Judge of Lagos
State.

Each Party shall be responsible for the cost of the Arbitrator appointed by
it, while the cost of the third Arbitrator and all other costs and expenses of
the arbitration proceedings shall be borne equally by the tender and the
Borrower respectively

24.2.1_The Arbilratlon shall be conducted in accordance with the Arbitration and Conciliation
Act Cap 1itt‘iS i.aws of the Federation of Nigeria 2004

SCHEDULE

 

ALL THE Fl)(ED AND FLOATiNG ASSETS OF THE COMPAN\’. |NCLUDING |TS PRESENT
AND FUTURE ACQU|RED ASSETS WHEREVER SiTUATE lNCLUDlNG |TS UNCALL,ED
CAPITAL, STOCKS BUT PARTlCULARLY THE ASSETS LOCATED AT CAMAC HOUSE,
PLOT 1649, OLOSA STREET, ViCTORlA ISLAND, LAGOS STATE-

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1:;-»-":_._=,

iN W|TNESS WHEREOF the parties hereto have caused their common seals to be affixed

hereto the day and year first above Writien.

The Commen Sea| of the within-named
CAN|AC PETROLEUM LlMlTED
was aPerd in presence of;

 

D | R E C T 0 R DiRECTOR f SECRETARY

The Common Sea| of ihe within-named
ZENWH BANK PLC was affixed
in presence of:

IHE WITHIN |NSTRUMENT iS |H THE
OPiN|ON OF 'FHE COMM|SS}ONER -“)F

‘TAH, Du¥lE$ gH-ARGEABLE H
mm or-'»Pé....§§§ §§.§..

 

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@R.\G\Nm.

At|ied Energy Plc
(Pomerly Allied Energy Resources {Nigeria) Limited)
(as Chargor)
and
Zenith Bank Plc
(as Chargee)
and
Camac Petroleum Limited

(as Company)

DEED OF LEGAL CHARGE OVER lNTEREST lN OML 120 AND 121

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_ i_.-`*"t-.ed Energy Plc (tormer|y Allied Energy Resources (Nigeria Limited.

. ' _ ._r_
nin<;:'»orated under the laws of the Federal Republic of Nigeria having its regis --_t

     
 
 
  

  
   
 
 
    
    
  
     
 
  

{3} Zenith Bank Plc, a banking Company or orated and
gainan .- _

  
      
 

_,W<:/edera| Republic of Nigeria having its re exit

*/_,-.;;¢ \ ictc)ria !sland. Lagos State {the "Charge: ,. _\
' .<__. h;;~_' _-

 

< ,_g}-i@l argée and Company are hereinafter s '

WH|;,§;KS:
/ - - ‘.
. 511§’;;:(§§¢:\§§4>»4£:gor is the awradee of Oil Nltning Lease No. 120 and 121 (also known as ONIL 12_0
11 `§n' § 2 or the "Charged interest") by virtue of an Acreage Allucatic>n [Discretionary Award)

`i y ‘._P_ -'?210 issued by the N'linistry of Petroleum Resr)urces [Petrnleum Resources

./r‘trnent) to the Chargor on the 3"“ Day cf June, 1992.

 
 
 
  

l svirtue of the letter datle August ZB, 2002 the Ministry of Petroleum Resr)urces c":cn ‘
`“" giapproval cf the Fresident, Cemmander in Chief of the Federal Republic 0 '=£7
15 \;"3__ :_

q w" "`QPL 2101¢:;1»~.1:>(2)01\1|_~5i_Eiw 120 and121. ~

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`rnpany la related company to the ChargtY’ has approached the Chargee fe ',,

__j c
' in the Surn ot N3,940,000,000\00 (Three Biliion, Nine Hundred and For‘ty Mil|ion\

        
    
 

  

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MOML 120 and 121 and the Chargee has by its offer letter dated duly 21, 2014 ag w U
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- c ?e facility to the Company, which offer was duly accepted by the Company, foll _
<*- _'~- -‘». 1 *- -.
‘ `§§argee and the Company entered into an agreement governing the facility 3d --

` the date hereof (lhe "Faci|ity Agreement")_

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. Definitions

Words and expressions defined in the Term Loan Facility Agreement between Zenith Banl<
Pic (Lencler) and Camac Petroleum Limited {Borrower) dated ................................. shalt_
uniess the context otherwise requires, have the same meaning when used in this Deed of
Legal Charge.

CHARGE

The Chargor hereby irrevocably charges and agrees to charge in favour of the Chargee its
entire interest in OML 120 and 121 for as long as any liabilities under the facility remain

outstanding

. The Chargor shall not create any charge over its interest in ON|L 120 and 121 or any part

thereof so that no lien shall in any case or in any manner arise on or affect the Charged
|nterest without the prior written consent of the Chargee PROV|DED that any further
charge created by the Chargor with the consent of the Chargee over the Charged lnterest
(otherwise than in favour of the Chargee) shall be expressed to be subject to this Charge

For the purposes of this Clause, the Chargor covenants and undertakes that an Account
(in line with the Term Loan Facility Agrement] shail be maintained with the Chargee and
that all other payments that shaii be due and payable to it from the sale of crude
proceeds from the Chargor's interest in OML 120 and 121 shall be domiciled to the
Chargee.

DOMICILAT|ON

The Chargor hereby covenants to irrevocably domicile proceeds of sale of crude oil produced
from OML 120 and DML 121 into its Account No. 50.50005786 and!or the Borrower's Aocount
No.5050009368 with the Chargee and has instructed accordingiy.

Neojanve PLEDGE

4.1. At all times during the continuance of this security the Chargor shall permit, upon
request, the Chargee or any persons authorised by the Chargee, With three days prior
notice to have access to and inspect free of ali charges all documentsl licenses
certificates and permits required by regulation to be maintained by the Chargor in
respect of the Charged interest

4_2. The Chargor shall have no authority to sell or in any way transfer or create any other
tnterest or security in the whote or any part of its interest in OML 120 and 121
charged by this presents except with the consent of the Chargee.

 

 

 

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5.

CRYSTALLIZATION OF CHARGE

The Charge constituted under this Deed of Legai Charge shall become enforceable

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6.'1.2.

|f any amounts due under the Facility Agreement remain unpaid within 5 days of the
expiring of any applicable grace periods by the Company

lf the Chargor shall fail to pay any levy, duty, impost, tax or any form of payment
whatsoever due to any government authority (or any other entity) in respect of the
Charged interest or fails to perform and observe the covenants and conditions
contained in or implied by O|'vlt. 120 and 121;

lf an order be made or an effective resolution be passed for the winding~up of the
Company;

if a distress or execution be ievied or enforced upon or against the Charged lnterest
and has not been paid within thirty (30} days;

if the Com pany or the Chargor shall stop payment or shall cease or threaten to cease

to carry on its businessl and

lf the Company or the Chargor shat| commit any breach of the covenants and
conditions herein contained and on its behalf to be performed and observed except
where the breach is rectified within a period of 14 (fourteen) days of formal
notification of the breach on the defaulting party.

POWER OF RECE|VER

At any time`after Charge constituted under this Deed of Legal Charge shelf have
become enforceable under the provisions of Clause 5 hereof the Chargee may
appoint by writing under the hands of its duly appointed Attomey or under the seal of
the Chargee any person whether an officer of the Chargee or notl to be a Receiver

- andfor Manager of the Chargor and may in ii|<e manner from time to time remove any

Receiver and!or Manager so appointed and appoint another in his stead The
Receiver andfor N|anager so appointed shall in addition to and without prejudice to
the powers conferred upon him by taw have power:

To take immediate possession of the interest hereby charged (Charged |nterest) and
for that purpose to take or defend proceedings in the name of the Chargor or
otherwise

To sell (by pubiic auction or private treaty) lease or let or concur in selling or leasing
the Charged interest hereby charged and to carry any such sale or leasing into effect
in the name and on behalf of the Chargor or otherwise

 

 

 

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6.‘|.3. To demand and recover ali the income ot the Charged interest hereby charged by
action, distress or otherwise to the tuti extent of the Charged interest which the
Chargor could dispose of and to give effectual receipts accordingly for the same to
exercise any powers which may have been delegated to it by the Chargee pursuant
to these presents

6.'1.4. To make any arrangements or compromises with respect to the Charged interest
which the Receiver and!or Nlanager shall think expedient in the interest of the
Chargor.

6.1.5. To appoint managers oftlcers, agents, accountantsl advisers stewards1 workmen
and others for the aforesaid purposes or any of them upon such terms as to
4._. remuneration or otherwise as he may think proper_

6.1.6. To give valid receipts for ali moneys and execute all conveyances1 assignmentsl
deeds, assurances and things which may be proper qr desirable for realising the
Charged interest and to do all such other reasonabie acts and things as may be
considered to be conducive to any of the matters or the powers aforesaid and which
the Receiver andror Manager lawfully can do as agent for the Chargor.

Ei.l .7. To use the name of the Chargor for all or any of the purposes aforesaid and in any
legal proceedings

6.1.8. To execute and deliver any deed or deeds or instrument and to convey or assign the
Charged interest over which he is appointed Receiver or any interest therein in the
name or on behalf of the Chargor and by deed in the name and on behalf of the
Chargor to grant, assign or vest the legat title in the Charged interest to the purchaser

or lessee thereof

6_1,9. To do all such other acts and things as may be considered by the Chargee to be
incidental or conducive to any of the matters or powers aforesaid and which he or

' they fawfuily may or can do as agent or agents of the Chargcr.

6.2. A Receiver and/or Manager so appointed shall be the agent of the Chargor and the
Chargor shall alone be liable for his acts and defaults and remuneration and he shall
have authority and be entitled to exercise the powers hereinafter set forth and to do ali
such acts and things which a Receiver andror Nianager iawfutiy may or can do which
may be necessary for or considered to be incidental or conducive to the carrying on of
the business of the Chargori

 

 

 

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APPLiCAT]ON OF MONE¥S

All moneys received by any such Receiver and/or Nlanager shelf after providing for ali
costs and expenses incurred in carrying on the business of the company or the sale
or disposai of the Charged interest shatl be applied:

FlRSTt_Y in payment of all cost, charges and expenses of and incidental to the
appointment cf the Receiver andior Manager and the exercise by him of all or any of
the powers aforesaid including the reasonable remuneration of the Receiver and!or
Manager.

SECONDLY in or towards payment o‘i all unpaid interest and all charges due under
the facility

TH|RDLY in or towards payment ot ali principal moneys due in respect of this Deed of
Legal Charge

FOURTHLY any surplus shall be paid to the Chargor.

COVENANTS

The Charg or hereby covenants with the Chargee:

it shall deliver to the Chargee the fot|owing (on the date hereot) in form and
substance acceptable to the Chargee as security in accordance with the terms of this
Charge:

a) the original ONlL deed document for OML 120 and 121

it shatl not, except with the prior written consent of the Chargee:

i. create or permit to exist over ali or part of its interest therein any
Security interest {other than created or expressly permitted to be
created under this Charge) whether ranking prior to, pari passu with or
behind the security contained in this Charge;or

it_ permit any person other than the Chargor or the Chargee or the

Chargee's nominee or nominees to be registered as owners;

it shall promptly forward to the Chargee_ ali material documents relating to the
Charged lnterest which it may receive from time to time;

until the Company has performed all of its obligations under the Faciiity Agreement
and the loan have been paid in fu|i, it shali not claim payment whether directly or by
set-off, lien, counterclaim or otherwise of any amount which may be or has become
due to the Chargor by the Company other than as contemplated andfor expressly
permitted by the Facility Agreement orthis Charge

 

 

 

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8.115. To Keep proper documentation relating to the Charged interest and to allow the
Chargee or its authorised representatives to inspect the same at ail reasonabte times
and from time to time to furnish such information in respect of the Charged interest
which are interests accruing from the OML 120 and 121.

8.1.6. Not to assign or charge the Charged interest now or in the future without the prior

consent in writing of the Chargor first had and obtained

9. The Chargcr hereby further covenants to indemnify the Chargee in the fuil amount
thereof against all costs, charges and expenses iinciudipg the costs of maintaining or
enforcing or endeavouring to enforce this security) property incurred hereunder by the
Chargee and ali other moneys property incurred by the Chargee in respect ot the said
costs, charges and expenses or otherwise and the same together with interest
thereon as aforesaid shall be for the account of the Chargor. PROViDED that the
Charge hereby created shall be in addition and without prejudice to any and every
other remedy, lien or security which the Chargee but for the said charge would have

for the liabilities hereby secured or any part thereof

10. The Chargee shaii not, by reason of its enforcing this security be liable to account as
Chargee in possession in connection with the Charged interest or be liable for any
loss upon realisation or for any defautt or omission for which a Chargee in possession
might be liable

11. APPL|CABLE LAW

This Agreernent shalt be construed and governed in all respects in accordance with
the Laws o'i the Federal Republic of Nigeria

12. NOT|CE `I'O THE MiNlSTER OF PETROLEUM.

12.1.The Chargor shaii do all such acts or things and sign, execute and produce ali such
documents as may now or in the future be required to obtain the consent of the
Minister of Petroieum (and any other relevant authority) respectively to the Charge.

1_2.2. The Chargor shall furnish the Chargee with evidence of the application for consent.
such as a letter duly acknowledged by the orHce the Ministry of Petroieum

respectiveiy.

13. Representations and Warranties by the Chargor

The Chargor represents and warrants to the Chargee and undertakes that:

13.1. the oii mining lease was granted to the Chargor by the President of the Federal
Repbulic of Nigeria through the office of the Minister for Petroteum resources with
respect to Oil fields OYO 7, Eii AND 9 for a period of twenty years commencing
from February 27, 2001;

 

 

 

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13.6.

no litigation against the Chargor or the Company is current or, pending or
threatened

this Charge constitutes a lega|, valid, binding and enforceable obligation and
is a first priority security interest over the Charged interest effective in
accordance with its terms;

the execution, delivery. observance and performance by the Chargor of this
Charge wilt not result in any violation of any |aw, statute, ordinance ruie or

regulation applicable to it;

as a registrable instrument the charge is expected to be registered at the
Corporate Attairs Commission (CAC] within 90 days of creation of same
pursuant to the provisions of Section 197 (2)(d] of the Companies and Allied
Niatters Aot Cap C. 20 LFN 2004;

it has obtained ali the necessary authorisations and consents to enable it to
enter into this Charge and the necessary authorisations and consents will
remain in futl force and effect at all times during the subsistence of the security
constituted by this Charge;

‘i. the company irrevocabty consents to the transfer of the Charged interest pursuant
to the enforcement by the Chargee of any of its rights under this Charge;

Power of Attorney

14.-‘|.

The Chargor hereby irrevocably and by way of security for the payment of the
Secured Obiigations and the performance of its obligations under this Charge
appoints the Chargee as its true and iawiui attorney (with full power to appoint
substitute and to sub-delegate) on behaif of the Chargor and in the Chargor's own
name or otherwise, at any time and from time to time, to sign\ seat, deliver and
comptete ali documents and do atl acts and things which the Chargee may consider
to be necessary or advisable to perfect or improve its security over the Chargeci
interestl The Chargor hereby retities and confirms anything that any such attorney
may iawtuliy execute cr do in the interest of securing the facility under the Facitity

Ag reement.

Powers of the Chargee

15.1

_ Enforcement

The Chargee's rights of enforcement in relation to this Charge shall become
immediately enforceable upon any reach by the Company ot the terms of the Facility
Agreement or default of any term of this Deed by the Chargor or reasonably
suspesion of defauit) of any term of this agreement by the Chargor. The Chargee
may in its discretion enforce all or any part of this Charge in any manner it thinks Ht.
For the avoidance of doubt1 the Chargee's rights of enforcement shall include

(without iimitation) the right:

 

 

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15.1.6.

to perfect or improve its title to and security over the Charged interest in such

manner as the Chargee may in its absolute discretion determine;

without notice tol or further consent or concurrence by, the Chargor to assign the
Charged interest cr any part thereof by such method, at such place and upon
such terms as the Chargee may in its absolute discretion determine. with power to
postpone any such assignment and in any such case the Chargee may exercise
any and ali rights attaching to the Charged interest

to assume ownership of the Oil mining tease (OML 120 and 121) over the oil helds
OYO 7, 8 and 9 and receive the proceeds of the production of crude oil on the ott
fieids.;

to exercise any and alt other rightsl powers and discretions of the Chargor in
respect of the Chargee` interest in such manner as the Chargee may in its
absolute discretion deterrnine;

to procure that the Chargee is registered at the Ministry of petroieurn resources as
the holder of the oil mining lease OML 120 and 121 for the duration of the iease;

otherwise to enforce any of the rights of the Chargee under cr in connection with
this Charge in such manner as the Chargee may in its absolute discretion

determine; and

16. DISPU'I'E RESOLUT|ON

 

16.1.

initial Niediation of Dispute

in the event of a dispute between the parties to this Deed ot Legal Charge, the

fo|towing procedure shail be followed to resolve the dispute prior to either party

pursuing other remedies

A meeting sha|i be held within ? [seven} days at which all Parties are present
or represented by individuals with full decision making authority regarding the

matters in dispute (tnitia| Nieeling}.

if within 14 (fourteen) days fo|iowing the lnitiai Nieetingi the Paities have not
resolved the dispute, the dispute shall be referred to Nlediation directed by a
mediator mutually agreeable to the Parties. Each F'arty shall bear its
proportionate share uf the costs of the mediator's fees.

The Parties agree to negotiate in good faith in the initial Nieeting and in the

Mediation.

 

 

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16.2.

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if after a period of 30 (thirty) days following the commencement of Niediation
the Parties are unable to resolve the dispute either Party may submit the
dispute to binding arbitration in accordance with ciause 162 hereof upon 10
(ten) days prior written notice to the other Party.

Elinding Arbitration

Either Party may submit any dispute arising out of this Deed of Legal Charge
that is not resolved fciiowing the processes in clauses 16.1 {i}, (ii} and (iii)
above to Hnai and binding Arbitration.

The referral of the dispute to Arbitration precludes any other cause of action
by the other Party except upon the mutual agreement and consent of both
Parties.

The Arbitration contemplated hereby shall be by 3 (three) Arbitratcrs one of
whom shall be appointed by the Chargor and the Chargee respectiver while
the third Arbitrator shall be nominated by the two (2) Arbitrators aforesaid and
the venue for the proceedings shall be Lagos.

Where there is disagreement on the appointment of the third Arbitrator, then
the third Arbitrator shall be appointed by the Chief Judge of Lagos State.

Each Party shall be responsible for the cost of the Arbitrator appointed by it,
while the cost of the third Arbitrator and ai| other costs and expenses of the
arbitration proceedings sha|i be borne equai|y by the Chargorl the Chargee
and the Company respectivelyl

4, 16.2.1. The Arbitration shall be conducted in accordance with the Arbitration and Concil?ation
Act Cap A18 Laws of the Federation of Nigeria 2004.

17. SEVERA BILITY

171 if due to a change in any applicable law or due to a decision or any other act by

- any competent authority one or more terms or provisions of this Deed of Legal
Charge can no longer be enforced or an amendment of one or more of the
provisions of this Deed of Legal Charge is required the Parties agree that they shall
endeavour to find an alternative solution approaching as near as possible the
contractual situation existing prior to such a changel decision or act.

17.2. if one or more provisions of this Deed of Legal Charge are determined to be invalid

or not enforceablel the remaining provisions shati not be affected thereby, and the

l Deed of Legal Charge shall be administered as though the invaiid or not enforceable
provisions were not a part of the Deed of Legal Charge

 

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' .. __; is. waivi=.ns

No Party shall be deemed to have waived any right under this Deed of Legal Charge unless

that waiver is in writing. refers to this Deed of Legal Charge and is executed by that Party_

Fai|ure or forbearance to insist on the strict performance or observance by a Party ci a

provision of this Deed of Legal Charge shall not be construed as a waiver by that Parly of

any right under this Agreernent. Waiver of a right by a Party under this Deed of Legal Charge
i shall not preclude that Party in the future from enforcing any other right whether similar or
dissimilar to the right that was waived or relinquished

19. NDTICES

191 Communications in writing

Any communication to be made under or in connection with this Deed ot Legal Charge shall
1 be made in writing and, unless otherwise stated may be made by tax or letter_

19.2, Addresses
The address and tax number (and the department or ofhcer. if any, for whose attention the
communication is to be made) for any communication or document to be made or delivered

under or in connection herewith is'_

l The contact details of the Chargor forthls purpose are:

Address: Camac House, Plot 1649, Olosa Street, Victoria ls|and, Lagos
l seitz +2341

Emaii;

Attel'i!ion:

The contact details of the Chargee for this purpose are:

Address: Zenith Bank Plc, P|ot 84187, Ajose Adeogun Streietl Victoria lsiand. Lagos
Fa)t number: +2341

Email:

Attenticn: Company Secretary, Mr. iyiichael Osilama Otu;

The contact detaiis of the Company for this purpose are:

Address: Camac House, Plot1649, Olosa Street, Victoria lsiand, i_agos
Fax: +234t
Emai|:

Attenticn:

 

 

 

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1943. Delivery

19.3.1_Any communication or document made or delivered by one person to another
under or in connection with this Deed of Legal Charge shall only be effective:

19.3.1.1. if by way of fax, , al the lime of transmission if received before 1700 hours in
the place of delivery on a Business Bay, and otherwise on the next Business Day;
or

t9.3.l.2. if by way of letter, 5 (five) business days after being mailed by either
registered or certified maii, return receipt requested with postage prepaid.

andl if a particular department or officer is specified as part of its address details provided
under Clause 19 (Notices), if addressed to that department or officer.

19.3.2. Any communication or document to be made or delivered to the Chargee shall be effective
only when actually received by the Chargee and then oniy if it is expressly marked for the
attention of the department or officer identined with the Chargee‘s signature below (or any
substitute department or officer as the Chargee shaf| specify for this purpose).

19.4. Notif`lcation of address and tax number

Each party shall promptiy notify the other party of any change to its address and fax number
pursuantto Clause 19.2 (Addresses,l.

19.5. Electronic communication

1915.1. Any communication to be made between the Chargor, the Chargee and the Company under
or in connection with this Deed of Legal Charge may be made by electronic mail or other
electronic means, if the Chargor. the Chargee, and the Company:

19,5.1.?. agree that, unless and until notified to the contrary this is to be an accepted
form of communication;

19.5.1.2. notify each other in writing of their electronic mail address andior any other
information required to enable the sending and receipt of information by that

means;

19_5.1_3_ notify each other of any change to their address or any other such information
supplied by them.

tQ.S.Z.Any etectronic communication made between the Chargor, the Chargee and the Company
shall be effective only when actually received in readable form and in the case of any
electronic communication made by the Chargor or the Company to the Chargee only if it ls
addressed in such a manner as the Chargee shalt specify for this purpose

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Miscellaneous

The charge hereby created shall not be affected by any failure by the Chargee to take
any other secunty.

The Chargee may at all times, without discharging or in any way affecting the security
hereby created, deten'nlne or vary the Chargor's obligationsl grant the Chargor any
time or indulgence; deal with, exchanger release modify or abstain from perfecting or

enforcing any Shares or rights which it may now or hereafter have from or against the
Chargor.

Law and Jurisdiction

This Charge is governed by, and shall be construed in accordance with, the laws of
the Federal republic of Nigeria

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ln WlTNESS WHEREOF this Deed of Legal Charge has been entered into the day and year first
above written

THE COMMON SEAL of the within-named Elorrowerfcompany
Camac Petroleum Limited

was hereunto affixed in the presence of

%§5%~”:“ games § georgia __

DlRECTOR DlRECTOR/SECRETARY

THE COMN|ON SEAL of the within~named Chargor
A|lied Energy Plc

was hereunto affixed in the presence of

Q lrrtj ____LWQQMQ jwe-»-§~“;-=

DlRECTOR DIRECTOR/SECRETARY

s
THE common sEAr_ ar the within-nm

Zenith Ba _ Plc

 

DlRECTOR

SECRE ARY

‘\_

 

 

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DEED OF ASS|GNNEENT OF RlGHTS

BETWEEN

cAcuiAc PETROLEUM LlMiTEo
rAsSic-‘.Noar

` AND

ALLrEo ENERG¥ Pi_c
(ASSEGNOR;

AND

cAririAc eNeReY iNc,
rAss:eNoR;

AND

ZENITH BANK PLC
(ASS|GNEE}

 

DEED OF ASSlGNMENT OF RIGHTS ACCRUING FROM ALL CON|MERC|A|_ CONTRACTS
RELATlNG TO OML 120 AND 121 |NCLUDlNG SALE AND PURCHASE AGREENEENTS,
OFFTAKE AGREEMENTS AND CRUDE HANDL|NG AGREEMENTS ENTERED lNTO BY _

CAN_lAC PETROLEUM LJMITED, ALL|ED ENERGY PLC AND CAMAC ENERGY lNC. U__,_,_____.._'___ =

 

 

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cAl.llAc Pernoi_Eu § neb s limited hamlin company i r ins Laws or me

,

Federal Republic of Nigeria. having its ofnces at Camac Hous, 649, Olosa stre_et, Victoria
lsland, Lagos (hereinafter referred to as the “Ftrst Assignor" which expression shall where the
context so admits include its successors in title and assigns) of the first Part.

 
 
 
  

AND
Ai.LlED ENERGY PLC a company incorporated under the Laws of the Federal Repu - eria,
having its offices at Plot 1649, Olosa streetl Victoria island, Lagos?`|"` `atte'r‘*re _ mss-then

“Seconcl Assignor” which expression shall where the context so ad `its,,' -'
and assigns) of the Second Part.

AND

CAMAC ENERGY iNC. a company incorporated under~the Laws ~' -' ~ '

America, having its registered address at 1330 Post Oal< BouievarU iori. l)§ rruoo, Lir.>r-‘\
(hereinafter referred to as the “Third Assignor" which expression shal re the context so admits
inciude its successors in title and assigns) of the Third Part.

|N FAVOUR OF:

ZENlTH BANK FLC a banking company incorporated and licensed under the Laws of the Federal
Republic of Nigeria whose registered office is at Zenith heights Piot 84. Ajos'e Adeogi.tn Sreet, Victoria
lsiand, Lagos (hereinafter called the “Assignee” which expression snat| where the context so admits
include its successors in title and assigns)

Camac Petroleum Limited, A|iied Energy Plc and Camac Energy lnc. (First_ Seoonc| and Third
Assignors} shall collectively be referred to as the Assigrlors.

WHEREAS:

i. The Assignors have signed several commercial contracts including sale and purchase
ag;irr.>en"lentsl ofRake agreements crude handling agreements etc (collectively hereinafter
called *‘commercial contracts"} with respect to the Ol\rlL 120 and 121.

ii. Pursuant to the Term Loan Facility Agreemeni between Zenith Bank Plc and Camac
Petroleum Limited dated ( ), the Assignee has agreed to provide a term loan
facility to the First Assignor subject to the terms and conditions set out in the Term Loan
Faoiiity llligreernent7

iii. tt is a condition precedent to, the Term Loan Facility Agreement that the Assignors enter
into this Deed of Assignment of all of their rights and interest in commercial contract
including sale and purchase agreements offtal<e agreements crude handling agreements
etc with respect to OMl_ 120 and 121 provided that this security shall also secure any
future facility that may be availed by the Assignee to the First Assignor or its Subsidiarios
which facilities must be within the threshold of the value of this security

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Words and expressions defined in the Term Loan Facility Agreeme t s =.-
otherv.rise requiresi have the same meaning when used in this Deed

  
  

2. AsslonMENT i-, ‘

The Assigrlors i,ioint!y and severally) hereby irrevocably assign absolutely o the Asslgnee a o
its interests and rights to payment of any sum under the Commerciai contracts including sale
and purchase agreementsi offtal<e agreements crude handling agreements etc solely as
security and for the purposes of the repayment of the Term Loan Facility granted by the
Assignee to the First Assignor by virtue of the Term Loan Facility Agreement dated { ),
2014. Provided always that once the obligations under the Term Loan Facility have been fully
repaid the assignment granted hereunder wilt abate and the Assignee’s right of payment of
any sum under the Commercial Contract shall immediately revert to the Assignors nerein.

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For the purposes of this Clause, the Assignors covenant and undertake that an Account shall
be maintained with the Asslgnee (in line with the Term Loan Facility Agreement bemeen
Zenith Bank Plc and Camac Petroleum Limited dated ( )} and that all other
payments that shall be due and payable to it under the Commercial Contracts shell be
domiciled with the Assignee\

The assignors having assigned their rights in the commercial contracts to the assignee shall
not assign those rights to a third party without obtaining the written consent of the assignee

3. DOM|C|LATlON

The Assignors hereby covenants to irrevocably domicile all proceeds ct receivables from all
commercial contracts with respect to OML 120 and 121 into its Account No.5050005786 and
Account No. 5050009368 with the Assignee and has instructed the parties to the commercial
contracts to do so.

4. LAW

This Agreement shall be construed and governed in all respects in accordance with the Laws
of the Federal Republic of Nigeria 7

5. NON RESTRlCT|ON AND!OR LlMlTATlONS

The Assignors {jointly and severai|y) hereby covenant that it does not have any restriction or
limitation with respect to the assignment of its rights/interest in the commercial contracts and that
where such restriction or limitation exist, lt has obtained the requisite consent or waiver of the
limitation provision from the other party

The Assignors jointly and severally hereby indemnity the Assignee against any loss or injury or
damage it may suffer as a consequence of breach by any of the Assignors of this provision or
any other provision ofthis Deed.

5. REPRESENTATIDNS & WARRANTIES

i. The Assignors represent and warrant that the Person executing this Agreement on its
behalf has been duly authorised to bind it_ The Assignors further represent and warrant
that il has the corporate capacity to execute this Agreement and perform its obligations
hereunder, and is duly registered or incorporated validly existing and in good standing

ii. The Assignors represent and warrant that the executionl delivery and performance of this
Agreement will not conflict with or violate or constitute a breach or default under any
agreement governing the organisatlon, managemenl, business or affairs of the Party,
including its by-lavvs, memorandum of association or articles of association or any
agreement or instrument to which it is a party, or, to its best knowledge any Applicable
Law. administrative regulation or court order, judgment or decree applicable to it.

iii. The Assignors represent and warrant that it is not subject to an order by a court within the
applicable jurisdiction or subject to an effective resolution for the reorganisation under any
Bankruptcy law, dissolution liquidationl or winding up or has become insolvent or

'banl<rupt, made an assignment for the benefit of creditors or appointed a receiver for a
substantial part of its assets

iv. Al| covenants w‘=lrrantiesl re‘:pre.»sentationsl indemnities and other obligations of
whatsoever i<lrld given, made or undertaken by the Assignors shall continue in full force
and effect notwithstanding any change irl the composition of the Assignors.

7. ARBiTRAT|ON

The parties hereto agree that any dispute arising from this Deed shall be resolved in line with
the Dispute Resolution and Arbitratiorl provisions of the Term Loan Facility Agreement
between Zenith Bank Plc and Camac Petroleum Limited dated ( .

 

 

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8.

i.

9.

10.

SEVERABlLlT`l"

if due to a change in any applicable law or due to a decision or any other act by any
competent authority, one or more terms or provisions of this Agreement can no longer be
enforced or an amendment of one or more of the provisions of this Agreement is required,
the Parties agree that they shall endeavour to find an aiterriative solution approaching as
near as possible the contractual situation existing prior to such a change, decision cr act_

lt one or more provisions of this Agreernent are determined to be invalid or not
enforceable the remaining provisions shatl not be affected thereby, and the Agreernent
shall be administered as though the invalid or not enforceable provisions Were not a part of
the Agreernent.

WAWERS

No Party shall be deemed to have waived any right under this Agreement uniess that waiver is
in writing, refers to this Agreement and is executed by that Party. Fai|ure or forbearance to
insist on the strict performance or observance by a Pariy of a provision of this Agreement shall
not be construed as a waiver by that Party of any right under this Agreement. Walver of a right
by a Party under this Agreement shall not preclude that Party in the future from enforcing any
other right whether similar or dissimilar to the right that was waived or relinquished

NOT|CES

A|i notices and other communications required under this agreement to be in writing shall be
addressed to the authorized representatives of the parties at the addresses set out above, or
to such other addresses which a party may from time to time notify the other party pursuant
hereto. Suoh notices and communications shail be deemed given upon:(a) actual receiptl (b)
5 (tive) business days after being mailed by either registered cr certified mai|, return receipt
requested with postage prepaid {c) if by electronic mail, upon transmission (ci) when sent by
facsimile with receipt confirmed by telephone

iv

 

 

 

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lN WlTNESS WHEREOF the parties hereto have caused their respective Common Seals to be
hereunto affixed the day and year first above written

The Common Sea| of the within named First Assignor
CAMAC PETROLEUM t.tMlTED

was hereunto affixed in the presence oft

    

DIRECTOR

 

The Common Seal of the Within named Second Assignor
ALLIED ENERG‘( PLC

was hereunto affixed in the presence of:

DIRECTOR

lN tim
' ” villii'l‘.N \N§'H<\¢ UM'ENT 13 ._

isSiONE ~
The Common Sea| cf the within named Third AS§}AWNO?F ii-iE COMI"`\ BL
CAMAC ENERG‘{ lNC.

 
 

  
 
 

was hereunto afdxed in the presence cf Smm? mg .m,.».v-w~"" \\.».'“\iiiiiii .mi,,
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gaf w maj ::js;l

AUTHOR!ZED OFFtCER

The Common Seal of the within named Asslgnee
ZENITH BANK PLC

was her nto\sffixed in the presence of

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RC 1 8068 l

 

CORPORATE AFFAIRS COMMISSION
FEDERAL REPUBLIC 011 NIGERIA

 

Certificate of Re§istratior\ of

A DEED OF LEGAL CHARGE

C()MPANIES AND ALLIED MATTERS ACT 1990
Pursuant to section 1_,97 198 (2), 203 (1)

ALL¥ED ENERGY PLC

gt i.l lww:bg, ee¥i[{ied amf A DEED OF LE(}AL CHARGE

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filig£xia

Uhjs. U'wentg-¢$£xlh day afjllag;, 2015

Rec¢ipt No: CAC;GTB 0544923
For =N=73,300,000.00

 

BELLO MAHMUD

 

 

81 6 8 2 5 Registcar W General

l . Case 18-32106 Document 187-3 Filed in TXSB on 06/08/18 Page 74 of 177
|
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RC 860957

 

CORPORATE AFFAIRS COMMISSION
FEDERAL REPUBLIC OF NIGERIA

Certificate of Re§istration of

d _ A DEED OF ALL ASSETS DEBENTUR]_§

i 7 ` coMPANIES AND ALLIED MATTERS Ac'r 1990 .
. Pursuant to sectibn 197, 198 (2), 203 (1)

CAMAC PETROLEUM LIMITED

36 ¢'.l hereby €EMHI fluid A DEED OFALL ASSETS DEBENTURE

‘Datal the TwenIy-Fi)@‘h ¢[ag of November, 2014

and created £u_g the above named aamgzmu;,, £:womora£ed in G€iqen'a
manning the wm of Umz U£[lion, Jiae Mjlillion Uf¢n`la
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Receipt No: CACfGTB 548347
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BELLO MAHMUD

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Registrar ~ General
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Storios by Ejiofor Al!ke

 

Following the order of a
Federal High Court sitting
in Lagos, which enforced
and recognised a final award
tendered at the london Court
of international Arl)itratiou
{LCIA) orr February 14, 2017
in favour ot Nigerian Agip
Explorstion Limited (NAE)
in respect of the Oyo oilt`reld
in Oil Mirting lease (OML)`
1211th Nigerian subsidiary of
the ltalie'n firm has moved to
take over the field, 'I'HISDAY
has leamt_.' '

lustice_Hadiza R.' Sltagari
of the Federalth Court had
ordered the NAOC to take
over`OYO oilfield after a pro-
traded legal dispute between
the subsidiary ot the ltalian

' oil firm and two Nigerian

Companies » Allied Energy
Plc aitd Camac I'Iiternatiortal
(Ni-g) Ltd.

According to the judgment
ot the Court in the suit num~
barred FHC/ L/_ CS/ 625/ 2017,
the order was sequel to the

. ruling of the London Court

-ot- luternat:iono'l ~Arl)itration

- -(LCl-A} mitch arose _l"ro`m'z\.

dispute on a Sale and Purchasc
Agreement (SPA) concluded
injure 2012 between Nigerian
Agip E-):ploration Limited
(NAE) as seller and Allied
Energy Plc as purchaser

ln the court order signed by
the Re_gistrar, joseph Olujoye,
the judge ordered that leave
be granted to the claimantr'
applicant that London Court
of ln`ternational Arbitration
Final Award be recognised
and enforced by the cou.rt.

The judge ruled that its
decision was based on Sec-
tion 31 (1) and (2),-‘Sectior1 51
(1} and Section 57 (1) of the
Arbitr'atioo and Conciljation
Act CAP 1118 Volume 1-, laws
of the Federation of Nigeria

]ustice Shagari ruled that
the court made the order
"opon. reading the affidavit
in support ot the ex~parte
originating simmons sworn to
by Og’oenc Abar\g, l\ligerizmj a
senior legal officer and a staff
of NA§E … and the exhibits-et-
lached thereto marked edtibits
NAE 1A - NAES the written
address in support of the ex»
parts originating summons
signed by Chicf 11 Onomigbo
Olcpol<o (SAN) ...Atter hearing
Cltief'l',l@ _Olcpol<o (SAN) with
Charl.esr :Ajuyah (SAN`) and
Eguo'r\o lillth cotr_nSQl for the
clotmaotiepplicnnt moved m
terms oi'-e>t»¢psrte originating
summons-and adopted the
written address-filed as the
argument.' -
- find the coort having
listened and considered the
submission of the learned

counsel and delivered ruling
on Moy 11, 2017.”

Under the Salc and
Purchase Agreement (SPA),
Nigerian Agip Exploration
Limited had transferred to
Allied Energy Plc the entirety
of its interests and rights in
the two Oil-Mirting l_eases 120
and 121 in the deep offshore
region of Nigeria.

Payment of part of the price
for the transferred interests
md rights was deterred to
be paid by Allied Energy 'P'lc
to Nigerian Agip Explor-ation
Limited

Nigerian Agip Expioration
Limited filed the arbitration
at the London Court of
Internationa] Arbitration irl
accordancewith the terms for
submission to arbitration as
provided for in the Sl’_A.

The arbitration Was finally
concluded orr February 14,
2017 When the Fir\al Award
Was issued by the arbitrators

The OML 120 contains the
Oyo l"`ield which is located
approximately 75 kilometres
from the coast .irr water
depths ranging from 209':1:0
iitltl.-otstz-~osx,l s -_ ry -"

The Oyo Pield commenced
production to December 2009 _
and the Wells are comicctotl' --
to the stomdafterdaro FPSO, ._ _
a timing Pretiu¢ii@o,$torogé §

offloading'trrso) mirr;l- _ l` - _-

\.--N iv _'m.'lh.-\Hm?--n»¢v¢$vh'»L-i. .. ‘.\ ~¢;rr-.\'» -l-,.¢v'-a~

 

 

 

 

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.`£ol lilll llt.-l»_,;ht::, l~lot ‘€.-l!t_t'/ ;"j-;lsu »‘.clo.;gl:rl t`-.._,.'.~.¢l,
li-l. (`J` Llu;'. ‘{i:ll l’.`\. `Jlt:`m\iu le finl.|, L;;‘_;v'.:\

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‘5”'£:‘? di § H - ~.~.'.'.-.'J.:t_.niilil)alll~z.ctmt f f_`i`.-'J|.' l'. ZEll`li\lt i\_;"\.

February 14, 2018

The blanaglog Director

Erin Petroleum Nigeria l_lmlted
Plol 1649 Olosa Street
Victoria island

Lagos

Attention: l'vlr. Femi Ayoade

 

Dear Sir,

lN THE lll'l_ATTER OF THE RECOGNlT|ON AND ENFORCEMENT OF THE FlNAi. AWARD lN LCIA
ARBlTRATlON NO.132498 - |N RE SUlT NO. SUlT NO. FHClLlCS/SZS!ZU'IY BETWEEN NlGERlA
AGlP EXPLORAT|ON LTD V` ALLlED ENERGY PLC 81 ANOR

Our attention has been drawn to a Fiha| Award by the l_ondoh Court of international Arbilratloo
(l_C|A), Whlch Was recognized and entered al the Federal l-ligh Court, |koyi, Lagos, in Sult No_
FHC!LJCS!BQS!QO??, as a final Judgment to favour of Nigeria Aglp E)<ploratloo le (Claimanl)\ lorthe
cumulative sum of USD$lGl,BBB,QBB.BY {One Hundred and One Mll|ion, Slx Hundred and Thirty
Elght Thousahd, Nine Hundred and Sixty Slx United States Dollars, Slxty Seven Cents) and
interest thereon compounded on a monthly basis against Camac |nternational {Nigeria} Ltd (Erin
Petroleum Nigeria l.to]; the cumulative sum of USD$175,123,B14.85 (One Hundred and Seventy
Flve Mi||ion, One Hundred and Twenty Three Thousand, Six Hundred and Fourteen United
States Dollars, Eighty Five Cents) and interest thereon compounded on a monthly basis against
Allied Energy Plc; and the sums of £7,119,290.99 (Seven Nll|lion, One Hundred and Nineteen
Thousand, Two Hundred and Nlhely Pouods, Nlnaty Nine Pence); €550,796.01 {Five Hundred
and Flfty Thousand, Seven Hundred and Ninety Six Euro, One Cent) and USD$S,QOU (Flve
Thousand, Nine Hundred United States Dollars) against Camac |oterhational (Nig.) l_ld (Erih
Petroleum Nigeria Lto) and Allled Energy Plc jointly and severallyl A copy ot the Lludgl‘neht ot the
Court is herein attached

`l’ou Wll| recall that the proceeds of the contracts Whlch are now being attached by this judgment
constitutes a major source of repayment of the Credil Facililies granted by the Bank to your
goooselves, and this ls capable olleopardizirlg the repayment of the facility

 

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ZENITH

tn view ot this recent Wor’ieome developments and considering the provisions ofthe Loan Agreement
between your Company and the Bank, We Write to invite you for an urgent meeting With the
Management of the Bank on February 22, 2018 by 10am te enabte us evaluate the impact of the
Judgment on your_ repayment obligation to the Bani<.

Kinti|y confirm your avaitabitity tor the meeting by telephone on XX-XXXXXXX or Ut-278”l980

Youre faith nfqu y=1

zENm~i elaine PLC
woLE eggs AoLA AEL oerr.AuA oru
HEAo, LOAN REviEw oEPr HEAo ua AucoMPANY st-:cnety/

Attd

 

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CAP, Att€ LA\NS OF 111E FLDERA l 101\1 01 NIGER[A (Ll<l\l), 2004 AND
11\1 TllL 1\’11¢\"1”11‘11§’. Oli` '1 llF RECOC‘Nt 1 1()1\1 AND ENF?»OI CEMENL 013`
THE ltINAL A‘NARD 11\1 LClA ARB!' 1 RA 1`11()?11 1`\10: 132498.
BETWEEN:

NICERlA AGlP 'EXP\¢ORAT`tON L'l`l) ClJAlNlAN"l`!
A!"l_’LlCAN'l`

AND

1. 115L11£DEN1:116\’11LC 1
2. CAMAC11111111NAT10NAL11\111,L111A) 1111)1“11115.1>01\11)11:1~1'1‘5

QRUER

UP()N r1`1111‘3 EX~I’A|.{TE Ol{lGlN/X(I`IN(_}

   
 

`)"ijlMONS timed tl1e1 b day 01 Apltt 2017
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made 111 1101'111011 1)11 1'~’1"' 1"'1:1"11'1111.1')/, 2017
111 LCE/\ ARBVI`RAT`ION NO: 132498.

BHTWEEN:
Nigeria Aglp 15>;1)11)1‘;111011 1111
AND
g A11'1€c1 Energy PLC

C`.Ai\fl/-'XC 11111:1'1111111)1"-.111 Ltd
CAMA{:‘. 1111'@1'_111111'011;11 (1\11§;) Ltd

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-1 »#"'*‘§T:§"Wcogmzed mud 13111"01‘13@1"1 by this 1'10110111'511113
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Affic:d Energy 1")1.(‘

CAMAC` 1111@111111'11111¢11 Lth .. 1213 liespondeuts)
CAMAC 11111=.111 11 01121! (1\11g) 1,1€1

136 1'@@1_1gl1izccl 11111.1 151'1'1`01'1:1;:1 by 11113 1~10110111'?1|311-:
111_1111'1 pursuant 10 561:11011 31(1) and (2_}, 3@1;1'1011
5 l ( 1) and 121 amf Sec‘tion 57 (1) 01"1111~: A1‘13111'111101"1

amd 12011<;1111;1111:111 Aca CAP A 18, \/oiume 1,¢ Laws 01`

1111: 1"@111:1'111`1011 01" 1\113121:1£1.
2. Ancl 1111 3111;11 1`111'111131‘ 01‘€11:'1'(-5) 513 1116 1510110111‘11[31@

C0111‘1 may 1113@11'1 1`11 10 make `111 1119 011~1211111§1111111:€.3.
UPON REA]JJNG 'I‘IIIE Al¢`l¢`l`l)A\/IT 11\1 SU!’PORT
OF' THE EX-PAR'_{`E ()RIGINATING SUMN|()NS
3\1\/1)1'11 1'1) by Og_gben;‘, Abzmg, Njgc-)I'ian, 21 3611101' Legal
01?111;1:1'€11111 1.1 311-111 1)1"1\1115&111111 Agip Ex13101‘211`101'1 1,1€1 01`
No. 11 1:`1`1:;11: 1-1`.1:1111 1"1:111'11@ 811'1:121, \/`11;101'1:1 1515111€|, Lagos

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Guou mSTch,ABL'J,\. AR'.'znn-nsso, ll.s~A.
TEL: um 290-0411,03033207252 TEL; (1:4}479-2':1-9004
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SEARCH REPORT
1. Date of Search: 13/04/18
2. N`ame Of Company: ERIN PETROLEUM NIGERIA LIMI'|`ED (Previously caf|ed CAMAC
PETROLEUM LIMITED, name changed on 20/08/15)
3. RC: 860,957
4. Date of Incorporation: 28/12/09
5. Share Capital: 10,000,000

6 (i) New Registered Address: Piot 1649, Olosa Street, Victoria lsiand Lagos

U(ii) Old Registered Address: 35, Moloney Street Lagos

7. Subscribers (A):coz of 23;12/09 Address: Shares:
(a) Pacif:'c Asia Petroieum Inc 250 East Hartsda|e Avenue Suite 47 Har'tsdaie 9,999,999
New \‘ork 10530 USA

(b) Franl< C. lngriselii Same 1
(B} coz or 23/1/11 Adclress: Shares:
(a) CAMAC Energy Inc 250 East Hartscia|e Avenue Suite 47 Har'tsdale 9,999,999
New York 10530 USA
(b) Byron Dunn Same 1
(C) Subscribers: coe of 115/11 Address: Shares:
(a) CAMAC Energy lnc 250 East Hartsda|e Avenue Suite 47 Hartsda|e 9,999,999
New Yorl< 10530 LISA
(b) Kase Lawai 1330 must oak Blud, sane 2575, Houston, T>< 77056 USA 1
(D) Subscrihers: coe or 3/3/16 Acldress: Shares:

(a) Erin Energy Corporation 250 East Hartsda|e Avenue Suite 47 Hartsc|a|e 9,999,999
New Yor'k 10530 USA

{b) Dippo Be||o Same 1
8. Directors (A): cm of 20/12;09Address:
(a) Ingt‘isel|i Fr‘&mk 250 East Hartsda|e Avenue Suite 47 Hartsda|e New York 10530 LISA -
(b) Groth Stephen Same
(B) Directors: co7 of 3/06/ 10 Add ress:
(a) lngriselli Franl< 250 Eas-t Harcsdale Avenue Suite 47 Hartsda!e New \‘ori< 10530 LJSA
(b) Lawal Abio|a Plot 1649 Olosa Street Victoria leland
{C) Directors: c07 of 1/10/10 Adclress:
(a) Lawa[ Abio|a 1330, POSt Oak Biud, Suite 2575, Houston, T)< 77056 USA

(b) Groth Stephen Same

 

(r`>)

(E)'

(F)

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(H)

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Directors: cow of 1/12/11
(a) Lawal Kase

(b) Carnirnos Edwarc|

(b) Ogunjirni Oiusegun

Directors: co7 of 13/7/12
(a) Lawal Kase

(b) Ogunjirni Olusegun
(c) Carnirnos Edwarc|

(ci) Conrtright Jeff

Directors: co? of 2/7/13
(a) Lawa! Kase

(b) Ogunjirni Oiusegun
(c) Camirnos Eciwarcl
(ci) Conrtright Jeff

Directors: co7 of 19/3/14
(a) Kase Lawai

(c) Acieferni Ayoade

(b) Aciarna “l“raore

Directors: cmr of 3/1/15
(a) Kase l,awal

(b) Aclel'erni Ayoacle

(c} Adarna Traore

(d) Dlppo Bello

Annual Returns:
Registered Charge:

Address: ,,

1330, Post Oak Biuci, Suite 2575, Houston, Tx 77056 USA
Sarne

P!ot 1649, Oiosa Street Victoria Is|ancl Lagos

Address:

1330, Post Oak B|ucl, Suite 2575, Hou$ton, Tx 77056 USA
Plot 1649, Olosa Street Victoria Islancl Lagos

1330, Post Oak Biud, Suite 2575, Houston, Tx 77056 USA
Sarne

Address:

1330, Post Oai< Biud, Suite 2575, Houston, Tx 77056 USA
Plot 1649, Olosa Street Victoria Island Lagos

1330, Post Oak Biucl, Suite 2575, Houston, Tx 77056 USA
Sarne

Address:

Plot 1649, Oiosa Street Victoria Islanci Lagos
Sarne '

Address:

Plot 1649, Olosa Street Victoria Islancl Lagos
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2010 - 2015 filed

A Deed of All Assets Debenture dated 25/11/14,

Registerecl on 12/12/14 securing the sum of Nl.SB Il"-'O Zenith Bank Plc Plot 84, Ajose
Acleogun Street, Victoria Islancl Lagos.

Secretary:

Main object:
Borrowing Powers:
Remarks:

Banwo & Ighoclalo - 98 Awolowo Roacl South-West, Ikoyi Lagos
To make investments of any description whatsoever, etc.
Merno: Clause d. Articles: Article 7

Company duly incorporated Note that Subscribers in (A)

above refer to the subscribers at incorporation while (B ~ D) represents subsequent
allotments made thereafter. Ditto to the Directors (A - H) above

M“>”

 

 

 

 

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COURT OF~ APPE.AL

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APPEAL No: w " '
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BETWEEN
zENiTi-i BANK PLC } APPLicANT
AND

1. N|GERIAN AG|P EXPLORAT|ON LlNllTED
2. ALLIED ENERG‘( PLC ESPONDENTS
3. ERIN PETROLEUM N|GERIA LlNllTED

(Prevr'ousiy Knovvn as "Camac Petroluem Limited

NOTICE OF NlOTiON

BROUGHT PURSUANT TO ORDER 6 RULES 1, 2, AND 4 OF THE
COURT OF APPEAL RULES 2016, S_ECTiON 24 OF THE COURT OF
APPEAL ACT, LAWS OF THE FEDERATION OF NlGERlA, CAP C37' LFN
2004, SECTION 243 OF THE 1999 CONSTITUTION (AS AMENDED) AND
UNDER THE lNHERENT JUR|SD|CTION OF TH|S HONOURABLE

COURT

TAKE NOTlCE that this Honourabie Court shall be moved on day of
at the hour of 9.00 O’clocl< in the forenoon or so soon thereafter as Counsel

may be heard on behalf of the Applicant praying for the following orders:

1. An Order granting the Applicant Leave to join as an interested Party
to Suit No. FHC/L/CS/625/2017 between the Nigeria Agip Exploration
Limited V /-\l|ied Energy Plc & Anor pursuant to Section 243 (a) of the
1999 Constitution of the Federal Republic of Nigeria (as Arnended).

2_ An Order granting the /-\pplicant an extension of time Within Which to
seek leave to appeal against the Order of the Federal High Court of
Nigeria made on May 11, 2017 in Suit l\|o. FHC/L/CS/625/20“l7.

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Barristers & Solicitors

 

 

 

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3. An Order granting the App|icant leave to appeal against the Order of
the Federal High Court of Nigeria made on N|ay 111 2017 in Suit No.

FHC/L/CS/625/2017.

4_ An Order granting the Appiicant an extension of time Within which to
Appeal against the Order of the Federai High Court of Nigeria made
on N|ay 111 2017 in Suit No. FHC/i_/CS/625/2017.

5. An Order of this Honourabie Court granting the Applicant leave to
appeal as an interested party against the order of the Federal High
Court made on i\/|ay11, 2018 in Suit l\|o. Fi-iC/l_/CS/625/2017.

6. AND for such further or other orders as this Honourabie Court may
deem fit to make in the circumstances `

AND FURTHER TAKE NOT|CE that the grounds of this application are as
foilows:

1. That the Order of the Federal l-iigh Court of Nigeria delivered on N|ay
11, 2017 in Suit No. FHC/i_/CS/625/2017 (recognizing the Award
given by the London Court of international Arbitratlon in favour of
Nigerian Agip Exploration Limited dated February 14, 2017 and
entered as Final Order of the Federal High Court of Nigeria) contains
reiiefs that affect the Applicant’s rights

2. The Applicaht has a constitutional right to be heard and to appeal
against the Order of the Federal High Court in Sult No.
Fl-lC/i_/CS/625/2017 delivered on l\/iay 11, 2017 as a party interested
and affected by the Order.

3. The Supreme Court in the case of Chukwu V l.N.E.C. (2014) 10
N.W.L.R. (Pt. 1415) 385 Pp. 408-409, paras. A-B pronounced that;

“the fir§t_ prayer a person seeking_ieave to appeal as an
interested party must seek is for leave to be made a party in
the case Jursuant to section 243(a) of the 1999
Constitution,” [em,ohasis on ours]

4. The period within which the Applicant was required to appeal against
the Order made by the lower Court on i\/lay 11, 2017 in Suit No.

FHC/L/CS/625/2017 has lapsed

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Barristers & Sollcitors

 

 

 

 

 

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5. in the circumstance, leave of this Honourabie Court is required for the
Applicant to appeal against the Order of the Federal High Court made
on iViay 11, 2017 in Suit No. Fl-iC/l_/CS/625/2017.

6. The delay occasioned in making this application was not borne out of
disrespect for the lower Court or this Honourabie Court as the
Appiicant was unaware of the Arbitrai Award entered as final Order of
the Federal High Court of Nigeria on l\ilay 11, 2017 in Suit No.
FHC/L/CS/625/2017.

7. This Honourabie Court is empowered to grant the reliefs sought in this
application as they pertain to the Appiicant’s constitutional right to fair
hearing as enshrined in section 36 of the 1999 Constitution of the
Federal Republic of Nigeria (as amended).

8. That this is a proper case for the Honourabie Court to grant the said
reliefs.

AND TAKE FURTHER NOT|CE_ that the following documents are exhibited
in this application:

1. A certified true copy of the Enforcement Order of the Federal High
Court made on i\/iay11 2018;

2. Proposed Notlce of Appeal containing Proposed Grounds of Appea|;

3. The Deed of Legai Charge between the Appiicant and the 2nd and 3rd

Respondents;

4 The Loan Facility Agreement between the Applicant and the 3rd
Respondent;

5 The Ali Asset Debenture Deed between the Appllcant and the 2"d
Respondent.

DATED THls ijr‘~oi).Y oF Aprii, 2013

  

\ s -~ d_¢_e.,»~`

Professor Fabian Ajogwu, SAN

Char|es Nwabu|u, ACArb

Okechukwu Ekweanya, Esq

Ke|vin Erhonsele, AClArb

Abiso|a Yusuf (Nliss)

~/ Bridget Osazuwa,(Nliss)
Oiuyemi Adebo, Esq

Counsei to the Appiicant

Signed by: Bridget Osazuwa, Esq

    
    

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Barristers & So|icitors

 

 

 

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FOR SERV|CE ON:

. The 1st Respondent

Nigerian Agip Expioration Limited
1, Eisie Femi Pearse Street
Victoria island

Lagos

. The 2"d Respondent

Aiiied Energy Plc

Plot 1649, Olosa Street
Camac House, Victoria island

Lagos

. The 3"* Respondent
Erin Petroleum Nigeria Limited

KENNA PARTNERS

Kenna Piace

8 Ogunyemi Road, Paiace Way
Oniru1 Victoria island, Lagos

Tei; +234 815 839 0704
cnwabuiu@kennapartners.com

(Previousiy Known as “Camac Petroluem Limited)

Plot 1649, Olosa Street
Camac House, Victoria island

Lagos

Ken na ii ir
Barristers & Solicitors

Page 4 of 4

 

 

 

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lN THE COURT OF APPEAL
HOLDEN AT LAGOS

APPEAL NO:

SUlT NO: FHCILICSI625l2017
BETWEEN
ZEN|TH BANK PLC ]>` APPL|CANT
AND

1. N|GER|AN AGiP EXPLORAT|ON L|iili|TED
2. ALL|ED ENERGY PLC RESPONDENTS
3. ER|N PETROLEUM N|GER|A L|NilTED

(Previousiy Known as “Camac Petroiuem Limited)

AFFlDAVlT |N SUPPORT OF THE APPL|CANT’S NOT|CE OF MOT!ON
DATED APR!L 17, 2018

l, Bosah Okonyia, |Vla|e, Christlan, Nigerian Citizen of Zenith l-ieights, Piot
84/87Ajose Adeogun Street, Victoria island, Lagos State do hereby make oath
and state as follows:

1. That i am a Legal Practitioner in the law department of the Appiicant, by
virtue of which position i am conversant with the facts of this case.

2. That l have the consent and authority of my employer (the Applicant) to
depose to this Affidavit.

3. That except as otherwise stated, i depose to facts within my personal
knowledge as weil as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from
information derived in the course of carrying out my duties in the
employment of the Applicant.

4. That the Appiicant is a public company incorporated and licensed under the
Laws of the Federal Republic of Nigeria having its registered office at Plot
84, Ajose Adeoguh Street, Victoria island, Lagos State.

5. The 1slt Respondeht is a private limited company incorporated under the
Laws of the Federal Republic of Nigeria to carry on business in Nigeria with
its offices situate at 11 Eisie Femi Pearse Street, Victoria lsland, Lagos.

 

 

 

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The 2nd Respondent is a public company incorporated under the Laws of
the Federal Republic of Nigeria with its registered office at Plot 1649, Olosa
.'FStreet1 Victoria lsiand, Lagos

The 39 Respondent (Previousiy known as ‘Camac international Nigeria
leited’) is a private limited company incorporated under the Laws of the
Federal Republic of Nigeria having its registered office at Plot 1649, Olosa
Street, Victoria island, Lagos

That by virtue of an Acreage Allocation (Discretionary Award) of OPL 210
issued by the l\/linistry of Petroleum Resources (Petroleum Resources
Department), the 2'9 Respondent is the legal holder of Oil lV|ining Lease
(ON|L) 120 and 121.

That by virtue of a transfer agreement between the 2nd and 39
Respondents, the 39 Respondent acquired all the economic interest of the
2'9 Respondents in the oil block covered by O|V|L 120 and 121 (although
the approval of the Nlinlster of Petroleum was yet to be obtained with
respect to the transfer).

That the 39 Respondent sometime in 2014 approached the Applicant for a
Term Loan Facility of USD100, OO0,000.00 (One Hundred |Vlillion United
States Dollars) to part-finance the expansion and development of the oil
blocks covered by OiViL120 and 121.

That by virtue of a Term Loan Facility Agreement, the Appiicant granted a
loan facility of USDiOO, OO0,000.00 (One Hundred Nll|lion United States
Dollars) to the 39 Respondent A copy ofthe Term Loan Facility Agreement
is hereto annexed and marked as Exhibit 1.

That as security for the repayment of the loan facility granted by the
Applicant to the 39 Respondent, the 39 Respondent undertook to obtain in
favour of the Applicant, a legal charge over the 2nd and 39 Respondents'
entire interest in Oil Block OlViL 120 and 121_

That further to paragraph 12 above, a Deed of Legal Charge over interest
in ON|L 120 and 121 dated lVlay 14, 2014 was executed between the
Applicant and the 2'9 and 39 Respondents, by Which the 2nd Respondent
charged its entire interest in Ol\/lL 120 and 121 in favour of the App|icant.

That similar|y, an All Asset Debenture dated November 25, 2014 was
executed between Applicant and the 39 Respondent by which the 39
Respondent charged ALL its assets whether fixed or floating1 present and
future in favour of the Appiicant.

 

 

 

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That some of the agreements executed as security for the repayment of the
Term Loan Facility Agreement granted by the Applicant to the 39
Respondent are:

15.1Ali Assets Debenture dated November 25, 2014;
15.2 Deed of Legal Charge dated lViay 14, 2015; and
15.3 Deed of Assignment of Rights.

The agreements outlined in paragraph 15 above are hereto annexed and
marked as Exhibits 2, 3 and 4 respectively

That following the execution of the above referenced Deed of Legal Charge
and Deed of A|| Assets Debenture, the App|icant registered the
aforementioned security documents at the Corporate Affairs Commission
which are evidenced by the Certificate of Registration of Deed of Legal
Charge dated |Viay 26, 2015 and the Certificate of Registration of Deed of
Aii Assets Debenture dated December 12, 2014. Copies ofthe Certificates
of Registration are hereto annexed and marked as Exhibits 5 and 6

respective|y.

That in compliance with Clause 3 (Disbursement) of the Term Loan Facility
Agreement between the App|icant and the 39 Respondent (earlier
described as Exhibit 1), the Appiicant has fulfilled its obligation by
disbursing the entire sum granted under the facility agreement to the 39
Respondent

That by Clause 17 (Representation and Warranties) of the Term Loan
Facility Agreement between the App|icant and the 39 Respondentl
particulariy, paragraph 17.8 (proceedlngs pending or threatened), the 39
Respondent represented and warranted to the Appiicant that, no iitigation,
arbitration or administrative proceeding of or before any court, arbitral body
or agency has (to the best of its knowledge and belief) been stated or
threatened against it (or against its directors) or any other Obiigor (or
against any director of an Obiigor) which:

a) lVlay restrain its entry into, the exercise of its rights under, or the
performance, enforcement of or compliance with any of its

obligations under this Agreement; or

b) lf adversely determined, would reasonably be expected to have a
material adverse effect

That at the time of entering into the Term Loan Facility Agreement and the
Disbursement of the loan sum by the App|icant to the 39 Respondent, the
Appiicant was not aware or informed of the existence of any litigation,

 

 

 

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arbitration or administrative proceeding involving the 19 Respondent
against the 2'9 and 39 Respondents or any other parties thereof.

That by a newspaper extract from Thisday Newspaper dated February 20,
2018. the Appiicant became aware of an Arbitral Award given at the Londoh
Court of international Arbitration (LC|A) on February 14l 2017. A copy of
the newspaper extract is hereto annexed and marked as Exhibit 7.

That by the above referenced newspaper publication, the App|icant
became aware that the 19 Respondent had obtained a Final Arbitra| Award
against the 219 and 39 Respondents from the LC|A in an Arbltration with

Arbitration number: LC|A 132498_

That the Arbitral Award which was given by the London Court of
international Arbitration purportedly arose from a dispute on a Sale and
Purchase Agreement (SPA) which was concluded in June 2012 between
19 Respondent as Seller and the 2'9 Respondent as Purchaser.

That by virtue of the above referenced SPA, the 19 Respondent had
transferred to the 29 Respondent the entirety of its interest and rights in
both Oil Niinlng Leases 120 and 121.

That the said Arbitrai Award was given in respect of the Oil Assets (OML
120 and 121 ), the interest of which is charged in favour of the App|icant as
security for the repayment of the Term Loan Facility granted by the
Applicant to the 39 Respondent

That by virtue of an Order of the Federal High Court of Nigeria made on
l\fiay 11, 2017, leave of Court was granted to 19 Respondent that the LC|A
Final Award dated February 14, 2017 be recognised and enforced by the
Court pursuant to Section 31 (1) and (2), Section 51 (1) and (2) and Section
57 (1) of the Arbitration and Concillatlon Act CAP A18, Voiume 1, Laws of
the Federation of Nigeria A copy of the Order of the Federal High Court
dated i\/iay 11, 2017 is hereto annexed and marked as Exhibit 8.

That the said order ofthe Federal High Court enforcing and recognising the
Arbitral Award is for the cumulative sum of $101 ,538,965.57 (One Hundred
and One iVllllion, Six Hundred and Thirty Eight Thousand, Nine Hundred
and Sixty Six United States Dollarsl Sixty Seven Cents) and interest
thereon compounded on a monthly basis against the 39 Respondent.

The cumulative sum of $175,123,614.85 (One Hundred and Seventy Five
l\fiiliion, One Hundred and Twenty Three Thousand, Six Hundred and
Fourteen United States Dollars, Eight Five Cents) and interest
compounded thereon on a monthly basis against the 2nd Respondent; and

 

 

 

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the sums of £7,119,290.99 (Seven l\/li||ion, One Hundred and Nineteen
Thousand, Two Hundred and Ninety Pounds, Ninety Nine Pence);

And €550,796.01 (Five Hundred and Fifty Thousand, Seven Hundred and
Ninety Six Euro, One Cent) and $5,900 (Five Thousand, Nine Hundred
United States Dollars) against the 2'9 Respondent and the 39 Respondent
jointly and severaiiy.

That the Appiicant was not aware of the existence of any Saie and
Purchase Agreement entered into between the 19 and 2r9 Respondent
neither was it informed of the existence of the Arbitrai Proceedings from
which the Final Arbitral Award given by the LCiA dated February 14, 2017
(now recognised by an order of the Federal High Court dated iVlay11,2017)
arose

That the 19 Respondent in an attempt to realise the fruits of the Award
granted by the LC|A and recognised by an Order of the Federal High Court
dated iViay 111 2017 executed a ‘Nofice of Seizure/Affachmenf of Gooo's’
by locking the export valve on the FPSO operated by the 219 Respondent
(the interest of which has been charged in favour of the Applicant for the
repayment of the loan granted by the App|icant to the 39 Respondent).

That the App|icant being unaware of the existence of the Arbitrai
Proceedings from which the Final Arbitrai Award obtained by the 19
Respondent against the 29 and 39 Respondent dated February 14, 2017
arose until several months after the Award was recognised by an order of
the Federal High Court made on i\/iay 11, 2017 was unable to make an
appearance at the lower Court for an opportunity to be heard.

That the enforcement of the Order of the Federal High Court (recognising
the Arbitra| Award given by the LC|A) made on l\/lay 11, 2017 will put the
security for the loan granted by the App|icant to the 39 Respondent in
jeopardyl

That the Appiicant is an interested and necessary party whose genuine
interests is adversely affected by the Order of the Federal High Court made

on i\/iay11,2017.

That the Appllcant has a constitutional right to be heard and to appeal
against the Order of the Federal High Court in Suit No. FHC/L/CS/625/2017
delivered on i\/iay 11, 2017 as a party interested and affected by the Order.

That before the App|icant can appeal against the Order ofthe Federal High
Court made on iViay 11, 2017 in Suit No. FHC/L/CS/625/2017 as an

interested party, Leave of this Honourabie Court is required

 

 

 

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That the Appiicaht has palpable and weighty interests which deserve to be
protected from decimation by the Honourabie court in the circumstance

That the period within which the Appiicaht was required to appeal against
the Order of the Federal High Court made oh iViay 11, 2017 in Suit No.
FHC/i_/CS/625/2017 has lapsed

That in the circumstance leave ofthis Honourabie Court is required for the
Appiicaht to appeal against the Order of the Federal High Court made on
lviay 11, 2017 in Suit No. FHC/L/CS/625/2017.

That the delay occasioned in bringing this application was not borne out of
disrespect for the lower Court or this Honourabie Court but owing to the
fact that the Appiicaht was unaware of the Final Arbitral Award recognised
by an Order of the Federal High Court of Nigeria made on i\/iay 11l 2017 in

Suit No. FHC/L/CS/625/2017.

That the proposed Notice of Appeal containing the Appeiiant's proposed
grounds of Appeai is hereto annexed and marked Exhibit 9.

That the Appiicaht innocently believed there were no existing or imminent
infringements on its secured interests prior to being aware through Exhibit
7 (newspaper extract from Thiso'ay Newspaper dated February 20l 2018).

That this Honourabie Court is empowered to grant the reliefs sought in this
application

That this is a proper case for the Honourabie Court to grant the said reiiefs.

That it would be in the interest ofjustice for the Honourabie Court to grant
this application as the Respondent will not be prejudiced by the grant of

Sal'T`|€.

 

 

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46. That i make this deposition in good faith believing ali the facts deposed to
be true and correct to the best of my knowledge and in accordance with the

Oaths Act.

DEPONENT

Sworn to at the Court of Appeal Registry1
Lagos, thisjjjfiél'ay of April, 2018

BEFORE NlE

 

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lN THE COURT OF APPEAL OF N|GER|A
HOLDEN AT LAGOS

-. ase 18-321 6 Document187-3 §{ii in TXSB n 06/08/18 F’ Aje 98'01177;

APPEAL NO: CAIL/495M12018

 

COURT OF APPEHLT o; FHciL/cs/szsizoir
BETWEEN RECBE:IVED -

zENiTH BANK PLc 08 HAY m } APPucANT

AND LAcos. NisERiA i

 

 

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1. NioERiA AoiP ExPLoRATioN LiMiTEo. »~i
2. ALL|ED ENERGY PLc

3. ERlN PETROLEUM N|GERlA L|M|TED
(Previousiy Known as “Camac Petroiuem Limited)

RESPONDENTS

NOT|Q§OF MOT|ON

BROUGHT PURSUANT TO ORDER 6 RULES 1 AND 4 OF THE COURT OF
APPEAL RULES, 2016, SECT|ON 17 OF THE COURT OF APPEAL ACT CAP.

C36 LFN 2004 AND UNDER THE lNHERENT JURlSD|CT|ON OF THE
HONOURABLE COURT

TAKE NOT|CE that this Honourabie Court shall be moved on ...... day of

............... 2018 at the hour of 9.00 O’clock in the forenoon or so soon thereafter

. § as Counsel may be heard on behalf of the Appiicaht praying for the following
l orders:

1. AN Order for a stay of execution of the Judgment delivered by the
Honourabie Justice Hadiza R. Shagari of the Federal High Court on l\/iay
11, 2017 pending the hearing and determination of the lVlotion for Leave to
Appeal dated Aprii 171 2018 filed by the Appiicaht and the Appeai to be
filed by the Appiicaht in this matter.

2. AND for such further or other orders as this Honourabie Court may deem
fit to make in the circumstances

TAKE FURTHER NOT|CE that the grounds upon which the application is based
are as foilows:

1. That the Appiicaht being dissatisfied With the Judgment delivered by the

lower Court on iv'iay 11, 2017 has filed a l\/lotion for Leave to Appeal against
the said Judgement.

KENNA PARTNERS

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2. That the Judgment of the Federa
11, 2017 in Suit No. FHClL/CS/S
the London Court of lnternation
favour of Nigerian Agip Explorat
of the Federal High Court of
Appiicant's rights

i High Court of Nigeria delivered on Niay
25/2017 (recognizing the Award given by
al Arbitration, dated February 14, 2017,_ in
ion Limited and entered as Final Judgment

Nigeria) contains reliefs that affect the

3. The Appiicaht has a constitutional
the Judgment of the Federal High

delivered on lVlay 11l 2017 as a
Judgment

right to be heard and to appeal against
Court in Suit No. Fi-lC/LlCS/625/2017
party interested and affected by the

That there are serious issues to be determined on appea|.

5. That the Appiicaht has fulfilled th

Stay of Execution and this Hono
order sought

e conditions for the grant of an order of
urab|e Court is empowered to grant the

That not granting this Niotion for Stay of Execution will lead to the
dissipation of the res in this matter and force a fait accompli on this
Honourabie Court, in view of the Appiicant's intention to appeal against the

Judgment of the Federal High Court of Nigeria of iVlay 11! 2017 and the
Niotion for Leave to appeal already filed

ALSO TAKE FURTHER NOT|CE that the Appiicaht shall at the hearing of this
application rely on ali processes/papers filed by parties in the suit.

DATED TH|S BTH DAY OF MAY, 2018

 

Signeo' by: Bridget Osazuwa

 

Professor Fabian Ajogwu, SAN
Charies Nwabulu, AC|Arb
Okechukwu Ekweanya, Esq
Keivin Erhonseie, ACiArb
Abisoia Yusuf (Miss)
~/ Bridget Osazuwa (Miss)
Oiuyemi Adebo, Esq
Counsei to the Appiicaht
KENNA PARTNERS
Kenna Place
8 Ogunyemi Road, Pa|ace Way
Onirul Victoria lsiand, Lagos.
Tel: +234 815 839 0704
KENNA PARTNERs

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cnwabulu@kennapartners.com

FOR SERV|CE ON:

. The1St Respondent

Nigerian Agip Exploration Limited
1, Eisie Femi Pearse Street
Victoria island

Lagos

. The 2'9 Respondent

Allied Energy Plc

Piot 1649, Olosa Street
Camac House, Victoria island
Lagos

. The 39 Respondent

Erin Petroleum Nigeria Limited

(Previousiy KnoWn as “Carnac Petroluem Limited)
Piot 1649, Olosa Street

Camac House, Victoria island

Lagos

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lN THE COURT OF APPEAL OF NlGERlA
HOLDEN AT LAGOS

APPEAL NO: CAILI495MI2018
SUlT NO: FHCILICSI625l2017

BETWEEN
ZEN|TH BANK PLC }APPL|CANT
AND

1. NlGERlA AG|P EXPLORATlON L|M|TED.

2. ALL|ED ENERGY PLC RESPONDENTS

3. ER|N PETROLEUM NlGERlA L|M|TED
(Previously Known as “Camac Petroiuem Limited)

AFFlDAVlT |N SUPPORT

l, Mr. Bosah Okonyia1 iVlale, Nigerian Citizen of Zenith Heights, Plot 84/87 Ajose

Adeogun Street, Victoria islandl Lagos State do hereby make oath and state as
follows:

1. That l am a Legal Practitloner in the law department of the Appiicant, by virtue

of which position l am conversant with the facts of this case

2. That l have the consent and authority of my employer (the Appiicant) to
depose to this Affidavit.

3. That except as othenivise stated l depose to facts within my personal
knowledge as weil as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from

information derived in the course of carrying out my duties in the employment
of the Appiicaht

That the Appiicaht is a public company incorporated and licensed under the
Laws of the Federal Republic of Nigeria having its registered office at Plot 84,
Ajose Adeogun Street, Victoria lsiand, Lagos State.

The 19 Respondent is a private limited company incorporated under the Laws
of the Federal Republic of Nigeria to carry on business in Nigeria with its
offices situate at 1, Eisie Femi Pearse Street1 Victoria island, Lagos

6. The 2nd Respondent is a public company incorporated under the Laws of the

Federal Republic of Nigeria with its registered office situate at Piot 1849, Olosa
Street, Victoria lsiand, Lagos

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7.'The 3rd Respondent (

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Previously known as ‘Camac international Nigeria
Limited’) is a private limited company incorporated under the Laws of the

Federal Republic of Nigeria having its registered office at Piot 1649, Olosa
Street, Victoria island, Lagos

. That by virtue of an Acreage Aiiocation (Discretionary Award) of OPL 210

issued by the l\/iinistry of Petroleum Resources (Petroleum Resources

Department), the 2'9 Respondent is the legal holder of Oil lviining Lease (O|\/iL)
120 and 121.

That by virtue of a transfer agreement between the 2’9 and 39 Respondents,
the 39 Respondent acquired all the economic interest of the 219 Respondents
in the oil block covered by OlViL 120 and 121 (although the approval of the
ivlinister of Petroleum was yet to be obtained with respect to the transfer).

That the 39 Respondent sometime in 2014 approached the Appiicaht for a
Term Loan Facility of USD100,000,000.00 (One Hundred |\/iiilion United

States Dollars) to part-finance the expansion and development of the oil
blocks covered by OlViL120 and 121.

That by virtue ofa Term Loan Facility Agreement, the Appiicaht granted a loan
facility of USD100,000,000.00 (One Hundred lViillion United States Dollars) to

the 39 Respondent A copy of the Term Loan Facility Agreement is hereto
annexed and marked as Exhibit1.

That as security for the repayment of the loan facility granted by the Appiicaht
to the 39 Respondent the 39 Respondent undertook to obtain in favour of the

Appiicant, a legal charge over the 2'9 and 39 Respondents’ entire interest in
Oil Block O|\/lL 120 and 121.

That further to paragraph 12 above a Deed of Legal Charge over interest in
OlVlL 120 and 121 dated iViay 14, 2014 was executed between the Appiicaht
and the 2'9 and 39 Respondents, by which the 2'9 Respondent charged its
entire interest in OiViL 120 and 121 in favour of the Appiicaht

That similarly, an Ail Asset Debenture dated November 25, 2014 was
executed between the Appiicaht and the 39 Respondent, by which the 39

Respondent charged ALL its assets whether fixed or floating, present and
future in favour of the Appiicaht

That some of the agreements executed as security for the repayment of the

Term Loan Facility Agreement granted by the Appiicaht to the 39 Respondent
are:

15.1. All Assets Debenture dated November 25, 2014;
15.2. Deed of Legal Charge dated lViay 14, 2015; and

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1 15.3. Deed of Assignment of Rights.

16. The agreements outlined in paragraph 15 above are hereto annexed and
marked as Exhibits 2, 3 and 4 respectively

17. That following the execution of the above referenced Deed of Legal Charge
and Deed of All Assets Debenture the Appiicaht registered the
aforementioned security documents at the Corporate Affairs Commission
which are evidenced by the Certificate of Registration of Deed of Legal Charge
dated May 26, 2015 and the Certificate of Registration of Deed of All Assets
Debenture dated December 12, 2014. Copies of the Certificates of

Registration are hereto annexed and marked as Exhibits 5 and 6
respectivelyl

18. That in compliance with Clause 3 (Disbursement) of the Term Loan Facility
Agreement between the Appiicaht and the 39 Respondent (earlier described
as Exhibit1), the Appiicaht has fulfilled its obligation by disbursing the entire
sum granted under the facility agreement to the 39 Respondent

19. That by Clause 17 (Representation and Warranties) of the Term Loan Facility
Agreement between the Appiicaht and the 39 Respondent particularly,
paragraph 17.8 (proceedlngs pending or threatened), the 39 Respondent
represented and warranted to the Appiicaht that, no litigation, arbitration or
administrative proceeding of or before any court, arbitral body or agency has
(to the best of its knowledge and belief) been stated or threatened against it

(or against its directors) or any other Obiigor (or against any director of an
Obiigor) which:

a) l\/iay restrain its entry into, the exercise of its rights under, or the

performance enforcement of or compliance with any of its obligations
under this Agreement; or

b) if adversely determined would reasonably be expected to have a
material adverse effect

20. That at the time of entering into the Term Loan Facility Agreement and the
Disbursement of the loan sum by the Appiicaht to the 39 Respondent the
Appiicaht was not aware or informed of the existence of any litigation,
arbitration or administrative proceeding involving the 19 Respondent against
the 2l9 and 39 Respondents or any other parties thereof.

21. That by a newspaper extract from Thisday Newspaper dated February 20,
2018, the Appiicaht became aware of an Arbitral Award given at the London
Court of international Arbitration (LCi/-\) on February 14, 2017. A copy of the
newspaper extract is hereto annexed and marked as Exhibit 7.

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22. That by the above referenced newspaper publication, the Appiicaht became
aware that the 1st Respondent had obtained a Final Arbitral Award against

the 2nd and 3rd Respondents from the LCiA in an Arbitration with Arbitration
number: LC|A 132498.

23. That the Arbitral Award which was given by the London Court of international
Arbitration purportedly arose from a dispute on a Saie and Purchase

Agreement (SPA) which was concluded in June 2012 between 19 Respondent
as Seiier and the 2nd Respondent as Purchaser.

24. That by virtue of the above referenced SPA, the 19 Respondent had

transferred to the 2nd Respondent the entirety of its interest and rights in both
Oil l’viining Leases 120 and 121.

25. That the said Arbitrai Award was given in respect of the Oil Assets (OlviL 120
and 121 ), the interest of which is charged in favour of the Appiicaht as security

for the repayment of the Term Loan Facility granted by the Appiicaht to the 39
Respondent

26. That by virtue of an Order of the Federal High Court of Nigeria made on i\/lay
11, 2017, leave of Court was granted to 19 Respondent that the LC|A Final
Award dated February 14, 2017 be recognised and enforced by the Court
pursuant to Section 31 (1) and (2), Section 51(1) and (2) and Section 57 (1)
of the Arbitration and Conciiiation Act CAP A18, Volume 11 Laws of the

Federation of Nigeria. A copy of the Order of the Federal High Court dated
l\/lay 117 2017 is hereto annexed and marked as Exhibit 8.

27. That the said order of the Federal High Court enforcing and recognising the
Arbitrai Award is for the cumulative sum of $101,638,966.67 (One Hundred
and One i\/liliionl Six Hundred and Thirty Eight Thousand, Nine Hundred and
Sixty Six United States Dollars, Sixty Seven Cents) and interest thereon
compounded on a monthly basis against the 39 Respondent

28. That the said order is also for the cumulative sum of $175,123,614.85 (One
Hundred and Seventy Five l\/lil|ion1 One Hundred and Twenty Three
Thousand, Six Hundred and Fourteen United States Dollarsl Eight Five Cents)
and interest compounded thereon on a monthly basis against the 2nd
Respondent; and the sums of £7,119,290.99 (Seven i\/liiiion, One Hundred
and Nineteen Thousand, Two Hundred and Ninety Pounds, Ninety Nine
Pence); and €550,796.01 (Five Hundred and Fifty Thousand, Seven Hundred
and Ninety Six Euro, One Cent) and $5,900 (Five Thousand, Nine Hundred

United States Dollars) against the 2nd Respondent and the 39 Respondent
jointly and severally

29. That the Appiicaht Was not aware of the existence of any Saie and Purchase
Agreement purportedly entered into between the 19 and 2'9 Respondent
neither was it informed of the existence of the Arbitral Proceedings from which

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the Final Arbitral Award given by the LC|A dated February 14, 2017 (how

recognised by an order of the Federal High Court dated i\/iay 11, 2017) arose

made on lVlay 11, 2017 was unable to make an appearance at the lower Court
foran opportunity to be heard

That the enforcement of the Order of the Federal High Court (recognising the
Arbitra| Award given by the LCiA) made on i\/lay 11, 2017 will put the security
for the loan granted by the Appiicaht to the 39 Respondent in jeopardy

interests is adversely affected by the Order of the Federal High Court made
on May11,2017.

That the Appiicaht has palpable and weighty interests which deserve to be
protected from decimation by the Honourabie court in the circumstance

That the Appiicaht is now apprehensive of risks that will affect the security and
thus affect its interests

That i know for a fact that there are serious issues to be determined on appeal.

That the Appiicaht has fulfilled the conditions for the grant of an order of Stay

of Execution and this Honourabie Court is empowered to grant the order
sought

That l know for a fact that not granting this i\/lotion for Stay of Execution will
lead to the dissipation ofthe res in this matter and force a fait accompli on this
Honourabie Court, in view of the Appiicant’s intention to appeal against the
Judgment of the Federal High Court of Nigeria dated 11, 2017 and the i\/lotion
for Leave to appeal already filed

That it is in the interest of justice for this Honourabie Court to stay execution
of the Judgment of the Federal High Court made on May 11, 2017 pending
the determination of the Appiicaht’s i\/lotion for Leave to Appeai filed and
Notice of Appeal to be filed against the said Order.

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40. That the Appiicaht undertakes to

pay damages in the event that the application
ought not to have been granted

41. That the Respondent will not be prejudiced by this application

42. That | depose to this affidavit in good faith, conscientiousl
be true and in accordance with the Oaths Act.

y believing same to

ts

DEPONENT

Swom to at the Court 0 ppeal Registry
Registry, Lagos, thi . Day of i\/lay, 2018

 

 

 

 

 

 

KENNA PARTNERS

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RARP|QTIZDQ l Qr\l lr'~i'rr\nc~

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ames THis .......... DAY or 2014
___, §§ cAMAc sernoLsuM trainmen
aj l ' ns sosaowsn
/ ,/
ga ‘7/ \‘*

AND

ZENlTH BANK PLC
AS LENDER

 

sioo`ooo,ooo tons iiuNoREb slmLi_ioN uNlTEos‘rArEs
w j .. poterst

TERM LOAN FAC|LlTY AGREEMENT
FOR THE EXPANS!ON AND DEVELOPMENT OF THE ClL
BLOCK OML 120 AND121

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_,. clomparly" lncorpdr'ttedfi§derg.'

" g its office at Camac House, Piot 9 Olosa Street.
Victoria'fsland Lagos (hereinafter referred to as “Th er” which ex ression shall

where the context so admits include its successors il -tilricir.wj£i$$ls )Li§ill?cft§ ini‘§t:»~-
thc' outci\edthercin <

 
 

 
  

AND

the Federal Republic of Nigeria having its register ofmean tideme
Street. Victoria island Lagos State (hereinafter referred to as "The

expression shall where the context so admits include its successors in~tiile and assigns)
of the other part

The Elorrower and the tender shall be jointly referred to as ‘Parties" in this agreement

WHEREASZ

The Borrower has applied to the tender for a Term Loan Facility in the
principal sum of $100,000,000.00 (One Hundred Mi|iion United States

Dollars) for the purposes of part financing the expansion and development of
the Oil Block Dl\rit 120 and 121.

The legal holder of the Oil Block Cliillt 120 and 121 is Allied Energy Plc. The
Lender understands lhal by virtue of a Transfer Agr’eemeni, between l\ilied
Energy Plc and the Borrowcr, the Borrower acquired ali the economic interest
of Aiiied Energy Plc in Oil Ei|ock Oi\'il_ 120 and 121. The approval of the
Minisler of Petroleum has not been obtained with respect lo the transfer.

iii. Pursuant to the request for the Term Loan Facility by the Borrower, the
tender has made an Offer of Credii Facility idaied Juiy 211 2014) to the
Borrowcr, the terms of which have been duly accepted by the Borrower.

The Lender and the Borrov.rer have agreed upon the grant of the term loan

facility by the tender lo tire Borrower on tile terms and conditions herein
contained

NOW THEREFORE iT lS AGREED as foilows:

1. INTERFRETATION

 

1,1

in this i_oan agreement except tile context otherwise admits the following
wordsl terms phrases and expressions shall have the meanings ascribed
hereto Further the male gender shall include the female gender and vice-

versa While the words and phrases in the singular shall include the plural
and vice-versa

"A|l Assets Debenture" means the Nigerian law governed
agreement so granted by or to be granted by the Borrower in
favour of the Lender and to include without limitation a charge
over the current and future assets of the Borrower.

-~_.....__

»\"Availability Period" means the period during which the Lender

undertakes to make the Term Loan Facility available to ina
Borrower for utilization subject to the satisfaction by the Borrower
of ali the conditions precedent to drawdown.

 

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ilt. "Available Facility” means the undrawn and uncancelled portion
of the Term Loan Facility.

"Ancillary Documents" means the Legal Charge over the OMi_
120 and 121, A|i Asset Debenture1 Deed of Share Charge over the
shares of the sponsors Corporate Guarantees, Letter of Comfort
from CAMAC Energy Ho|dings Limited and all other documents

referenced in this Agreemenl required in order to give effect to the
Terrns of this Agreement.

“Board of Directors" means the board of directors for the time
being of the Borrower within the meaning of the Companies and

A|lied Matters Act CAP CZU, Laws oi the Federal Republic of
Nigeria, 2004.

vi. "Business Day" means a day on which banks in Nigeria are
open for normal banking business excluding Saturdays and

Sundays and any public holiday declared by the Federal
Government of Nigeria

`€~{\`)\~Q\

“Charged Assets" means each of the assets and undertakings of
the Borrower and more particularly charged to the Lender in the
Al| Assets Debenture dated on or about the date of this
Agreement between the Lender and the Borrower.

yiil. CAPEX Reserve Account (“CRA"}: Ah account established with
the Lender and which will be used to build up and maintain the

CRA required balance Such amount shall not be less than 10% of
net revenue after expenses

“Compensatton Account" Means the account established with
the Lender to be used to receive all insurance payments and/or
any other compensation due to the Borrower.

x. "C|oslrig datc“ means the or any other data

agreed for the execution of this Agreernent and any other ancillary
agreements

xi. "Drawt;town" means when all the conditions to drawdown set forth
|n this Agreement are met.

xii. "Debt Service Reserve Accourlt" means the account established
by the borrower with the Lender to be used to fund debt service
obligations due_s on the next'repayrnent date. To be funded no
laterthan 7 days prior to each repayment date

xiii "Events of Default" means any one of the events stated in
clause 19 hereof.

xiv. “Fina| Nlaturity Date" means ..., 2019 or any other date as may

be agreed in writing between the Lender and the Borrcwer.
xv. “Legal Charge” means the legal charge created or lo be created

over Oil Blocic OML 120 end 121 (which license is held by Allied
Energy P|c).

 

 

 

 

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1.2

1.3.

 

xvi. “LlBOR" means the t,orrcion lnterhanl< Ofl'ered Rate which is the
rate st which banks offer and place money at the Londorr inler~
bank money marketl Specifica|!y, this is the ono~rnonth t_iBOR
rate for a period equal to that interest period which appears on the
screen display designated as page 3750 on the Moneyline
Telerate Service- (or such other screen display or service as may
replace il for the purpose ot displaying British Bankers’
/-\ssociat|on LlBOR Rales for Do||ar deposits in the London

|nterbani<. market) at or about 1100 hours lel'l' on the applicable
rate fixing dev

xvii. Materlal Adverse Effect; means any outcome or circumstance
which materially and adversely affects the obligations of the
Borrower under this facitity agreement or materially and adversely
affects any of the securities hereby createdl

xviii. “N|oratorlum" means a period of grace during Which repayment
of the principal amount of the Loan shall be suspended and shall
be twelve {12) months commencing from the date of the first
drawCioer.

xi)<_ “Nlonth" means a calendar month.

xx. “Obligor” means any person having an obligation (directiy or
indirectly under this facility agreement or any other ancillary
agreement related lo this facility (inc|uding Allied Energy P|c` tha
off takers, Camac Energy incorporated._.. etc)

xxi. “Project” means the further expansion and development of the
Ol| B|ock C)NlL 120 and121.

xx|i_ "Request" means a request by the Borrower to utiiize the Term
Loan Facilitv, substantially in the form of Schedule 1.

)ocili. “Sponsors" means the shareholders of the Borrowers,

xxiv. “The Term Loan Facility" means the term loan facility described
in clause 2 granted lo the Borrower by the Lender.

xxv. "The Loan amount" means the aggregate principal amounts
drawn by the Borrower at any time under the Term Loan Facility
and not repaid or prepaid

xxvi.

"USD" and “$" means the lawful currency of the United States of
America.

Words and phrases defined in the Companies and Ailied Niaters Act Cap

C20 Laws of the Federal Republic of Nigeria 2004 shed subject to the
foregoing have the same meanings respectively in this Term Loan Facility
Agreement.

The headings of the various clauses are inserted for convenience only
and shall not affect the construction of the clauses of this Term Loan
Facility Agreement.

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. ' ` ' 1.4 Reierences to any statute or statutory provisions are to the statute or

provisions as may from time to time be amendedl modified extended or
re-enacted.

; 2. FAC!L|TY

The Lender hereby grants to the Borrower upon the terms and subject to the
r__. conditions herein contained a term loan facility in the aggregate principal sum of
US$100,000,000.00 [One Hundred Mitlion United States Dollars) to be

designated the Term Loan Facility and the Borrower hereby accepts the Facility
j from the Lender.

3. DISBURSEMENT

 

3_1. The Term Loan Facility shall be available for utilization for a period of 12

(tvvelve) months from the date of execution of this agreement
3.2. The disbursement shall be made in 4 (four) trenches of US$25,GOO,UOO
(Twenty Five Million US Dollars) each upon satisfaction by the Borrowor
of all the condition precedent lt being understood that at least 10% of the

facility (eqi.iivalent of Ni_GEiilion Naira] shall be disbursed in Nigeria
currency (Nalra].

 

3.3. The Term Loan Facility shall be available in US Dollars {for offshore

portion) and Naira (ior payment to local contractors and suppliers). The
dollar portion will also be available for utilization as letters ot credit:
unconflrmed, conlirmed. deferred and Usance.

4. COMMITMENT

The Lender hereby undertakes and agrees that subject to the terms of this Loan
Agreement and the Offer l_etter for the facility it shall during the Availabil`ity
Period make the Term Loan Facility available to the Borrower for utilization for
the purpose stated in clause 5 as contemplated under this Agreement.

5_ FURPOSE.

5.1. The Borrovver shall utilize the Loan strictly for the purposes of part

financing the expansion and development of the Oil Block OML 120 and
121.

5.2. The Facility shall be utitlzecl (i} via direct payment to suppliers and

contractors offshors`payrnent via letters of credit and transfers based on
the terms of supply while direct disbursement shall be made to ioer
suppliers from the Naira disbursement (ii] to fund financing costs.
expenses and fees associated with the facility

5.3. The Lender is not bound to monitor or verify the application of any

amount borrowed pursuant to this Agreement_
6. TENOR

This Term Loan Facility shall be for a period of live (5) years inclusive ct twelve
(12] months moratorium on Frincipa| only.

 

 

 

 

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.- 7. DRAW]NGS

`f.‘l.

7_2.

7.3.

The Borrower shall be entitled to make drawings under the Term Loan
Facility at any time during the Availat:)i|ity Period. and for each such drawing
(to be designated a "Drawing"} the Borrower must complete a Requesl. such
Request to be made in the form ot schedule ‘l hereto and delivered to the
Lender during a Businsss Day. The Lender shall communicate acceptance
of the Request to the Borrower within thirty (30) days of the request

Drawings under the Facility shall be subject to satisfaction by the Borrower
ct all the conditions precedent to drawdown stipulated in the accepted Offer
Lotter dated July 21, 2014 in each case in form and substance satisfactory

to the Lender unless waived by the Lender on such terms as the Lender
deems fit in writing

Notwithstanding any other provision of this Loan Agreernent, including1
without limitationl those in Clauses 3.3 and 5.2, the amount of any standby
letter of credit issued hereunder shall not be considered to be a drawing
under the Term Loan Facility but shall be considered to be a Contingent

Lia'oillty which reduces availability but does not incur interest and/or charges
until actual presentation for payment

B. lNTEREST AND OTHER FEES

B.i.

8,2.

8.3.

B.¢’i.

Ei.5.

The dollar rate of interest chargeable in respect of the Loan shall be LIBC)R
+ 7.5% par annum, subject to a floor ot 9.5% per annum

The Naira interest rate shall be 18_75% per annum. This rate is subiect to
upward or downward review by the Lender in line with money market
realities l-lowever, any future advice of upward review shall be for

information only and will be deemed accepted accordingly unless the facility
is paid down on the effective date of stroh upward review.

Default interest will be payable on all overdue amounts at floor rate plus
applicable margin of 2.00% per annum.

The Borrower shall also pay the following other fees

(i] Management Fee at l% flat. payable uptront upon acceptance of
ofter;

(ii) Processing Fee at 0.35% fiat, payable uplront upon acceptance of
chen

(iii) Commltrnent Fee al 0.50%, payable quarterly in arrears annually on
the undrawn balance

{i\")

Loan Servlce Fee (Periodic): 0.5% payable upiront upon acceptance

and cn every anniversary on the outstanding balance until the facility
is fully repaid_

Where any interest payment or principal repayment under this Clause is due

on a day that is not a Business Dayl such payment shall be made on the

next Business Day in the same calendar month {if there is onel or the
preceding Business Day (if there is ricne].

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~` ' i. SEC URIT‘(

9.1. Aa security for the repayment of the Loan, which security shall terminate
and be reieased by the Lender at such time as no amount is or may be
outstanding under this Loan Agreernerit, the Borrower shali‘.

(a) Obtain in favor of the Lender a Legal Charge over Aliied Energy Plc and

Camac Energy lncorporated's entire interest iri Oil Btock ONlL 120 and
121'l

(b_) Create in favor ot the Lender a fixed and floating Legal Charge by way of
an Aii Assets Debenture over its present and future assets including any
currently unissued shares in the Eorrower or any shares created as a
reeuit of an increase in the aulliorised share capitai of the Borrower. This

Agreernent and the A|| Aseet Debenture to. be executed and read
contemporaneously

(c) Obtain in favor of the Lender. a corporate guarantee tcovering the entire
facility and interests) from Camac Energy incorporated (the parent

company of the Eorrower] and a corporate guarantee {covering the
entire facility and interests) from Ailied Energy Plc.

 

{d) Obtain an undertaking from Allied Energy Plc and Camac Energy
incorporated committing to domicile the proceeds from the sale of crude

oil from Ot\ilLs 120 and 121 and processing of ali NXPs from such sales
through its account with the Lender.

(e) Obtain a letter of comfort from Camac Energy t-ioldings Limited to
ensuring that its subsidiary tAilied Energy Plc and Camac Energy
incorporated) domicile the crude oil proceeds with the Lender rend

ensure performance of obligations under this Term Loan Facility
Agreement

(f) Obtain an assignment to the Lender of aii the rights in the share capitai

of the Borrower and to ensure the shareholders of the borrower create a

pledge in favor of the Lender over their shares in the Borrower (inoluding

““' current and future shares as weii as additional shares in the event of
increase in the authorized share capital of the Borrower)_

(g) Assign to the Lender. the Borrower`s rights under ali commerclai

contracts including sale and purchase agraen'ientsl off-take agreements
and crude handling agreemente,

(h) Cause Ailied Energy Plc and Camac Energy incorporated to assign to
the Lender atl their rights under all commercial contracts relating to

ONit_s 120 and 121 tnciuding saie and purchase agreements. off~tal<er
agreements and crude handling agreementsl

(i) Create in favor of the Lender. an lrrevocat)ie Domlciiiat`ion agreement
(between the Borrower, Allied Energy Plc, Camac Energy incorporated

and ott-takers domici|ing atl proceeds from the off take agreement ln the
designated accounted opened with the Lender.

(j) Enter into an irrevocable undertaking (aiong with Aiiied Energy Pic and

Camac Energy lncorporated} to open all NXP in respect of crude oii
iifting from OML_s 120 and 121 being financed throughout the tenor ot
the faciiity with the Lender and to route all proceeds of crude oh sales
from ONlLe 120 and 121 to lie account with ‘.he Lender.

 

 

 

 

 

 

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9.2.

 

(k) Create a charge in favor of the Lender over ali of the Eiorrower’s
accountsl receivables rights and interest and cause Ailiad Energy Plc
and Camac Energy incorporated to create a charge in favor of the

Lender overall its accounts, receivabies, rights and interest with respect
to OML.128 and 121.

(i} Assign to the Lenderl all rights under any hedging agreement entered
into in relation to the Facility

{m)Assign to the Lander, all insurance and reinsurance contracts inciuding
performance guarantees by EPC; related to the protect '

[n) Obta'rn from the oif¢takers of the crude oil from Olv‘il_s 120 and 121 a
commitmeni!aci<nowiedgmerit ot domiciliation instruction by Aiiied

Energy Plc and Camac Energy incorporated to domicile ali sales
proceeds to tire Borrower’s account with the Lender.

(o) P|edge all its unissued shares (including news shares issued in the event
increase in the share capitai) to the Lender.

Except with tire written consent of the Lender, the Borrower hereby
undertakes not to and shaii not create or permit to subsist any other
mortgage chargel pledge or lien (each a “Security |nterest") on any of lis

Charged Asseis andfor securities hereby created except for any Security
interest

. To secure any excise or import taxes or duties owed lto. or industrlai
grants made by any state, government political subdivision or

international organizationl or any agency, authority, instrumentality or
body or any regulatory authority; or

b. Arising by operation of law; or
. Created or arising with the prior written approval of the Lender. or

. Created or arising out ct retention of title provisions or a conditional sale

in respect of goods acquired by the Borrower in the ordinary course of
business; or

. Which is a iieri or other Security interest arising in the ordinary course of

the Borrower's business consistent with the Borrower`s past practice and
not securing Borrowings; or

The principal purpose end effect of which is to ailow the setting~ofi or
netting off obligations with those of a financial institution in the ordinary
course of the cash management arrangements of the Borrower; or

g. Constituted by nettlng_ set-off or cash coiiaieral arrangements in relation
to swaps or other derivative agreements in the ordinary course of its
businees; or

.Arising under arrangements in connection with the participation in or
trading on or through any

steering system or investmentl commodities or
stock exchange where the Security interest arises in the ordinary course
of business under the rul

es or normal procedures or legislation governing
such system or exchange; or

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!‘

i, Over securitiesl derivatives or commodities in respect ct the acquisition
cost of such securities derivatives or commodities owed to a dealer

therein or an agent for the purchase thereof where such cost fails to be
paid within 180 days of being incurred; or

Arising out of or in connection with pre-judgment legal process or a
judgment or a judicial award relating to security for costs; or

Which is to renew, extend or repiace a Permitled Secun'ty interest if the
principal amount secured is not thereby exceeded and such permitted

Security interest is discharged or released within 3 (litree) months of the
creation ofthe replacement Securiiy interest; or

Over cash or cash equivalents covering any indebtedness (or obligations
in respect thereof. such as future interest) in respect of capital market
issues in existence on the Ciosing Date which has been fully covered by

cash or cash equivalents as a means of achieving the economic effect of
iult repayment of that indebtedness; or

1 U. CREAT|ON OE ACCQUNTS

10.1. Coiiection Accounts‘. A collection account shall be opened with the Lender to

receive all revenues generated from the obligor base asset (Dlti|i_ 120 and 121)
including receivables from the off-take agreement Withdrawais shall be made
from the coiiection account to fund the following accounts: (i} Debt Servic:e

Reserve Account (DSRA} (in Dperations Account (iii) Debt Service Account {iv)
CAPEX (v) Compensalion Account.

10.2. Operations Accounts’. The Borrower shall open an operations account with

the Lender. On each waterfail date. the company shelf deposit in the operation
account from the collection account such amounts as necessary to permit

payment from that account of up to 100% of the operating expenditure for the
next 3months.

10.3. Debt Service Account: the Lender shall open a Debt den/ice Account with

the Lender which will be used to fund debt service obligations due on the next

repayment date This is to be funded no later than 7 days prior to from the
DSRA.

10_4. CAPEX Reserve Account iCRA): This account shall be established with the

tender and will be used to build up and maintain the CRA required balance
The CRA balance shall not be less than 10% of net revenues after expenses
10.5. Compensalton Account'. A compensation account shaii be established with

the Lender for the purpose of receiving all insurance payments and/or any
other compensation due to the Borrower. _

10.6 DSRA Required Balance: Debt Service Reserve Account ("DSRA”) shall be

opened to warehouse the DSR required balance tn an event of default any
funds held in the Debt Service Reserve Account may be promptly applied as a
mandatory prepayment under the facility. This shall be maintained to hold 12
months interest obligation during the moratorium and subsequently funds

sufficient to pay one quarter interest and principal shall be constantly held in
this account

 

 

 

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14.

 

 

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Tne Lender hereby grants to the Borrower a moratorium on principal only of the Term

Loan Facility ior a period of twetye (12} months, interest witt be paid during the
moratorium period on a quarterly basis

B..E_P..M§_N_T_

12.1 The Borrower shall make quarterly {per annurn} repayment of principal and

interest commencing after the moratorium period i~loweyer, interest shall be payable
quarterly during the moratorium period.

12.2 The principal end interest on the facilities shall be paid by the Borrower to the

Lender on the due date through the legally accepted mode of repayment as specified by
the Central Bank of Nigeria, accompanied by a letter signed by the authorised
representative of the Borrower, stating the purpose of the payment Notwithstanding the
purpose stated in the letter by the Borrower, the Lender shall apply any payment so
received from the Borrower first in or towards the satisfaction or reduction of the
payment of interest then due and unpaid before applying same to or towards the
repayment of the principal sum then due and if the amount is not enough to repay the full
amount then due, the Lender shall ao notiiy the Borrower Who shaii within 30 (thirty)

days of receiving such notification pay to the Lender the amount necessary to repay the
installment in full

12.3 Where any date for a repayment under this Clause is not a Business Day, such
repayment shall be made on the next Business Diay in the same calendar month (if
there is one) or the preceding Business Day (ii there is not).

124 On the Final Repayment Date, the Borrower shall pay and discharge ali
outstanding secured obligations in ful|.

PREPAYN|ENT AND CANCELLATEON

13.1. On giving not iess than 14 (fourteen) business days prior Written notice to the
Lender, the Borrower may prepay the Loan in whole or in part_

13.2 Parties agree that Prepayrnent is allowed only in multiples of US$S,C|O0,00G.OO
(Five Niii|ion US Dollars). l-lowever. a t% flat charge shall be applied on the
prepaid amount

13.3.

Amounts prepaid witt not be rae-borrowed and shall first be applied in or towards

payment of any interest doe and unpaid then towards repayment of any principal
instatlments then due and unpaid

COND|TIONS PRECEDENT TO DRAWDOWN

14.1. The Borrower shall not be entitled to drani or util

ize the Term Loan Facility or any
part thereof unless the Lender shall have re<:eiy

ed the toltowing:

‘i¢i.t.t.Acceptance ot the offer dated Ju|y 21 2014, evidenced by signing and
returning a copy ot the offer letter by the authorized signatories of the
Borrower. Such authority to accept tlie offer by the Borrower to be
obtained via a duly signed Board resolution of the Elorrower. The Lender
confirms that the referenced offer dated Juiy 21, 20th has been accepted
and signed by the Borrower.

44.1.2. Submission ot duly executed written Board tie-solution of the Borrower

authorizing and accepting usage ot the term loan tacility.

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14_1.3. Submission of a Board Resolution of the Borrower authorizing and
accepting the terms and conditions contemplated under this Agreement.

14,1.4. Submission of a duly executed written Eioard Resoiution of Aliied Energy

Pic and Camac Energy incorporated authorizing the following;

i. The use ot their ONiL 120 and 121 as collateral for this facility. Ali the

documents required for perfection and creation of legal charge shall be
executed accordingly

. That all proceeds of crude oil export from 'ONiL 120 and 121 shall be
domicitsd with the Lender and transferred to the account of the
Borrower with the Lender towards liquidation ot the maturing
instalirnents ct the Term Loan Facility.

14.1.5. Suhmission of a Board Resoiution of the Borrower, Ailied Energy Plc and

Camac Energy incorporated undertaking that the Borrower and Aliied
Energy Plc shall not obtain any additionai t"inance or create any security
interest over Oii Elocit OMLs 120 and 121 as well as its current and future
assets without the prior written consent ot the Lender.

14.1.6. Receipt of a l_etter from the Borrower stating its current indebtedness {if

any} to other lenders with the facliity limits obtained current outstanding
balance (if any) and the collateral piedged.

14.1_.7. Rece|pt of duly executed Term Loan Agraement between the Borrower

and the Lender.

14.1.8. Receipt of duly executed legal charge by Aiiied Energy Plc and Camac

Energy incorporated on its interest in O|VtL 120 and 121,

14.1_0. Rece|pt ct duly executed all asset debenture over the fixed and tloating

assets of the Borrower in favor ot` the Lender.

14.1.10. Reoeipt of duly executed pledge over ali the shares cf the
Elorrower {including issued and unissued shares and to extend to any
new shares created in the event of shares capital increases).

'i¢i.“t.‘i 1.Receipt of duly executed agreement between the Borrower, Al|ied Energy
Plcl Camac Energy incorporated and the ott-takers domiciiing all the

proceeds frorn the sale of crude from the Oil Biocl< OML 120 and 121 with
the Borrower.

14.1,12.Receipt of duly executed agreement assigning the rights of the Borrowor
Camac Energy incorporated and Al|ied Energy Pic under ali commercial
contracts related to ON|Ls 120 end 121 (inctuding sale and purchase
agreements off-take agreements and crude handting agreemente).

14,“1`13.Receipt of an irrevocabte undertaking by the Borrower, Camac Energy
incorporated and Ailied Energy Plc to open all NXi'-'-‘ in respect or crude o|i
lifting from OML 120 and 121 throughout the tenor of the facility with the

Lender and to route all proceeds of crude oil sales from OML 120 and
121 to its account With the Lender.

14.1.14. Recelpt of duly executed pledge in favor of the Lender over the Borrowers
accountsl receivabies, rights and interests

10

 

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14.2.

 

 

14_1.15.Subrnission of an independent reserves and technical report on the

assets provided by an independent technical consultant acceptable to
the Lender.

14.1_16.Receipt of duly executed first charge on the Borrower`s account with the

Lender, warehousing the proceeds of crude oil sales on OiviL 120 and
121.

14_1.1?.Receipt of duly executed standard corporate guarantee of Camac Energy
incorporated and Allied Energy Plc_ the parent company oi the Borrower.

14.1.18.Roceipt of duly executed undertaking by the Borrower that the US Dollars
and Naira equivalent of the foreign exchange or the Bonowers account
with the Lender should be debited for the Dollar andior Naira equivalent
of principal and interest in the event that payment from the crude

exported is delayed on due date or repayment cr at the time of expiration
of the facility

14.1_19\Receipt cf written confirmation or certificate ot compliance issued by the
Departrnent of Petroieum Resources in respect of OML 120 and 121.

14.1.20.Fteceipt of documents relating to the Borrower's acquisition of the

remaining economic interest in OML 120 and 121 form Aliied Energy Plc
and Camac Energy incorporated

14.1.21.Receip`t of all other necessary security documentsl

14.1.22.E)<ecution of any other necessary security document{s) as may be
reasonat;iiy required by the Lender.

The Lender may allow the Borrower to utilize the facilities or any part thereof
notwithstanding that all or any of the conditions precedent to the utilization of the
facilities have not been fuiiitled and such a concession shall not prejudice the
right of the Lender to insist upon the fulfillment of all the conditions precedent to
the utilization thereof beiore further utilization of the facilities nor prejudice the

right of the Lender to recover from the Borrower any part utiiized before the
fulfillment of all or any part of the conditions precedent

OTHER CONDiTlONS

 

15,1.

15.2.

15.3.

15.4.

15.5.

15.6.

The Borrower shali submit to the Lender a copy of its quarterly management
accounts within sixty (60] days of the end of each quarter and audited accounts
within one hundred and twenty (120) days of the end of each financial year.

This Term Loan Facility is made subject to availability of funds and to the rules

and regulations governing banking business as enunciated by the Central Bank
of Nigeria from time to time.

in iine with Centra| Bank oi Nigeria (“CBN”} directive The Lender shall disciose
iniormation relating to this faciilty to CBN i_icensed Credii Bureaus.

Predetermination of borrowing base every six (B) months by an Engineering
Consultant acceptable to the Lender.

The Borrower hereby undertakes to source foreign currency on or before maturity
of the Term Loan Facility.

The Borrower, Camac Energy incorporated and Allied Energy Plc shall inflow the

repayment from proceeds generated frorn oil trading onlor‘ before the expiration
of the facility

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15.7. The Borrower shall be required to lake out a comprehensive insurance policy

with a reputable insurance company acceptable to the Lender against fire and

a'iy other form of peril on OML 120 and 121 with the Lender noted as the hrs't
|css payee

 

15_8. The Borrower shall provide a list of contractorslsubcontractors to be engaged in

executing further expansion and development works on Ol\tlL 120 & 121.
15.9, `ihe Borrower shall use its best efforts to ensure that contractors/subcontractors

associated with this proiect openl maintain accounts with the Lender wherein
finds shall subsequently be disbursed

15.10. "he Lender reserves the right to unilaterally review the terms and conditions of
this facility from t|me to time in the light of changing market conditions and also to
terminate this banking facility and accelerate the maturity of the Borrowers
indebtedness based on any adverse information threatening the basis of this
='elal|onshlp or putting the banking facility at risk or loss and as a result of any

breach of the terms and conditions of this facilily. The Borrower shall be notified
at any decision taken in this respect.

 

15.11. |n the event of a contemplated sale of shares. issuance of additional share

t ‘- capital_ amalgamation of business or any other change that would result in any
_'i' ` change of ownership of the company or a substantial share capital of the
company being taken over by a new owner. the prior consent of the Lender must

be obtained in writing, otherwise the facility shall become immediately due and
payable

15.12. The Borrower shall carry out periodic reserve redetermination audit to ascertain

changes in borrowing base
15.13. The Lender reserves the right to securitize, syndicate or sell its interest in this

credit facility based on its global rislo'liquidity management objectives during the
period of the facilily.

. All legal iess, out»of-pocket expenses taxes or commissions including cost of

recovery of the facility in the event of default shall be for the account of the
Borrower_

15.15 The Borrower shall not without the prior written consent of the Lender obtain any
new facility from any other financial institution both local and foreign for further

expansion of OML 120 and 121. The Lender in the event of need for additional
borrowing shall have a right of first refusal

16. STAN'EF' TAXES

The Borrowsr shall pay and, promptly on demandl indemnity the Lender against
any cost, loss or liability the Lender incurs in relation to all stamp duty, registration

and other similar Taxes payable ln respect of this Agreernent or any ancillary
agreements

17. REPRESENTAT!ONS AND WARRANTEES

The Borrower hereby makes the following representations and warranties to and
for the beneht of the Lender

‘ 7.1. Status

lt is a duly incorporated and validly existing company with limited liability under
the laws of the Federal Republic of Nigeria.

 

 

 

 

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17,2. Powers and Authority

lt has the powers to enter into. or, as the case may be. to compiy withl and be
bound by all obligations expressed on its part under this t_oan Agreement
including the powers to borrow under this Loan Agreement and that it has taken
all necessary actions to authorize the borrowings under this i-oan Agreement and
to authorize the execution delivery and performance ofthis Loan Agreement.

1?.3. Non~Coniiict

The execution, deiivery and performance of this Loan Agreernent wlil not violate
any provisions of any existing tow or regulation or statute appiicai:iie to it or of any

mortgage, contract or other undertaking to which it ls a party or which is binding
upon its assets

17.4. Projeot Cost:

 

The project cost is approximately USDBBB.S lvliiilon {Two Hundred and i~`iity
Eight Nliilion Five Hundred `i`housand Dollars)

17.5. Borrowlng Limits

Borrowings under this Loan Agreernent up to and inctuding the maximum amount
available under this Loan Agreernent witt nof, when borrowed, cause any limit on
borrowings (whether imposed by statute reguiations. agreement or otherwise), or
on the powers of its board of directorsl applicable to it to be exceeded

17.6. Accounts

The most recent audited profit and loss account and balance sheet of the
Borrower which have been or are to be delivered to the tender together with the
notes thereto give a true and fair view of the results of the operations of the
Borrower for the period to which they relate and. as the case may be, the
financial position of the Borrower as at the date to which they relate and have

been prepared in accordance with generatly accepted accounting principles in
Nigeria consistently applied

t'.'.‘/'. Evont of Default

t?'.B.

No Event of Deiault has occurred and is continuing

Pror.eedings pending or threatened ‘
No litigation arbitration or administrative proceeding of or before any court,
arbitrai body or agency has (to the best of its knowledge and belief) been started

or threatened against ii (or against its directors} or any other Obiigor (or against
any director of an Obiigor) which:

{a) may restrain its entry ln'io, the exercise of its rights under, or the performancel

enforcement of or compliance with any of its obligations under this Agreernent;
or

.

(t)) ii adversely determined would reasonably be expected to have a wiaterial
Adverse Effect.

i'.'.Q. lnsotvancy

No corporate action, legal proceeding or other procedure or step or creditors1
process, has been taken against the Borrower.

 

 

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17.10.Gnrruption

Nelther the Borrower nor any of its Affiliates, and their respective ofhcers,
directors or authorisad empioyees, agents or representatives has:

(a) paid\ promised to pay or offered to payl or authorised the payment of, any
c;t:)mmtssionl bribel pay-off or kickback related to the ONlL 120 and 121
that violates or may violate any appiicable iaw or regulation or entered
into any agreement pursuant to which any such commission, bribe, pay»
off or kickback may or witt at any time be patd; or

(b) uttered or given any object or other thing of value to influence the action

of a public ofiicia|. or threatened injury to person, property or reputation in
connection with the O!Vll_ 120 and 121.

17.11.Taxation

(a) it has duly and punctuai|y paid and discharged all Taxes imposed upon it
or its assets within the time period allowed without incurring interest or
penalties (save to the extent that the Lender is satisfied that (i) payment is
being contested in good faith, {ii) it has maintained adequate reserves for the
payment of such Taxes and (iii) payment can be lawfully withheld).

(b) lt is not materially overdue in the filing of any Tax returns

(c) No claims are being or are reasonabiy likely to be asserted against it with

respect to Taxes other than any initial statement of Taxes duel provided by a
tax authority

17.12.|rnmunlty

(a) The execution by the Borrower of this Agreernent, and the exercise by it
of its rights and performance of its obligations under same will constitute
private and commercial acts performed for private and commercial purposes

{b) The Borrower will not be entitled to claim immunity (in relation to itself or
any of its assets or property) from set-off, suit, execution, attachment or other

legal process in any proceedings in relation to this Agreement or any ancillary
Agreernents.

184 COVENANTS AND UNDERTAK|NGS

18.1. Duration

The undertakian in this Clause 18 will remain in force from the date of this

Loan Agreement and for so long as any amount is or may be outstanding
under this Loan Agreement.

18‘2. Financial information

The Borrower shall deliver to the Lender copies of its audited accounts for

each financial year as soon as the same are publicly availabie {and in any
event within 120 days of the end of each of ita financial year}.

15.3. Notification of Detault
The Borrovver shall noiin the Lender of any Event of Default (and the steps, if
anyl being taken to remedy li) promptly upon becoming aware of it.

18.4. Priority of Interest

The Borrower shall procure that its obligations under this Loan Agreement do
and wilt rank in priority with all its other present and tuture unsecured and
unsubordinated obligations {subject to the preference of certain obligations ln

liquidation bankruptcy or other analogous proceedings in respect of it by
operation of applicable |aw).

14

 

 

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Change of Buslness!corporete structure ' _
The Borrower shall not change the nature of the business being carried on by it.
and Sharehotders as at the date of this Loan Agrsement. Any change in the

l
current board of directors shall not be effective unless the Lender is notified end
the Lender's written consent obtained

Production and Liftlng Schcdu|e
The Borrower hereby undertake that on th
shall provide tbs Lender with the certified copy of both the Dai|y Production

Schedule as well as the Produot Lifttng Schedule showing the quantity of
products produced and litted respectivety from Othl_ 120 and 121.

19. EVENTS OF DEFAUL`F
---_.__..__,_,_____

  
 

e first working day of every month, it

Upon the happening of any of the following eyenis, the in
writing to the Borrower so long
constitute an Eyent of Detauit

and the interest accrued thereon end any other moneys payable hereunder to be

immediately due and payable and its obligation to provide moneys under this
Loan Agreement to be terminated

ender may by notice in
as such event is continuing declare such event to

i_ if the Borrower does not
when due and such stone
after becoming dust

pay any moneys payable hereunder
ys remains unpaid for 30 (thirty) days

r ii. lt any order is made or effective resolution is passed or a
" l ;__' successful petition is presented for winding up ot the Borrower or g
_-___-i it the Borrower goes into liquidation or dissolution; or

 

iii. if the Borrower suspends any of

to cease to carry on its business
business; or

its debts or ceases or threatens
or substantially the whole of its

lf any encumbrancer takes possession
for any part of the assets of the
encumbrancer or the appointment of
or rescinded within 21 (twenty“one} days; or

y. li any distressl execution se
or enforced upon or
assets!shares of the t'-.to
(twenty ons) days; or

questration or other process is levied
issued out against the properties or
rrower and is not discharged within 21

vt_ if the Borrower is unable to

section 409 of the Com
statutory modifications

pay its debt within the meaning of

parties and A|iied Maiters Aci 2004 or any
or rci-enactment thereof; or

vii if the Borrower commits any breach of any
Loan Agreement and in the case of any breac
fails to remedy the breach within thirty (30) d
in writing by the Lender to do so; or

material part of this
h capast of remedy
sys of being required
viii it any representation or warren
Lo'an Agreernerit or any noticel

security

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20. CHANGE lN ClRQUMSTANCE

20.1. if any change in the law or administrative regulations applicable to this Loan

Agreement or any interpretation by the courts of law makes it unlawful or
illegal for the Borrower to perform its obligations hereunder then the Borrower
shell repay to the Lender any sums outstanding under the Facility together
with ali accrued but unpaid interest and commissions

20.2. if any change in applicable law or administrative regulations or in the
interpretation thereof by any authority charged with the administration thereof

makes it unlawful for the Lender to perform its obligations hereunder then and
in any such situation:

20.2.1. The Lender shall notify the Elorrowar according|y;

20.2.2. 'l“he Lender shall be discharged from all obligations towards the
Borrower hereunder and its commitment reduced to zero; and

20.2.3. The Borrower shall on demand repay to the Lender the Loan

within 90 {ninety} days tl'iereal‘terl
20.3. The Lender undertakes that during the tenor. durationl pendency or life of this
Loan Agreement it shall continue to upho|d, adhere to and comply with all
laws and G»overnmentai rules and regulations applicable to it, its operations,
business and status and in particular the ruies, regulations and directives of
the Federal Ministry of Finance. Cantral Bank of Nigeria and other monetary
and liscai authorities and shall not commit, do, condone, allowl facilitate or
accommodate anything. actionl breach or omission that will put or place the
Lender in a position that it is unable to meet or continue to meet its
obligations hereunder or comply with the terms of this Loan Agreement.

21. RECONSTRUCT¥ON AND AMALGAMAT|ON

This Loan Agreement shall not be affected by any amalgamation that may be
effected by the Lenderl its successors~in~tit|e or assigns with any other company
or persons whether the new company thus formed shall or shall not differ in its
name, objectsl character and constitution, it being the intent that this Loan
Agreer-nent shall remain valid and effectual in all respects in favour of and with
reference to any such new company when formed and may be proceeded on or

enforced in the same manner to ali intents and purposes as ii such new company
had been named in and referred to herein instead of the Lender.

22. iN DULGENCE

 

The Lender may without prejudice to its rights herein enter into any agreement
for giving time or other accommodation to the Borrower for the Facility or other
monies hereby covenanted to be paid or any part thereof ancl may release or

compound same with the Borrower or any person, company or corporation liable
to pay the same

23. REMED|ES AND WA|VER

 

No failure to exercise and no delay in exercising on the part of the Lender rights.
powers or privileges hereunder shall operate as a waiver thereof nor shall any
single or partial exercise of any rlght, power or privilege preclude the exercise of
any other right, power or privilege The rights and remedies herein provided are
cumulative and not exclusive of any rights or remedies provlded by law.

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25.

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27.

28.

29.

s _.;"

 

DEFAULT INDEMNlTY
____________________

if the Borrower fails to pay hereunder any sum due
become due hert-:underl the Borrowc=r shal ‘ "

directives issued by the Centrat Bank of Nigeria

ASS|GNN|ENT

The Lender and the Borrowe
iri writing to assign any or their rights and

any such assignee the security
assignment the assignee thereof o
if any security be assigned and/0
remedies as if originally named her
the case may be, and thereafter t
responsibilities with respect to a
deliveredv

collateral hereto and in the event or such
fsuch right and powers and of such securityr
r delivered shall have the same rights and
ein in place of the Lender or the Bnrrowsr ss
lie assignor will be fully discharged from all
ny obligations so assigned and!cr security

 

Any notice or demand required hereunder shall be
sufficiently given if tn writing and delivered by hand or c
address as hereinbefore

deemed to have been

ourier at the addressee’s
stated cr at each party‘s last known address

M..Q_l.i_i§il§

LEGAL COSTS CHARGES AND EXPENSES
M

he stamp duty payable in respect cf this

Loan Agreernent and the costs in connection with lite preparation negotiation

and execution of this Loan Agreementl

ntsPurE REscLunoN

29.1, Intllzi Mediation cf Dispute

i. A meeting shall be held within'? (soven) days at which all parties

are present or represented by individuals with tull decision making
authority regarding the matters in dispute (iniltet |'trleeting].

ii. ti within 14 (fcurteen} days following the initial Meeting, the parties
nev

e not resolved the dispute. the dispute shall be referred to
Mediaticn directed by a mediator mutually agreeable to the

parties Each party shall bear its proportionate share of the costs
el the mediater’s fees

 

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The parties agree to negotiate in good faith in the initial Meettng
and in the titlediation.

iti. if after a period of 30 (thtrty) days following the commencement of
Nlediation the parties are unable to resolve the dispute either party
may submit the dispute to binding arbitration tn accordance with

clause 29.2 hereof upon 10 (ten) days prior written notice to the
other patty.

29.2. Binding Arbltratton

l. Either party may submit any dispute arising out of this Loan

Agraement that is not resolved following the processes in clauses
29.1 (i). (ii) and (iii) above to final and binding Arbitralion.

The referral of the dispute to An:»itration precludes any other

course of action by the other party except upon the mutual
agreement and consent of both parties

ii|. The Arbitratlon contemplated hereby shall be by 3 (three)
Arbitrators one ot whom shall be appointed by the Lender and the
Borrower respectively while the third Arbitrator shall be nominated

by the two (2) Arbitrators aforesaid and the venue for the
proceedings shall be Lagos__

 

Where there is disagreement on the appointment of the third

Arbitrator, then the third Arbitrator shall be appointed by the Chief
Judge ot Lagos State.

Each party shall be responsible for the cost of the Arbitrator
appointed by it, white the cost ot the third Arbitrator and ali other
costs and expenses of the arbitration proceedings shall be borne
equally by the Lender and the Borrower respectively

The Arbitration shall be conducted in accordance with the

Arbitrstion and Concltiation Act Cap A18 Laws of the Federation of
Nigeria 2004.

" ' 30. FORCE MAJEURE

 

Any delay in or failure of performance of this Loan Agreement toy either party
h¢reto shall not constitute default by such party or give rise to any claim for
damages against it |f such delay or failure of performance is caused by force
majeure including but not limited to acts of C_-`»od, acts of war or revolution, civil
commotion, strikes toct< dut, any |abour unrest, governmental action, fire, t`tood,
earthquake_ destructive ttghtning, epidemic or other circumstances which are
beyond the reasonable control of the party affected and which they could not
have reasonably foreseen and guarded against and which by exercise of
reasonable care and diligence they are unable to prevent

31. ACKNOWLEDGMENT

 

Any admission or acknowledgment in writing by the Elorrower or by any
authorized person on behalf of the Borrower of the amount of indebtedness of
the Borrower to the Llnder or any statement of account furnished by the Lender

as the case may be as a true copy extracted from the books of the Lender shall
be accepted as prima facie evidence against the Borrower.

 

 

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EXECUTlON OF LOAN AGREEMENT

This Loan Agreement may be executed in any number of counterparts.and such
counterparts signed by all the parties hereto shall be deemed to constitute one
and the same instrument and the loan Agreernent shall become effective when

each of the parties hereto shall have signed a copy thereof (whether the same or
different copies} end shall have delivered the same to the Lender.

 

SEVERABEL.TTY OF PROVISEONS

Any provisions in this Loan Agreernent which is prohibited or unenforceable
under Nigerian Law shall be ineffective to the extent only of such prohibition or
unenforceability without invalidating the remaining provisions hereofl

34. APPL|C&BLE LAW

The Loan Agreement shall be governed by and construed in accordance with ina
Laws of the Federal Republic of Nigeria

 

35 AGREEMENT

This Loan Agreemenl supersedes any prior agreements promises negotiations
or representations either oral or Written relating to the subject matter of this Loan
Agreement and. except as provided for herein, may not be amended or modified

36_. AMENDMENT

This Loan Agreement may not be amended or modified save by a document
signed and sealed by and on behalf of the parties hereto

37. COMMENCEMENT DATE

Notwithstanding any other date herein provided, furnished or appearing herein

the commencement date of this Loan Agreement is the execution Date as herein
provided

38. ENT|RE AGREEMENT

'l'his Loan Agreement shall be read in conjunction with the otter letter for the
facility by the Lender dated Ju|y 21 , 2014. in case of any conflict with the terms
of the offer letter for the facility by the Lender dated .luly 21, 201-4. the terms of
the offer letter shall prevail

 

 

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SCHEDULE 1
FORM OF REQUEST

 

TO: Zenith Bank Plc

FROM: Camac Petroleum Limited

DAYE: ................... , ............
- Zenith Bank Plc

Term Loan Facility Agreement dated ............ ,, 201.....
{“The Loan Agreement"}

We Wish to utilize the Term Loan Facility and request a Drawing to be advanced 10 us as

follows:

a. Amou nt of Drawduwn: .............................
b. Date: .............................
c. Paymenl instructions:

By:-

Camac Petroleum Limited

Aurhmsed “A" signatory Aliir}'c§}iééd‘ *A*`éi§`r}£ié'r'y

 

 

 

 

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iN W1TNESS WHEREGF the Lender and the Borrower have executed these presents in
the manner hereinafter appearing the clay end year rust above written

THE COMMON SEAL of the within-named “LENDER"

ZENETH BANK F'LC

Hereunto affixed in the presence of:

    

DIRECTOR

 

£ijh“

THE CON[MON SEAL cf the Wilhin~name<i “EORROWER"
f'_w CAW|AC PETROLEUM LlMlTED

Hereunto affixed in 'ehe presence of;

 

 

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sEcRETARY

BANWO &1GHODALO

BARR|STERS 8~ SOLIC!TORS
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lkoy'r. Lagcs.

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l §‘.HD
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113 L.ENDE§"~'.
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ZEN|TH BANK PLC 'z haz~k
of Nigeria and tvng gm

Lagos State (hereina 1<»1' 1~,;1§|w

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sums Wh§ch s!:aii fm
Lender sh. |!:
assets (§nc! .11<:` 1.1;; 515;5:
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NOW THIS DEED WFTNESS

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iii. “Cctlateral Rights” means a

il rights powers end remedies conferred on
tire Lender by cr pursuant tdi

his Debenture or by applicable laws;

iv. “Term Loan Facility” means the tacitity (to be) granted by the Lender to
the Borrower in accordance with die Term Loan Faciiity Agreement
between Camac Petroleum Limited and

Zenith Bank Plc dated
v. “Feciiity Agreemont"
2014 between Camac
Lender(

means the Tenn Loan Facility Agreement dated
Peti'uieum Ltd as Borrciwerl Zenith Bank Pic as
as amendedl varied novated or supplemented from time to iime);

vi. "Far:ility” has the same meaning ascribed tc it in the Term Loan Facility
Agreement and Facility will be so ccnstrtiecl;

vii. "Mcnth” means a calendar month

vlit. "Parties" means the parties to this Debenture and “Party" means one of
them;

ixt "Receiver" means a receiver cr a re

ceiver and manager appointed by
the Bank pursuant to the provisions of this Debenture;

x. “Related Rights" means, in relation to any asset (a) the proceeds of sale
of that asset cr any part thereot; (l;)) all present and future rights under
any ilcence', agreement for sale or agreement ot lease in respect cf that
asset; (c) ali present and future rights. powersl benefitsl ctairns, contracts
yirari'antit==.sl remedies security, guarantees indemnities cr covenants for
title in respect af that asset; and {d] all present and future interest and

other moneys and proceeds paid or payabie under or in respect of that
asset or its use;

xi. “Sesurity" means the security constituted by cir pursuant to this
Debenture
xii. “Security interest" means any mortgage charge assignment

guarantee hypothecation security interest title retention iien including
bankers |ien, preferential right, trust arrangement right cf set-aftl
r:ountr.=:rclaiml privilege cr

priority ci any kind having the effect cf security
or any preference cf one creditor over another arising by operation of iaw;

xiii. "Security Period" means the
Debenture and ending on the
discharged its obligations under t

period beginning on the date of this
date cri which the Bcrrower has fully
tie Faciil'ty Agreerneni; and

xiv. "USD'* and "$" means the |a\m‘ui currency cf the United States of
America
lnterpretation

Constructien:

Uniess a contrary indication ri.r:ipearsl any reference in this All Asset Debenture lo;

t. "assets" includes presen

t and tuture properties revenues and rights of every
descriplion;

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a "disoosei" includes any trensier, greni, leasel essignrnent, saie. participation or
other transfer of economic ownership, compulsory acquisition compuisory safe or
other disposal or egreernent for the disposal oi, or the grant or mention of eny
interest derived irom, any esset;
iii. a "Finence Docurnent”. shell mean Term Loan Facility Agreement dated
or any other agreement or instrument that is referenced to in the Term Loan

Facility Agreement es ernended, novated, supplemented extended replaced or
restated;

the “Agent", the "r’\rrenger", the "Ar:ceuni Eiani<", any ”Cot.'nterperty", the "Lender",
any "Lerrder", any "i~"inence Perly" or any "Perty" shell be construed so ss to
inc£ude its successors in tiiie, permitted assigns end permitted transferees and. in

the case of the Lender, any person for the time being appointed as Lender or
Lender in accordance with this Debenture;

"lncie_t)tednese“ ine§udee any obiigetion (whether incurred ss princine¥ or es

surety) for the payment or repayment of money, whether present or future actual
or contingent

vi. "person" includes any person1 firrnl compsny, corporation gr;)vernrnentl state or

agency of a slate or any association trust or partnership (whethe`r or not having
separate legal oersonaiity} or two or more of the foregoingl

vii a "reguieiion" includes any l‘eguietion, ruie, official directive request or guideline
(whether or not having the force of lew) of any governmental, intergovernmental

or supranetione| body, sgenc~ , department or of any regulatoryv self-regulatory or
other authority or organiseiion;

viii. a provision of lew is a reference to that provision as amended or re-eneoted;

Event of Deisult is as stated in the Term Loen Agreernent deted._,`

A default (other then en Event of Default) is "continuing" if il has not been

remedied or waived and en Event_ of Defeuit is "coniinuing" if it ties not been
waived; and

xi. a time of day is s reference to t-ondon tirne, Lagos time or New York Time ies
specified).

Seciion_ Clause end Sohedule headings ere for ease of reference only and do not affect
the interpretation of this Debenture

Unlees a contrary indication eppeers, o term used in this Debenture or in any notice

given under or in connection with this Debenture has the annie meaning in the
Debenture

A reference to s

Ciauee or Soheduie is a reference to that cieuse or schedule in this
Debenture '

Referencee to this Debenture or any specified provision of this D.e
document sheil be construed as references to this All Ass'ets Deb
that other document as in force for the time bia

benture or any other
entaire, that provision or

ing and es amended in accordance with
the terms thereof or_ as fire case may he, With the agreement of the relevant Parties.

Words importing tire olurei shelf include fire singular end vice versa.

 

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1.3.

2.1.

Reierences to any statutory provision means that statutory provision as amendedl
supplemented re-enacted or replaced from time to time (wnether before or etter the date
ct this Debenture) and are to include any orders, reguir:xtionsE instruments or other
subordinate legiststion rhode under the relevant statutory provisionl

A reference in this Debenture to a mortgage of any rest property includes all buildings
end fixtures on that property and all Re|sted Right.

The fact that no details of any specific property or agreement are included in the retevont

Schedu|es does not affect the validity or enforceability of any security created by or
pursuant to this Debenture

Words end phrases defined in the Companies end At|ied Ntaters Act Cap 620 Laws of

the Federal Repubiic of Nigeria LFN 2004 she|i subject to the foregoing have the same
meanings respectively in this Debenture

The headings of the various clauses ore inserted for convenience onty and shott not
affect the construction of the clauses of this Debenturel

_Effocttvohess of this Debentu re

Notwithstanding any other provision of this Debenture or the Term Loan Facility

Agreement dated or any other Finence Document} this Debenture shall
only he effective on end from the date it is signed by the Partiesi

Entire Ag moment

in the interpretation of the provisions of this Debenturel this Debenture shali be reed in
conjunction With the provisions of the Terrn Loan Faciiity Agreernent datcd.... entered
between the Borrower and Lender in respect of the loer Facility and executed

Effeot as a Deed

This Debenture is intended to take effect es a deed notwithstanding that any Party may
have executed it under hand only-.

REPRESENTATiONS AND WARRANT|ES
The Borrower represents end warrants'io the tender thst:

Ownorship of the Chargeelote Asse'ts: lt is absolutely solely and beneficiaity entitled to
ali the Chargeah|e Assets as from the date it or any pari of it fails to be charged under
this Debenture and the rights ot the Borrower in respect of the Chargeable Assets are

free from sny encumbrance or security interest ot any kind other than the Security being
created hereunder

Power: lt has the power to execute deliver and perform its obtigations under this
Debenture and sit necessary corporate shareholder and other action has been taken by
it to authorise the execution det|\rery and performance of this Debenture

Consents Ol:itained: Every material consent oerrnit_ outhorisation, ticence or approval
of, registration with or declaration to, governmenlat or public bodies or authorities or
courts required by lt to authorise, or required by ii in connection with, the executionl
detiveryl validityl enforceability or admissibility in evidence of this Debenture cr the
performance by it of its obligations under this Debenture has been obtained or made and
is in full force end effect end there has been no default in the observance of any material
conditions or restrictions (if any} imposed on, or in connection with, any of the same and
none of them is subject to any legal challenge or revocation or similar r_>roceedin\_:]l

 

 

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2.2.

Binding Ob|igations: This Debenture constitutes its valid and legally binding
obligations enforceable against the Bcrrower in accordance with its terms

No Disposal: Othcr than as permitted by the Facility Agreernent the Borrcwer has not
sold or agreed to sell or otherwise disposed of or agreed to dispose of the benefit ct all
or any of the Borrower's right, title and interest in and to the Charged Assets.

The representations made by the Borrower on the date of this Debenture shall be
deemed to be repeated by the Borrowor by reference to the facts and circumstances

then subsisting on the first day of each interest Payment Date throughout the Security
Poriod.

Upon the Lender's declaring an Event of Derauit pursuant to clause 19 ot the Term Loan
iltt;rreernsntl the Borrower will on written demand horn the Lender pay and discharge all

moneys and liabilities due and owing to the Lender by the Borrower under the Term

Loan Agreementand any Ancillary Documents las defined in the Tern'i

Loan
Agreernent)

The Borrower as BENEFlClAL OWNER hereby charges in favour of the Lender for the
consideration aforesaid all its assets with the payment and discharge of ALL moneys for
the time being owing under this Security tinciuding any expenses or charges arising out
of or in connection with the acts authorised by this Dabenture, ALL its undertaking
goodwill and movesth properties for the time being both present and future wherever
situate including its uncalled capital stoci<, raw materials works in progress finished
works materials stock equipment by whatever name and hook debts hereinafter called
i"tl'ic assets"} and such charge shall be a first fixed charge or debenture on the assets

and fuzther charges to the Lender by way of Flo_ating Debenture over all its future fixed
and floating assets

The Borrower shall not create any further debenture or charges upon and so that no lien
shall in any case or in any rrianrier arise on or affect any part ct the said assets without
the prior Writtsn consent of the Lender. PRO‘\HDED that any further debentures
mortgages or charges created by the Borrower 1:\rith the consent of the Lender over the

said assets (otherwise than in favour ot` the L.`ender) shall be expressed to be subject to
this [§)eb€-,‘ritur~el

Regarr_ling any present or future uncalled capital and unissued shares of the Borrower,
the Borrowor hereby covenants and agrees with thc Lender that

(a) The said uncalled capital and unissued shares ot the Borrower shell not during
the continuance of this security be issued or called up or received in advance of
calls without the consent in writing ofthe Lender t|rst sought and obtained

(o) The amount to be paid in respect of the said uncalled capital shall be paid to the
l_ender, which may at any lime apply a competent part thereof in or towards
satisfaction of the moneys intended to be‘secured.

tCl

At atl times during the continuance ct this Security the Borrower will permit the
Lender or any persons authorized by the Lender to have access to and inspect

tree oi all charges the share register and transfer books of the Borrower and all
transfers of the t:lcrl'ower‘s shares

{d) Dun‘ng the continuance cf this Secur'ity the Borrower shati immediately after the
presentation ot any transfer of unpaid or partly paid shares in the capital of the
Borrower give to the Lender notice in writing containing full particulars of such
proposed transfer and shall not register any transfer ot any such shares in the said
capital until at least fourteen days arter such notice as aforesaid shall have been
given to the Lender and shall not register such transfer at all if within the said period
of fourteen days the Lender shall obtsct to the proposed transfereei and

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(f} The Borrower shall have no euti'rority to sell or in any iv
fixed and floating assets charged by this Debenture

7. Ail moneys and liabilities

i
time being remaining unpaid shell iinmedia
anything to the contrary herein contained:

11. (e} if the amount due and owing on this Debenture sh
becomes payable the Borrower vvitl st the rs
be called up the uncalled cspitai hereby charged by such installment and payable at

such time (not being contrary to the regu|ati
in writing direct

 

 

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ali not be paid as and When it
quest of the Lender call up or procure to

one of the Borrower) as the tender shall

ely transfer any of the present

ritended to be hereby secured or other balance thereof for the
ter become payable notwithstanding

(a) if the Lender stisil demand payment in Writr`ng from the Borron'er end leave
notice of such demand st the Borro\»:rer's registered post end seven days have
' elapsed after such notice Without payment;
(i:.) li the Borrowsr tells to pay the rent payable in respect of any ieesehoici premises
" for the lime being held by the Borrower or fails to perform and observe the
covenants and conditions contained in or implied by the Granl(s} Assignnient of
lease{s} under which any immovsabie property is held;
t
(c) if an order be inside or an effective resolution be passed for the winding-up of the
` Eonower;
(d} ii a distress or execution be levied or enforced upon or against any of the
property of the Borrower and be not paid within seven days;
(e) if the Borrower shaft stop payment or shall cease or threaten to cease to carry on
its business and
(f) lf the Borrower shall commit any breach of the covenonts and conditions herein
contained or in the Facility Agreornent and any other undertaking by the
Borrovver or on its behaif to be performed and observed
8. At any time etter the moneys end liabilities int

become payable under the provisions of this Deb
writing under the hands of its dirty
any person whether an officer ot the Lender o
the assets or any
Receive-r and/or nfl

(a)

ibi

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ended to be hereby secured shall have
enture, the tender may appoint by
appointed Atton‘iey or under the seat of the Lender
r not to be s Reeeiver and!or Manager of
from time to time remove any

anager so appointed and appoint another in his stead The Receiver

'on to and without prejudice to the powers

To take immediate possession of the
and for that purpose to take or defen
or otherwise

property hereby secured cr any pen thereof
ct proceedings in the name ot' the Borrower

To sell toy public auction or private treaty) lease or let or concur in seiiin

or letting ali or any of the properly hereby secured end
leasing or letting into erie

Otl`ierw`ise.

g leasing

to carry any such sale
ct in the name and on behalf of the Borrower or

`l`o demand and recover atl the income and of the property hereby secured by
action distress or otherwise to the full extent et the estate or interest which the
Borrowor could dispose of and to give effectual receipts accordingly for the same

to exercise any powers Which may have been delegated to it by the Lender
pursuant to these presents

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tdi

To make and effect all repairs and insurances and do oil other acts which the
Bnrrower might do in the ordinary conduct of its business as weil for the
improvement and for the protection of the property hereby secured

tsi

`t‘o make any arrangements or compromises which the Receiver andfor Nianager
shall think expedient in the interest of the Lender.

iii `i`o appoint managersl officers agents accountantsl advisers stewards

workmen and others for the aforesaid purposes or any cf them upon such terms
as to remuneration or otherwise as he may think proper.

'i”o give valid receipts for all moneys and execute all conveyances assignments
deeds. assurances and things which may be proper or desirable for realizing
such property and to do all such other acts and things as may be considered to
tie conducive to any of the matters or the powers aforesaid and which the
Receiver and/or Nlanager lawfutly can do as agent for the Borrowsr.

thi

To usc the norris of the B_orrower for all or any of the ptsrposes aforesaid and in
any legal proceedings

(i) To execute and deliver any deed or deeds or instrument and to convey, assign or
otherwise assure the property over which he is appointed

(j`) Receive property or any part thereof or any interest therein in the name or on
behalf of the Borrower and by deed in the name and on behaii of the Borrower to

grant. assign or demise the legai estate in any such property to the purchaser or
lessee thereof.

ik)

To do att such other acts and things as may be considered by the Lender to be
incidental or conducive to any of the matters or powers aforesaid and which he or
they lawfuily may or can do as agent or agents of the Bon'ower.

ft Receiver end/or lillanager so appointed shall he the agent of the B`orrower and the
Bcrrower shali alone be liable for his acts and detauits and remuneration and he shall
have authority and be entitled to exercise the powers hereinafter sat forth and to do all
such acts and things which a Receiver androl' Manager iawfully may or can do which
may be necessary for or considered to he incidentaf or conducive to the carrying on of
the business of the Borrower including the raising of money with the consent of the
tender on security of the said assets or without security and generaliy to take
possession of, cotlect and get in all or any part of the assets and for that purpose to take

proceedings in the name of the Borrower or otherwise as may seem expedient to seil
any or any part of the assets and to make any compromisel

All moneys received by any such Receiver endfor tdanager shall after providing for all

costs and expenses incurred ln carrying on the business of the Borrowsr or the sale or
disposal of the whole or any part of the said assets be appiied:

FERSTLY if the Recsivor andfor lvlanager so desires but not otherwise in
payment of rents rates, taxes and outgoings affecting any immovable property of
the Borrower and ci premium on fire and other insurances thereon and on the

said assets and the cost of executing necessary and proper repairs and
replacements

SECONDLY in payment of all cosis. charges and expenses of and incidental to
the appointment of the Receiver endior i\.'lanager and the exercise by hint or atl or

any of the powers aforesaid inciuciing the reasonable remuneration of the
Roceiver andrcr iv‘ianager.

5.

 

 

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THIRDLY in or towards payment of ali unpaid interest end sit charges due under
this Debentures
F‘"OURTHLY in or towards payment of all princlp

al moneys due in respect ot this
Debenture

FlFTHL`r' any surplus shell he paid to the Borrowsr.

11. in the event of default or breach of this Detrenture, no purchaser or other person or
Borrower deeling with the Lender or any Receiyer endior Maheger appointed by it or With
their attorneys or agents shell he concerned to enour`re whether the powers exercised or
purported to he exercised have become exercisable or whether any money remains due
on the Socurity of this debenture or ss to the necessity or expediency of the stipulations
and conditions subject to which any soto shail have been made or otherwise as to the
property or regularity of such sale ceiling in collection nor conversion or to the application
of any money paid to the tender or such Receiver andfor t\!lanegsr end in absence of
Mele-fides on the part of such purchaser mortgagor, mortgagee or other person or
Borrower suoh destiny shall he deemed so for as regards the safety and protection of

such purchaser person or Horrower to be Witl`rin the powers hereby oonferred and to he
valid end effectual econrdin§iy.

12. the Borrower hereby covenants with the Lender:

(a) To keep proper ocooonts rotating to the said business and to allow the Lender or
its authorized representatives to inspect the some

et all reasonsbte times end
from time to time to furnish such information with respect to the assets end all

other assets end iiahilities of the t`:torrower es the tender may require

(b) When necessary lo repeir, renew or ropluco oil movable piant machinery engines
tools implements utensils and other effects of a tiles nature now used or hereafter
to he used for the purpose of or in oonnection with the business of the Borrower
When and as the same shall he in disrepair worn out or destroyed

(o} To permit the Lender end such person
writing for the purpose appoint t
Eiorrower to view the state end con

ss the Lender shali from time to time in
o enter into end upon the premises of the
dition of the said assets

(d} To insure end keep in the horne of the titorrower with on lrisursnce office
approved by the Lender such of the sold assets (or towards the discharge of the
principal and other moneys hereby secured ss the tender may require AND if
dotson sheli he made in keeping the sold assets in good state or' repair rand in
perfect working order end condition end so insured es aforesaid or in depositing
any such policy or delivering any such receipt aforesaid the Lender may repair
the said assets or such of them as shall in their opinion require reparation and
may insure end keep insured the said assets or any part thereof ss they may
deem tit AND the Borrower will on demand repay to ther Lender every sum of
money expended by the Lender for the above purpose or any of them With
interest et the rate of the Feoiiity front the lime of some respectively having been

g q \. shell he a first charge upon the

said assets and to have every policy o.' insurance relating to the said assets

endorsed with s memorandum of the interests of the Lender as debenture holder
and with s provision that ali moneys payable under any such policy shell be paid

to the Lendsr, to be eppiled tc the benefit of the Lender in the manner

hereinbefore appearing and Not to assign mortgage sublet or port With the

possession of the property prolonging to the Borrower now or in the future Without
the prior consent in writing o_t the tender first had end obtained

 

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The Borrower hereby further covenants to indemnify the Lender in the fuil
Facility!amount thereof against ali coete. charges and expenses (including the costs of
‘ maintaining or enforcing or endeavoiiring to enforce this Secun`ty) incurred hereunder ny
the Lender and all other moneys property paid by the Lender |n respect ot the said
costs, charges and expenses or otherwise and the same together with interest thereon
as aforesaid shall be added to the moneys herein secured 'PROVIDED that the charge
hereby created shall he in addition and without prejudice to any and every other remedy

lien or security Which the Lender may or out tor said charge would have for the moneys
hereby secured or any part thereof.

14. The Lender shall not by reason of its entering into possession of any of the said assets

be liable to account as mortgagee in possession or for anything except actuai receipts or

be iiahie for any lose upon realization or for any defauit or omission for Which a
mortgagee in possession might he liable

l 15. EFFECTNENESS OF SECUR[TY

15.‘1. Contiriuing Security

_ The Security created by or pursuant to tth Debenture shall remain in full force and effect
as a continuing security for the Secured Ohtigations unless and until discharged by the

Lender in the manner provided for in Clause 161 of this Debenture (Redamptr`orr of
Secirn`iy).

15.2. Cumu[ative Rights

The Security and Cotiaterai Righte created by or pursuant to this Debenture shall he
cumulative in addition to and independent of every other security which the Lender may
at any time hoid for the Secureri Obiigations including any other rights, powers and
remedies provided by |aw. No prior security held by the Lender over the Whole or any
part ot the Charged Ascets shall merge into the Security constituted by this Debenture

1 5-3. No Preiudice

The Security and the Collaterat Rights created by or pursuant to this Debenture ehall not
be prejudiced by any unenforceability cr invalidity of any other agreement or document
or by any time or indulgence granted to the Borrower or any other person, or the Lender

n ‘- or by any variation of the terms of the trust upon which the Lender hoids the security or
by any other thing Which might otherwise prejudice that ee'¢:urity or any Cotlatera| Righi.

15.4. Remedies and Waivers

No failure on the pari ct the Lender to exercise or any delay on its part in exercising any
Collaterai Right shall operate as a waiver of that Collateral Rtght_ nor shall any single or

partial exercise of any Coilateral Eight preclude any further or other exercise of that or
any other Collateral Rtght.

15,5. no maternity

Nonc ot the Lender or its nominee(s) or any Receiver shall be liable by reason of'.
15.5,1 taking any action permitted by this Debenture; or
'15.5.2 any neglect or default in connection with the Charged !\ssets or;

15.5.3 taking possession of or realizing all or any part of the Charged Acsets

iO

 

 

 

the Borrower agrees lhat it shell not assert or seek to assert
M nominee{s) or any Receiver any cioin'i it may h
` omission of the Lonoer_ its noinineeis) or any

against the l_ender, its
ave against them in respect of any act or
Roceiver under this Debenture

15.6. Partia!lnvalidity

i |f, at any time, any provision of this Debent
unenforcealo§e in any respect under the law of ony_ jurisdiction1 neither the legality
l validity or enforceability of t'ne remaining provisions of this Debenture nor o'i such
provision under the tours of any other jusisdiction shall in any way he affected or impaired
thereby end, if any port cf the security intended to be created by or pursuant to this

Debenture is invalid unenforceable or ineffective for any reoson, that snle not attest or
impair any other part ofthe Seeu:lty.

tire is or becomes i|iegoi, in\raiid or

15.?. immediate Reeourso

The~BorroWer resides any right it may have of nrst requiring the Lender to proceed
against or enforce any other rights or security or claim payment tro:n any person before
,A_ 7 claiming from the Borrower under this Debenture or enforcing tire Securiiy_

15.8. ` Waiver of defenses

The obligations of. onel the Sec;urity created by, the Borrower under this Debenture wili
not be effected by any set omission matter or thing w

hich, out for this Clause would
reduee, release or prejudice its Seourect Obiigations und

er. or the Security created by or
pursuant to this Debenture end whether or not known to the Borrower including but not
limited to the foliowing:

l 15.8.1. any ti`me, Waiver or consent granted to, or composition wilh, any person;

15.8.2. the release of eny other third psities or any other person under the terms of any
composition or arrangement with any ereclitor;

_ 15.8.3 any incapacity or lack of powersl euthorit
|

y or tegzit personality of or dissoiution or change
in the members or status of

, any Obiigor or any other person;

15.8.4. any amendment novetion,
restatement (in each case h
or not more onerous)

i security or of the Secured Onligetions;

15.8.5,eny uneniori:eet)ilityr illegality or invalidity of any ohtigation et any person under any
_, Finan<:e Document or any other document or Security or of the Seoured Obiigations; or

'15.8.6. any insolvency or similar proceedings
16. RELEASE OF SECURITV

16.1. Redemption of Secu:ity

At the termination of the Seeurity Petioo`, ti
Borrower, release and cancel the Sec;urity
of the property and assets assigned to the

re Lender sholt\ at the request and cost of the

end procure the reassignment to the Borrow.=:r
Lender pursuant to this Debenture

a Cas_e 18-32106 Document 187-3 Filed in TXSB on 06/08/18 Page“izti-o’i~i~¥~?~----~ej"""_“

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` .. 15.2. Rotention of Security

The Lender may retain this Debenture, the Security and ali documents of titie,
certiticates and other documents relating to or evidencing ownership of oil or any part of
the Chargeci Assets until the Securod Obiigations have been discharged in fuil and a
deed of release filed with the Corporate Affairs Commission and other relevant
government authority in respect of any Security constituted by virtue of this Debenturel
' which the Lender undertakes to file at the termination of the Security Period.

17. INDEMNiTV

The Bosrower shall from time to timer on the demand of the Lender;
17.1. reimburse the Lender, its norriinee{s) and any Receiver on a fuil indemnity basis for ali
costs expenses losses and liabilities (incino'ing tegal fees and the fees, costs and
expenses of any advisers or consultants) incurred by the Lender in connection with the

enforcement of, ofthe preservation of any rights underthis Debenture;
hi . 'tT.Z. pay or reimburse the Lender, its nominee(s) and any Receiver for any Arnounts or
'l Ciaims paid or incurred by it in acting as Lender under or in connection with this
' Debenture or the Charger_i !-\ssets including (i) any Agenthelegate Liabilities; and (ii}
Amounts or Ciaims incurred in the course oi disputing or defending any Amounts or
C|airns made against the Lender or any Agent![.ie|egate Liabi|ities. save to the extent
that such Arnounts or Ciaims arise from or are caused by the Lon<;ier‘s, AgenUDe|egate's
` fraudl gross negligence or wiifui misconduct “Amounts or C|aims" are iosses. iiabliities,
costs, ciairns, action.s, demands or expenses and “AgenUDe|egate L.iabiiities" are
Aniounts or Ciaims which the Lender is or would be obliged to pay or reimburse to any of

its agents or delegates appointed pursuant to this Debenture; and

17.3. indemnify the tension its agents managersl oiiicers, employees deiegates, advisers
and any Receivor for any expensel ciaim, iiab||ity, loss, cost, damage or expense
incurred or arising in connection with the exercise or purported exercise of any rightsl

powers and discretions under this Debenture in the absence of fraod, gross negligence
Wiiiiu| misconduct on their part

18. ASSiGNi"JiENT

18.1. “i‘ho Lender may assign and transfer all or any of its rights and obtigations under this

Debenture in accordance with the Facility Agi'eernent and for this purpose, the Lender
shall subject to the Faciiity Agreernent be entitled to disclose such information
i concerning the Eiorrower and this Debenture as the Lender considers appropriate to any
aciuai or proposed successor or to any person to whom information may be required to
be disclosed by any eppiicabie iaw subject to the agreement of the third-party to be

bound by the existing non-disciosure agreement between Borrower and Lender
concerning non-public information

13.2. The Borrower shott not assign or delegate any of its rights or obligations under this

Debenture Witiiout the prior written consent of the Lender.

19. NOT|CES

19.1. Communications in writing

Any communication to be marie under or in connection with the Debenture shai| be 1
made in writing and, untess otherwise statod, may be made by tax or tetter. '

 

 

 

 

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19.2. Addresses

19.2.1.1'he address and tax number tend the department or officer, if eny, for whose attention

the'cornmunicoticn is to be made) tor any communication or document to be made or
delivered under or in connection herewith is:

19.2.1.1. The contact details of the Borrower for this purpose are:
Addrese: Camac House, Plot 1649, Otosa Streel. Victoria |eland, Lagos
l'-`.=.ix: +2341
Emait;
Attenlion;

19.2.1.2. The contact deteite cf the Lender for this purpose ore:

Addrees: Zenith Bank P|c, Ptot 84 Ajcee Adecgun Street, Victoria lslend, Lagos
Fax number: +2341

Emeil:

Attention:

Company Secretery, Mr. Micheo\ Osilema Otu
_ Phone No: +234'|?_731971

19.3. Delivery

19.3.1.Any communication or document made or delivered

hy one person to another under or
in connection with this Debenture shall only be effectt

ve:
19.3.1.1. if by way of fex, , at the time of transmission
place of delivery on a Bueiness Dey.
if by Way of |etter,§ {five) busine
certified ntatt, return receipt rec

if received before 1?{30 hours in the
and otherwise on the next Businese Day; or

sss days after being maitect by either registered or
uested With postage prepaid

19.3.2.Any communication or document to be mode or delivered to the tender shelf be effective

only when ecttletty received toy the Lender and then only if it is expressly marked for the
attention of the officer identified in Clause 19.2,1.2

19.4. Notificatton of address and tax number

Each party shott promptly notify

the other petty of any change to its address and fox
number pursuant to Clause 1212 (

Addr*essee).

19,5. Etectronic cornmuntcatton

19.5.'t.Any communication to be made between the Borrower end the Lender under or in

connection with this Debenture may be made by electronic mail or other electronic
frieane, if the Borrower end the Lende::

19.5.1.1. agree thet, unless end unt'

ll notified to the contrary this is to be an accepted form of
Corrilnunicotion;

19.5.1.2. notify each other in writing cf their etectronic meit address :anrl!or any other
information required to enet)z

te the sending end receipt of information by that meens;

19.5.1.3. notify each other of any change to their address or any other such information
supplied by them

19.5.2.Any otectronic communication made between the Bcrrower

effective only when actually received in re
communication made by the Lender to ti
tanner as the Agent or the

end the Lender shell be
adeble form end in the case ot any electronic

te Borro‘-.rrer only if it is addressed in such a
Lender shott specify for this purpose

 

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19.6. Engiish language

Any notice given under or in connection with this Debenture must be in Engllsh.

29. PAYMENT FREE OF DEDUCT|ON

J-\ll payments to be made to the l_ender, including its fees end cosls, under this Debenture shait
be made tree and clear of and without deduction for any tex uniess the Borrower is required to
make such payment subject to the deduction or withholding of tsx, in which case the sum
psychic by the Borrower, in respect of which such deduction cr Withhotding is required to be
made, shail be increased to the extent necessary to ensure thet, alter the making of such
deduction or Withhoicling. the person on account of whose liability to tex such deduction or
withhotding has been made receives and retains (free from any iiability in respect ot such

deduction or withholding) a net sum equal to the sum which it wcuid have received and retained
had such deduction or withholding not been made

21. DISGRETION AND DELEGAT|ON

21st Discretion

Any liberty or power which may be exercised or any determination which may be made under
this Debenture by the Lender or any Receives' msy, subject to the terms and conditions of the

Facility Agrsement and this Dobenture, be exercised or mode in its absolute end unfettered
discretion vvitl'iout any obligation to give reasons

21.2 Delegation

Eech of the Lender and Receiver shali have foti power to deiegate, either generally or
specitic_ally, the powers authorities end discretions conferred on it by this Debenture on such
terms and conditions as it shall see tit Which delegation shell not oreciude either the subsequent

exercisel any subsequent deiegation or any revocation of such cowen authority or discretion by
the Lender or the Receiver itse!f.

22. GOVERN|NG LAW

This Debenture end eti obligations arising out of or in connection with it shall be governed by
end construed in accordance with the laws ot the Federal Republic of Nigeria_

23. FURTHER ASSURANCE

23.’\. The lEiorrovl.ler shall prorriptly, et its own cost, do any act, make any filing or registration

or sign. seel, execute and deliver Such mortgagesl chargesl transfersl assignments

securitiesl notices deeds. instruments or other documents as in each case the Lender

shall from time to time stipulatel and ln such form as the Lender may require to:
23.1.1.periect end protect the Security intended to be conferred on the Lender by this

Debenture or the first priority ranking thereof cr which are required for the exercise of the
Cclleterei Rights;

23.1.2. maintain the Security interests intended to be hereby created or the First priority ranking
thereof;

23.1.3. create perfect cr protect any security interest which it mey, or may be required tol create
in connection with this Debenture',

23.1,4.stamp (and upvstamp at the discretion ot the i.ender) this Debenture as and when
demanded by the Lender; and

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realization of the Chergeo‘ Assete.
tier

as

23.1.5. to facilitate the enforcement of the Seoi.trity, the exercise of the Co||aterai Fiighis and the

24. DiSPUTE RESOLUTION
m_

24.1. initial iti’tediatlon of Diepute

ln the event of a dispute between the f-’ertiee to this
following procedure shell be followed to reeot
pursuing other remediee:

A|| Asseie Debenture the
ve the dispute prior to either party

i. A meeting shell be hold within 7 (eeven) days et which eli parties ore

l present or represented by individuals with full decision malcth authorityf
regarding the niattero in dispute (initial Meeiing).

ii. tr within 14 [.-‘ouneen) days following the initial lvieeting, the parties have
not i'eeolvecl the dispute the dispute Sha|l be referred to Meoiiation
directed by e irredietor mutually agreeable to the Pertiee_ Eech Party
shall beer its proportionate ehare of the costs of the inedietor's feee.

The Pertiee agree to negotiate in good faith in the |ni

tiei trteeting end in
the iviedietion.

iii. if after a period of 30 (thiny] days following the comm

enoenient or'
it/iedietion the Parties

are unable to resolve the dispute either Pzirly may
'ng arbitration in accordance with clause 242
hereof upon 10 (ten} dave priorwritten notice to the other Porly.

24.2. Bindlng Art)itretiori

i. Either party may submit any dispute

arising out of this Ali Aeeete
Debenture that is not resolved following the processes in cleiieee 24/: (i),

{ii) end iiii) above to final end binding Art)ilretion.

l
ii. The referral of the dispute to Arbiirolion '

precludes any other cause of
action by the other Paity except upon the mutual agreement end consent
of both Porties.

iii. The Art)itretion contemplated hereby shell be toy
of whom shell be appointed by the Lender and the Eiorrovver respectively

while the third Art>itrator shell t)e nominated by the two (2} Arbitreiors
aforesaid end the venue for the proceedings shell be l--agos.

3 (ihree) Arbitraiore one

Wnere there is dieeg
then the third Art>ttre
State.

reoment on the appointment of the third Arbitretor,
for shell he appointed by the Chief Judge of l._egoe

iv. Eech Party shell loe responsible for the cost
it, White the cost of the third Arhilretor end el

the arbitration proceedings shall he borne e
Bori'ower respectively

of the Ari;)itretor appointed by t
l other costs end expenses of q
quality by the Lender and the "

24.2.1. the Ari;)itration shell be conducted in accordance w

ith the Arhitratton end Concitiation
Ac:t Cap Al 8 Laws of the Federetion of Nigeria 2004

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SSETS CiF THE COMFANV, lNCLUtJlNG !TS PRESENT
AND FUTURE ACC)U!RED ASSETS WHEREVER SlTUATE lNCLUDiNG lTS UNCALLED
CAPITAL, STOCKS BUT PAR

TICULARLY THE ASSETS LC)CATED AT CAMAC HOUSE,
PLC)T 1649, OI_OSA STREE`F, ViCTORlA [SLAND, LAGOS STATE.

 

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.... ~,.,K,__ ,,

iN WlTNESS WHEREOF ih@ padiee hereto have caused their common seals to be affixed
hereto the day and year first above written

The Common Sea! of the within-named
CAN|AC PETROLEUM LIMI`i’ED
Was affixed in presence of'.

   
  

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The Comman Seai cf the- within~named
g 3 ZENITH BANK PLC was affixed
ih presence of:

  
 
  
 
 

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OP|N|ON OF IHE COMMISS|GNER ’:`)F
srw DU]'|ES ARGEABLE M{N
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g {_‘."' 5 53 / . _
- QRiGiNM»
Ai£ieci Energy Plc

§

l (Fomer!y Ai!ied Energy Resc)urces {Nigeria} Limited)

(as Chargor§
and
i` Zenith Bank Pic

(as Chargea)
and
Camac Petro!eum Limited

(as Company§

DEED OF LEGAL-CHARGE CNER JNTEREST !N OML120 AND121

 

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§ laws m me F§d§"?a“l Republic
at Plut 1649‘ Olosa Streat, Victoria island, Lagos

   
  
  
  

 

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}`:E§d Energy Plc (fc)rmr.~rt§,l Alliec.£ Energy Resources

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(Nigeria Limited
ria having its regis

649, Olosa Streat, Victoria lsiancl, Lagos (the "Chargor"}§ and

 
  

{3} Zenith Bank Plc:, a banking Eompany '

,/, Federal Republic of Nigeria having its r;§j_§tl§¢?étf’idttn~:z*
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are hereinafter '

//_Y° ' h/é?;f§€hargor is the awraclee of Oil ii.l'|ining Lease i\lu. 120 and 121 (alst known as Gi'i.'iL 1220

,L@q ` ~;`.'i'£_"i\ur the “Charged lnt€irest") ivy virtue of an Acreage Alic)ca|ic)n (Discrr:tionary Awa"r<`il)
F_`»f " -i210 issued by the Ministry cf Petroleum Resour<;es (Petroieum Resourc@s
":trnent} to the Chargor fm the 3m Day of .lurir=,a 1993

   
    

.i<:!`-£i%§¥\trirtue cal tire letter dated Augtist 28, 2002 th=.=z lutinisi

Q;L@pnrovzal of the President: Cnrnmander in Chief 0
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ry of Petroleum Re$ources c“.'on

t the Federal Republic 0 ‘~I'

 

    
  

émpany {a related compnr'ty to the Cl*,

argr§_§gi has approached the Chargee id g
in the sum of N3,940,000,000.00 (the

     

  

  
 

c Hi|lion, Nine Hundred and Forty Mil|ic)n p§‘(iraa'r `5"“' '
nly) _("tize facitity"} to liman the inrlher expansion and development 01 lite Oi§ Bl<:\c|<§;"i'{
l ,Q.~,A\OML 120 and 121 and the Chargee has by ii

  

its offer better dated ljuly 21_ 2014 tag .:

:`§_tt‘.§ facility tn the Company, which offer Was r.iu!y accepted by the Company, toll

the facility granted 10 the Company by the
or has amend to charge in favour of the C ¢_

 

~4

‘ '\ _\Award) of OPL 210 issued to it by the l\ ` '

      

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ease 13-§'2106 Document 137-3 Fiied in T)<SB on 06/08/18 Paoe 149 or 177

Definltio ns

Words and expressions defined in

Plc (Lender) and Camac Petroleum Limited {Borrcwer} dated .................................

the Term Loan Facility Agreernent between Zenith Bank

shall.

unless the context othenivlse reqi.iiresl have the same meaning when used in this Deed cf
Legal Charge.

2. cHARGE `

2.1.

The Chargor hereby irrevocably charges and agrees to charge in favour of the Chargeo its
entire interest in OML 120 and 121 for as long as any |isbi

titles under the facility remain
outstanding

2.2. `i“he Chargor shell not create any charge over its interest in OML 120 and 121 or any part

2.3.

thereof so that no lien shall in any case or in any manner arise on cr effect the Charged

interest without the prior written consent of the Chargee PROV!DED that any further

charge created by the Chargor with the consent of the Chargee over the Charged interest

(oiherwise than in favour of the Chargee) shait beexpressed to be subject to this Charge.

For the purposes of this Clause the Chargor covenants and undertakes that en Account
(in line With the Term Loan Facility Agrernenti shall be maintained with the Chargee and
that ali other payments that shell be due and payable to it from the sale of crude

proceeds from the Chargor's interest in OML 120 and ‘iZt shall be domiciled to the
Chargee.

DOM|C|LATICN

The Chargor hereby covenants to lrreuocabt

y domicile proceeds of sale of crude oil produced

from DML 120 and OML 121 into its Account No. 50`50005786 end/or the Bcrrcwer's Account

No.

5050009368 with the Chargee end has instructed accordinglyl

NEchi\/E Pi_Eocs

A,.‘t.

4.2_

At ali times during the continuance ct this security the Chargor shall permit, upon
reqttest, the Chargee or any persons authorised by the Chargee, with three days prior
notice to have access to and inspect free of ali charges ali documents licenses

certificates end permits required by regulation to be maintained by the Chargor in
respect et the Charged interest

'i'he Chargor shall have no authority to self cr in any way transfer or create any other
interest or security, in the whole or any part of its interest in OiVil_ 120 end 121
charged by this presents except With the consent of the Chargee.

 

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5.

CR¥STALLlZATiQN OF CHARGE

The Charge constituted under this Deed of t.egai Charge shall become enforceabie:

5.”1.

5.2.

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.e.

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5.5.

Ei.‘l.

6_1.1.

6.‘|.2.

lt anyl amounts due under the Facility Agreement remain unpaid within 5 days of the
expiring of any applicable grace periods by the Companv.

|f the Chargor shall fail to pay any levy. duty, in:post. tax or an\y1 form of payment
whatsoever doe to any government authority for any other entity) in respect of the

Charged interest or fails to perform and observe the covenants and conditions
contained in or implied by OinL 120 and 1211

lf an order be made or an effective resolution be passed for the winding-up of the
Company;

if a distress or execution be levied or enforced upon or against the Charged interest
end has not been paid within thirty (30) days;

lf the Company or the Chargor shaft stop payment or shall cease or threaten to cease
to carry on its business', and .

lf the Company or the Chargor shatl commit any breach of the covenants and
conditions herein contained end on its behalf to be performed and observed except
where the breach is rectified within a period of 14 (fourteen) days of torrnai
notification et the breach on the de!eoiting party

PGWE.R OF RECE|VER

At any time_after Charge constituted under this Deed of t.egal Charge shali have

become enforceable under the provisions of Clause 5 hereof the Chargee may
appoint by writing under the hands of its duty appointed Attorney or under the seal of

the Chargee any person whether an efficer of the Chargee or not, to be a Receiver

end!or Manager of the Chargor end may in like manner from time to time remove any

Receiver andior Manager so appointed and appoint another in his stead The

Receiver endfor lvtanager so appointed shell in addition to end without prejudice to

the powers conferred upon him by tow have power

`fo take immediate possession of the interest hereby charged {t'lharged lnterest) and

for thet purpose to take or defend proceedings in the name of

the Chargor or
otherwise

To sell (by piibiic auction or private treaty} lease or let dr concur in selling or leasing

the Charged interest hereby charged and to carry any such sale or treasth into effect
in the name and on behalf of the Chargor or otherwise

 

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6.1.4.

6.1.6.

6_'| .8.

5.'§.9.

6_2. A Receiver and/or Nianager so appointed

To demand and recover all the income oi“ the Charged interest hereby charged by

of the Charged interest which the
to give effectual receipts accordingly for the same to

exercise any powers which may have been delegated to it by the Chargee pursuant
to these presents

action, distress or otherwise to the full extent
Chargor could dispose of and

To make any arrangements or compromises with respect to the Charged interest
Which the Receiver and/or Nianager shall think ex

pedient in the interest of the
Chargor.

To appoint managers officers agents, ar.:`oountantsl advisers stewards, workmen
and others for the aforesaid purposes or any of them upon such
remuneration or otherwise as lie may think proper

terms as to

To give valid receipts for ali moneys and execute ali conve

yances, assignmentsl
deeds ass

urances and things which may be proper qr desirable for reailsing the
Charged interest and to do ali such other reasonable acts and things as may be
considered to be conducive to any of the matters or the powers aforesaid and which
the Receiver andlor lyianager lawfully can do as agent for the Chargor.

To use the name of the Chargor for all or any of the purposes aforesaid and in any
legal proceedings

To execute and deliver any deed or deeds or instrument and to convey or assign the
Charged interest over which he is appointed Receiver or any interest therein in the
name or on behati of the Chargor and by deed in the name and on behalf of the

Chargor to grant, assign or vest the legal title in the Char

god interest to the purchaser
or lessee thereof.

To do ali such other acts and things as may be considered by the Chargee to be

incidental or conducive to any of the matters or powers aforesaid and Which he or
~ they lawfully may or can do as agent or agents of the Chargor.

shall be the agent of the Chargor and the
ts and defaults and remuneration and he shall

ss the powers hereinafter set forth and to do ali
such acts and things which a Receiver and/or Nianager

may be necessary for or considered to be incidental
the business of the Chargor.

Chargor shall alone be liable for his ac
have authority and be entitled to exerci

iawfutly may or can do which
or conducive to the carrying on of

 

 

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7. APFLICAT}ON OF MONE"I'S

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I..¢.

All moneys received by any such Receiver andr'or Nlanager s|ta|i after providing for eti

costs and expenses incurred in carrying on the business of the company or the sale
or disposal of the Charged lnlerest shall be applied:

F!RSTLY in payment of all cost,

appointment of the Receiver andror Ntanag_er and the exercise by him of all or any cf
the powers aforesaid inc|

the Receiver and!or
|Vlaneger,

SECONDLY in or towards payment of all unpaid interest and ell ch

argea due under
the facitity.

TH|RDLY in or towards payment pt alt principal mone

ys due in respect of this Deed of
Legal Charge.

FOURTi-|L‘r' any surplus shai| be paid to the Chargor.

8. COVENANTS

The Chargor hereby covenants with the Chargee;

. lt shall de!iver to the Chargee the following (

substance acceptable to the Chargee as security
Cherge:

on the date hereof) ln form and
in accordance With the terms of this

a) the original OML deed document for OltflL 120 and 121

8.1.2. it shall not, except With the prior written consent cr the Chargee.'

i_ create cr permit to exist over all or pari of its inte
Security interest (other than created
created under this Cherge)

reet therein any
or expressly permitted to be

Whether ranking prior to, pari paseu with or
behind the security contained |n thie Charge;or

permit any person other than the Chargor cr the Ci'rargee or the
Chargee’s nominee or nominees to be registered as owners;

5.‘|.3. it shall proinptiy fonnrerd to the Chargee eli

material documents relating to the
Charged interest Which it may

receive from time to time;

until the Company has performed all of its obligations under the Feci
and the loan have been paid in tu|l, it shait not claim payment
eet-ofi, iien, counterclaim or otherwise of any amoun

due to the Chargor by the Company other than as
permitted by th-

iity A_qreernent
Whether directly or by
t which may bc or has become

contemplated and!or expressly
Facility Agreement or this Charge

 

 

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To keep proper documentation relating to the Charged interest and to aiiow the
Chargee or its authorised representatives to inspect the same at all reasonable times
and from time to time to furnish such information in res

peot of the Charged interest
which are interests accruing from the OML 120 and 121.

8.1.6. Noi to assign or charge the Charged interest now or iri

the future Without the prior
consent in writing of the Chargor first had and obtained

The Chargor hereby further covenants to indemnify the Chargee in the full amount

thereof against ali costs, charges and expenses (including the costs of maintaining or

enforcing or endeavouring to enforce this security) property incurred hereunder by the
Chargee and ali other moneys properly incurred by the Chargee in respect of the said
costs, charges and expenses or otherwise and the same together with interest
thereon as aforesaid shall be for the account of the Chargor. PROViDED that the
Charge hereby created shai| be in addition and without

prejudice to any and every
other remedyl

lien or security which the Chargee but ior the said charge would have
for the llabiiities hereby secured or any pan thereof.

10. The Chargee shall not, by reason of its enforcing this security be liable to account as

Chargee in possession in connection with the Charged interest or be liable for any

loss upon realisation or for any default or omission for which a Chargee in possession
might be liable

‘1’1. AP PL|CAB LE LAW

This Agreernent shali be construed and governed in all respects in accordance with
the Laws of the Federal Republic of Nigeria

12. NOT|CE TO THE M|NIST`ER OF PETROLEUM

12.1.The Chargor shall do all such acts or things and sign, execute and produce all such

documents as may now or in the future be required to obtain the consent or the
Minlster of Petroleum tend any other relevant authoritv) respectiveiy to the Charge

1_2.2. The Chargor shail furnish the Chargee with evidence

of the application for consent,
such as a l

etter duly acknowledged by the office the Ministry of Petroleum
respectiveiy.

13. Represantations and Warranties by the Cnargor

The Chargor represents and warrants to the Chargee and undertakes thdt'.

13.1. the oil mining lease was granted to the Chargor by the Pres|dent of the Federal

Repbutic or Nigeria through the oitice of the Minister for Petroleum resources with

respect to Oil fields O`r'O ?, 8, AND 9 for a period of twenty years commencing
front February 27, 20(|1;

 

 

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13.2. no litigation against the Chargor or the Company is current or, pending or
threatened

13_3. this Charge constitutes a lega[, valid. binding and enforceable obligation end
is a first priority security interest over the Charged interest effective in
accordance with its terms',

13.4. the execution cletivery, observance and performance by the Chargoi‘ of this
Charge will not result in eny violation of any |aw, statute, ordinance ruie or
regulation applicable to it;

13.5. as a registrabio instrument the charge is expected to be registered et the
Corporate Affairs' Commission (CAC) Within 90 days of creation of same
pursuant to the provisions of Section 197 (2)[<1) of the Companies end Allied
Metfers Act Cap C. 20 LFN 2004;

13.5.

it has obtained all the necessary euthcrisalions and consents to enable it to
enter into this Charge and the necessary euthcrisetions end consents will
remain in iuil force and effect at e!t times during the subsistence

of the security
constituted by this Charge;

13.6.1. the company irrevocably consents to the transfer of the Charged interest pursuant

to the enforcement by the Chergee of any of its rights under this Charge;

14. F*ower of Attornciy

ie.i.`i`he Chargor hereby irrevocably enct by way of security for the payment of the

S'eci_ired Obiigations end the perforn'ience of its obligations under this Charte

appoints the Chargee as its true end tawfui attorney (witn iu!| power

to appoint
substitute end to sub-deiegafe) on bet

ia|i of the Chargor and in the Chargor's own
name or otherwise at any time end from time to iime. to sign.

complete all documents and do ell acts and things which the

sea!, deliver end
Chergee may consider
to i:)e necessary or advisable to perfect or improve its security over the Chargeo’
interest The Chargor hereby ratifies and confirms anything that any such attorney

may iawfulty execute or do in the interest of securing the facility under ti

te Facility
Agreement.

15. Powers ofthe Chargee
‘t&.i. Enforcement

The Chargee's rights of enforcement in relation to this Charge shell become

immediately entorceabie upon any reach by the Company of the terms cf the Facility

Agreement or default of any term of this Deed by the Chargor or reasonably

suspesion of defau|t} cf any term of this agreement by the Chargor.

The Chargee
may in its discretion enforce sit or any p

art ct this Charge in any manner it thinks fit
For the avoidance of doubt the Chargee's rights

of enforcement shott include
(without limitation} the right:

 

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16.

15.“\.'|. to perfect or improve its title to end security over the Charged interest in such
manner as the Chargee may in its absolute discretion determine;

15.‘3.2. without notice to, or further consent or concurrence by, the Chargor to assign the

Charged interest or any part thereof by such method, at such place end upon
such terms as the Chargee may in its absolute discretion determine with power to

postpone any such assignment and in any such case the Chargee may exercise
any end ai| rights attaching to the Charged interesi',

15,1.3. to assume ownership of the Oii mining lease (OML 120 end 121) over the oil tietds
OYO 7, 8 and 9 and receive the proceeds of the production of crude oil on the oil
fields.;

15.'t.4. to exercise any and eli other rights_ powers end discretions of the Chargor in
respect of the Charged interest in such manner as the Chargee may in its
absolute discretion determine;

15.1.5. to procure that the Chargee is registered et the Niinistry of petroleum resources as
the holder of the oil mining lease OM|_ 120 and 121 for the duration of the ieaee;

15.1.6.

otherwise to enforce any of the rights of the Chargee under or in connection with

this Charge in such manner as the Chargee may in its absciute discretion
determine; and

DISPQTE RESOLUTION

iB.i. initial iiliedietion of £Jispute

in the event of a dispute between the parties to this Deed of Legal Charge, the

following procedure shail be followed to resolve the dispute prior to either party
pursuing other remedies

A meeting shaii be held within ? [seven} days at which ali i°arties are present

or represented by individuals with fuil decision making authority regarding the
matters in dispute (initia| Nieeting).

if within 14 {fourteeri) days foiiowing the initial iv‘ieeting. the Parties have not
resolved the dispute, the dispute shall be referred to lvleciietion directed by e
mediator mutually agreeable to the Perties. Each F'erty sheil bear its
proportionate share of the costs ot the mediator’s fees

The F'ariies agree to negotiate in good faith in the initial Meeting end in the
iviediation.

 

iii.

'».-..‘

(ten) days prior written notice to the other Party,

16.2. Eiinding Arb|tration

Eiiher Party mary submit any dispute srisin

g out of this Deed of legal Charge
that is not resolved following

the processes in clauses 1651 {i), (ii) end (iii)
above to iinai and binding Arbitraiion.

Parties.
iii. The Ari:iitralion contemplated hereby shot

l be by 3 (ihree) Arbiiraiors one of
whom shall he appointed by the Chargor

and the Chargee respectively while
the third Arbitraior shall be nominated toy the two (2)

Arbitraiors aforesaid and
the venue for the proceedings shell be Lagos

iv. Where there ls disagreement on the a

ppoinirnent of the third Arbitlaior, then
the third Arbiirator sh

all tie appointed by the Chief Judge of Lagos State.

Each Party shall be responsible for the cost of the f-\rl;itrator appoint
while the cost ot- the third Arl:)|trator and

arbitration proceedings shall be borne e
and the Company respectively

ed by it,
ali other costs and expenses of the
qual|y by the Chargor, the Chargee

16_241. The Ari:iitration shot

Acl Cap A18 Laws of the i'»"ederation of Nigeria 2004_

17. SEVERAB!LITY

17.1. if due to e change in any applicable low or due to a decision or any other act by
- any competent authority one or more terms or provisions of this Deed of Legal
Charge can no longer be enforced or en amendment of one or more of the
provisions of this Deed of Legal Charge is requiredl the Perties agree that they shall
endeavour to find an alternative solution approaching as near as possible the
contractual situation existing prior to such a change decision or act

17.2. if one or more provisions of this Deed of Legal Charge are determined to tie invalid
i or not enforceable

the remaining provisions shell not he affected thereby, end the
Deed of t.egei Char

ge shall be administered as though the invalid or not enforceable
provisions were not a part of the Deed of Legal Charge

 

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§ 13. wAtvERs

No Party shall be deemed to have waived any right under this Deed of Legal Charge unless

that waiver is in writing. refers to this Deed ot Legal Charge and is executed by that Party.

Fallore or forbearance to insist on the strict performance or observance by a Party of a

provisan OF this Deed cf Legal Charge shai| not be construed as a waiver by that Party ot

any right under this Agreement. Waiver of a right by a Party under this Deed of Legal Charge
t shall

not preclude that Party in the future from enforcing any other right whether similar or
» l dissimilar to the right that was waived or relinquished

1 9. NOTICES

19.1. Communications in writing

Any communication to be made under or in connection with this Deed of Legal Charge shall
be made in writing and, unless otherwise stated, may be made by tax or letter

19.2. Addresses

The address and tax number tend the department or officer, if any, for whose attention the
communication is to be made) for any communication or document to be made or delivered

under or in connection herewith is:

The contact details ct the Chargor for this purpose are:

Address: Camac House, F'lot 1849, Olosa Street, Victoria ls|anci, Lagos
l ram +2341

Emaii:
' Attention:

The contact details ot the Chargee for this purpose are:

Acldress: Zenith Bank Pic, Plot 84187, Ajose Adeogun Street, Victoria lsiand, Lagos
Fax number: +2341

Emaii: l

Attenticn: Company Secretary, ttiir. iv‘lichael Ositama Otu;

The contact details ofthe Company for this purpose are:

Address: Camac House, Plot 1649, Oiosa Street, Victoria island, Lagos
Fax: +2341
Email:

1 Atlention:

 

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19.3. Dellvery

19.3.1.Any communication or document made or delivered by one person to another

under or in connection with this Deed of Legal Charge shall only be effective

19.3.111. if by way of iax_ . at the time of transmission, if received before 1700 hours in

the place of delivery on a Business Day,
or

and otherwise ora the next Business Day;

19.3.1.2. if by way of letter, 5 (five) business days after being mailed by either

registered or certified meti, return receipt requested with postage prepaid

and, if a particuiar department or.ofl'“icer is specified as

part of its address details provided
under Ciause 19 [Noiicee}`

if addressed to that department or officer.

19.3.2.Any communication or document lo be made or delivered to the Chargee shall be directive

oniy when actually received by ttie_ Chargee and then only if it is expressly marked for the

attention of the department or officer identified with

the Chargec's signature below (or any
substitute department

or officer ss the Chargee shait specify for this purpose).

19.4. Notification of address and tax number

Each party shall promptly notify the other party of any change to

its address and fox number
pursuantto Ciause 19.2 (Addressesji

19.5. Electronic communication

t9.5.t. Any communication to be made between the Cliargor, the Chargee and the Company under

or in connection with this Deed of Legal Charge may tie made by electronic mail or other

etectroni<:. means ifthe Chargoi'. the Chargee, and the Company:

19,5.1.1. agree that, unless and until notified to the contrary.

this is to be an accepted
form of communication;

19.5‘1.2. notify each other in writing ct their electronic mail address andfcr any other

information required to enable the sending and receipt of information by that
means;

19.5.1.3. notify each other of any

change to their address or any other such information
supplied by tl'iein.

19.5.2_Any electronic communication made between the Citargor, the Chargee and the

Company
shall be effective only Wheri

actually received in readable form and in the case of any

electronic communication made by the Chatgor or the Company to the Chargee cnty ii it is

addressed in such a manner as the Chargee shall specify for this purpose

 

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20. Miscel!aneous

20.1. `

20.2. The Chargee may at all times

ease. modify or abstain from perfecting or
now or hereafter have from or against the

21. Law and Jurisdlction

21.1. This Charge is governed by, and Sha!{ be non

aimed ln accordance with, the laws of
the Federal republic of Nigeria

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|n WITNESS WHEREOF this Deed of Legai Charge lies been entered into Lhe day and year first
above written v

THE COMNJON SEAL of the wiihin»narried Borrower/Cempany

Camac Petroleum Limited

was hereunto affixed in the presence of

r / (M
.___ "“"1,\:;.:/: ,,¢:/\-

1_ m;“;m _H+_\~_Q._&;W ,__

DiitECTUR D|RECTOR/SECRETARV

THE CGN|MDN SE!\L of the withir~.~named Chargor

Ai|ie»,d Energy Plc

was hereunto affixed in the pre§gg_e of

QMWUL

DEREC.TGR

C:_`A_`__‘\_»\M
M“>~#~“~_~

M,,
.--m..._

DlRECTOR/SEC.R ETAR\"

 

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THE cOMNroN sEAL of me wilhin nwgqi@hu€§e¥"‘

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"§2./ » §§
§ \~€ Y`>»<*“S

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DEED OF ASS!GNMENT OF RlGH'¥'S

BETWEEN

cAMAc PETROLE\JM L:MiTED
(ASS\GNOR;

AND

AL.LiED ENERGY PLC
(ASS§GNOR)

AND

cAMAc ENERGY mc.
gAserNoR;

AND

zENiTH BANK PLC
¢A_sslc;NEE)

 

 

 

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iii.

i'-or the purposes of this Clause, the Assignors covenant and undertake
toe maintained with the Assignee (in tins with the Term Loan Facilit
ieum Limited dated (

that an Account shell
y Agreement between
)) and that eli other

The assignors having assigned their ri

ghts |n the commercial contracts to the assignee shall
not assign those rights

to a third party without obtaining the written consent of the assignee

DOM|G|L.AT!ON

The Assignors hereby covenants to irrevocably domicile ali proceeds of receivables from ali
commercial contracts with respect to Oil/ii. 120 and 121 into its Account No.5050005786 and

Account No. 5050009353 with the Assignee end has instructed the parties to the commercial
contracts to do so.

LAW

This Agreement shall be construed and governed in atl respects in accordance with the Laws
of the Federal Republic of Nigeria »

NUN RESTRICTION ANDIOR L|MITATIDNS

it does not have any restriction or
n the commercial contracts and that
. ` has obtained the requisite consent or waiver ot the

The Assignors jointly and severally hereby indemnify the Assignee against any loss or injury or
damage it may suffer as a con

sequence of breach by any of the Assignors of this provision or
any other provision of this Deed

REPRESENTAT|ONS & WARRANT|ES

The Assignors represent and warrant that th
behalf has been duly authorised to bind it. The Assignors further represent and warrant
that lt has the corporate capacity to execute this Agreernent and perform its obligations
hereunder, and is duly registered or incorporated validly existing and in good standingl

e Person executing this Agreernent on its

The Assignors represent and warrant that the executionl delivery and performance of this
Agreement will not conflict with or-violate or constitute a breach or default under '

agreement governing the or_ganisationr management business or affairs of the Party,
including its by-laws, memorandum of'asso

agreement or instrument to which it is a party. or, to its best knowledge any Appiioabie
l_ew, administrative regulation or court order, judgment or decree applicable to it.

The Assignors represent and warrant that it is not sub
applicable jurisdiction or subject to an s
Bankruptcy iaw, dissolution liquidation or windin
`bani<rupt, made an assignment for the beneht
substantiai part of its assets

All covenants vi.iarranties“»l ropresennationsl
vvhatsoevei' kind given, made or undertaken by
and effect notwithstanding any change in the com

indemnities and other obligations ot
the Assignors shell continue in tu|i force
position of the Assignors.

ARBiTRATlDN

The parties hereto agree that any dispute arising from this Deed shall be resolved in line with
the Di

'spute Resoiution and Arbitration provisions of the Term Loan Fecittty Agreement
between Zenith Bank Plc and Camac Petroleum Limited dated ( .

`V_

 

 

ease 13-32106 "Docorrieni13'7'-3“|'=iié'd"i`n'T)€§B`on‘dta/Os/ls Page 163 or 177

tN WiTNESS WHEREOF the parties heret

hereunto affixed the day and year first above ‘ivrittei'il

The Common Seai of the within named First Assigncr
CAMAC PETROLEUM L|M|TED

was hereunic affixed' in the presence of'

    

pinesroit

The Coriimon Sea| of the within named Second Assignor
ALLIED ENERG"¢' PLC

was hereunto affixed in the presence cf:

imitth tw~Q»

DtRECTOF{

 

.~ within \N`i’l
The Contmon Ses| ot' the within named Third As;sjgn@t)t{©¥ THE
CAN!AC ENERGY lNC.

was hereunto affixed in the presence of:

/f
|RECTOR

“g”::"“"

DfRECTOR

ituivtENi 15 'N ":""1

Cohuissioti'i
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two TH-r’UH - 0 ORPO 511 262
loss sE m §
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£J ij _…/)/L ij '“"““»/ mfg = §
fnwst§°- §

nutrienton oi=FicER _______ x

The Common Seai of the within named Assignee
ZENiTH BA K PLC

 

 

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wing '/" `.'

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CORPORATE AFFAERS COMMISSION

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FEDERAL REPUBLIC OP NlGERlA

Cm‘ti'¥i cafe 0“€;` Re§istm\tiow of

A DEEI) OF LEGAL CHARGE
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COM'PANIES AND ALLIED MATTERS ACT 1990
Pur'.s'uant 10 Section ]9?, 198 (2), 203 (1)

ALLIED ENERGY PLC

§§ i.s. hardly eerff¢€r'u£ find A. })EED OF LEGAL CHARGE
*Y¢z£ell, file Ww£eami& day of Fizu;, 2015

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RC 860957

 

CORPORATE AFFAIRS COMMISSION
FEDERA_L REPUBLIC OF NlGERlA

Certi‘Ficate of Registrafion of

A DEED OF ALL ASSETS DEBENTURE

COMPANIES AND ALLIED NlATTERS ACT 1990 -
Pw:s'umtt m .s'ecrz'cm 197, 198 (2), 203 (1)

CAMAC PETROLEUM LIMITED

32 111 hereby earli¢[£d lha£ A DEED UF .ALL ASSET]S' DEBENTURE

f’Dated the Twemj)~Fij?h dug es¢’Nove:rzber, 2014

mai created bg, the disease named corlr.;zng, bm¢pqu£e:£ iu Giigcmia
warnings the dam die One ('B£llc'mz, Jiae %cualréd F£il££on. Gzairca
(OZF,&G0,00(),OOO) 5a fa:wmc afl .Qenitlz ‘Fimnk ®le, @l¢sl£ 84, déicsz
ong::m. cftmet, U£ewxia ¢Lll¢md, .Qaaru, hal been regixfezced

€imz males the leaf of the @m¢gwm£c d#’¢az's; @m:wzi.:.dm d££mg'¢:.,
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gluf¢ gam£ftl¢. rhcq, of "Deeeucl¢e:<, 2014

Receipt No: CAC/’GTB 548347
For =N=lS,OOD,DUO.UD

 

BELLO MAHMUD

 

 

Regist.rar ~ General
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Storios by E}iofar Aliko

Pollowing the order of a
Federal High Court sitting
in Lagos, which enforced
and recognized a final award
rendeled at the london Court
of Intemational Arbitrohion
{LC[A) on February 14, 2017
in favour of Nigerian Agip.
Exploration Limited (NAE)
in respect of the Oyo oilfield
in Oil Mining Lease (OML)'
IU`the Nigenan‘ subd " rof
the Italizm finn has md;ae?i to
take over the field-, 'I’I»IISDAY
has loamt. - '
]usti`c_e_Haciizo R. Shagari-
of the Federal High Court had
ordered the NAGC to take
over-‘:OYO oilfield after a pro-
tracted‘logal dispute between
the-'Siibsidiary of the Italian

‘ oil firm and two Nigerian

Companies - Allied Energy
P]<: and Camac International
(Nig)`!rtd.

Act:ordjng to the judgment
of the Court in the Suit num»
bered FHC/ L/CS/ 625/2017,
the order Was sequel to the
ruling of the London Court

-o E'- international 7 motivation

(LCIA}- ‘ Which -;-or'ooo »_fron-'-l 'a-
dispute on a Sale and Purcth:e
Agreement (SPA) concluded

in jim 2012 themech Nigerian `

Ang E>:pioration Limited

'(NAE) os"oeller and Allie'd '
Energy Plc as purchaser

. j Moveo to Ter over Oyo ()i]§@jdm OM

In the court order signed by
the Re_gistrar, loseph Clujoye,
the judge ordered that leave
be granted to the claimant/
applicant that London Court
of kitemational Arbitration
Final Award be recognised
and enforced by the cou.rt.

The judge ruled that its
decision Was based on Sec-
tion 31 (1) and (2);Secl1'on 51
(1) and Setiior\ 57 (1) of the
Arbihration and Concilia`tion
Act CAP AIB Volume 1, Laws
of the Féderotion of Nigeria.

Justice Shagari ruled that
the court made the order
”upo_n. rendin the atH'davit
in Snpport o the ox*parte
originating summons sworn to
by Ogb€ne Abang, Nigerian a
Senior legal officer and a Staff
of NA;E. . and the exhibits ot~
headed-thereto marked exhibits
NAE lA~NAEE the witten
address in Support of the 'e.x~
parte originating summons
orlng by Chiof 'I] Gnomlgbo
Olq')oko (SAN) . .-Af§er hearing
G*\iefj.’le _Okpol<o (SAN) with
Chorles;fAjuyah (SAN`) and

.. Eguono Erhnm cormsel for the

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' denno of':ox»=porlo-origina=hing

sunnn.o`li`s= and adopted the
written address-filed as too
argume-rtt_.' ' ‘ . ~ ` . .-
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submission of the loaned

- Case18-32106 Document 13713 ""`l`=iled i"o`"T`XS'B' on 'o"t'a/oo/lo Pago 166101"177

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counsel and delivered ruling
on May 11, 201?."

Under the Sale and
Pmchaso Agree'ment (SPA)¢
Nigerian Agip Exploration
Limited had transferred to
A]]ied Enorgy Plc the entirety
of its interests and lights in
the two Oil Mining Leases 120
and 121 in the deep offshore
region of Nigeria.

Paymf.-:nt` of part of the price
for the transferred interests
and rights was deferred to
be paid by Allied Energy PIc
to Nigerian Agip Exploration
Limited -

Nigerian Agip Expforation
Limited filed the arbitration
at the London Court of
Internationa] Arbitration in
accordancewith the teams for
submission to arbitration as
provided for in the SI’A.

The arbitraiion Was finally
concluded on Fehluary 14,
2017 When the Final Award
Was issued by the arbio'ators.

The OML 120 contains the
Oyo Fie§d which is located
approximately 75 kiloxnetres
from the coast . in water

» dede ran'gmg.from 200"!:1:- '

'f SUU_'mehteS;'e--' :- ' -- . --
The 'Oyo Field command
production in -D_.e'(:o,mbor 2059 _
and the W'i<il"fs_ aro `Com\ectod' z
to the Amznda'_§’€rdmm FP‘E»O, -
a-P?Qafiot:l?r€zdu¢im,§t€)ogt -
OfHoading‘(FPSU) unit`f " `

 

 

 

 

 

 

 

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CAP, A]B, LAWS OF THE FED_ER'ATION UF NlGERlA (.Ll*N). 2004 AND
lN TllE MA'l"l`ER Ol? THE RECOGN__Y_! lO_N AND_ENFORCEMEN’! ()F

THE FINA`L AWARD IN LClA ARBI']"RATIGN NO: 132-498. '

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‘ , ’f.‘,,,_ _ APPLlCAN r
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AND ‘;‘f-" l 41
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l. ALLIED ENFRGY- _P_LC
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- 1111@1‘11111'1011111 Al'bilrmion Final Award
made in Lcmdon on 14th Februm'y, 2017 .
111 111;‘.1A` ARBITRA'HON NO; 1324911.

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‘_ Nigmi`n Aglp Explomtiun I.. Ld (as
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t i THE couRT oF APPEAL
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SUlT NO: FHCILICSIGZSIZO‘W

 

    
 

 

 

BETWEEN

zENlTH BANK PLC } APPLicANT

AND

1. N|GER|AN AG|P EXPLORATION L|M|TED
2. ALL|ED ENERGY PLC

3. lER|N PETROLEUM NlGERlA LINllTED
(Prei/iously Known as “Camac Petrofuem Limited

EsPoNoENTs

'NOTICE OF MOTION'

BROUGHT PURSUANT TO' ORDER 6 RULES 1, 2, AND 4 OF THE
COURT OF APPEAL RULES 2016, S:ECTlON 24 OF THE COURT OF
APPEAL ACT, LAWS OF THE FEDER-A'T|ON-OF NlGERlA, CAP 037 LFN
2004, SECT|ON 243 OF THE 1999 CONST|TUT|ON (AS AMENDED) AND

UNDER THE lNHERENT JUR|SDICTION OF TH|S HONOURABLE
COURT '

 

TAKE NOT|CE that this Honourabie Court shall be moved on day of
at the hour of 9.00 O'clock in the forenoon or so soon thereafter as Counsei
may be heard on behalf of the Appiicaht praying for the following orders:

1. An Order granting the Appiicaht Leave to join as an |nterestecl Party
to Suit No. FHC/L/CS/625/2017 between the Nigeria Agip Exploration
Limited V A||ied Energy Plc & Anor pursuant to Sec:tion 243 (a) of the
1999 Constitution of the Federal Republic of Nigeria (as Amenclecl).

2. An Order granting the Applioant an extension of time within which to
seek leave to appeal against the Order of the Federal l-ligh Court of
Nigeria made on lVlay 11, 2017 in Suit No. FHC/l_/CS/625/2017.

Kenna Pa rtners

Page 1 of 4
Barristers & Solicitors

 

 

 

ease 13-32106 Document 187-3m i`=iled"irf"r`)€se 'oh` 66'/08/13 Page* 170 or 177

. The delay occasioned in ma

. ln the circumstance, leave of this Honourabie Court is required for the

Appiicaht to appeal against the Order of the Federal High Court made
on Nlay 11, 2017 in Suit No. FHC/L/CS/625/20‘l7.

_ king this application was not borne out of
disrespect for the lower Court or this Honourabie Court as the

Appiicaht was unaware of the Arbitral Award entered as final Order of

the Federal High Court of Nigeria on Nlay 11, 2017 in Suit No.
FHC/l_/CS/625/2017.

. This Honourabie Court is empowered to grant the reliefs sought in this

application as they pertain to the App|icant’s constitutional right to fair

hearing as enshrlned in section 36 of the 1999 Constitution of the
Federal Republic of Nigeria (as amended). '

. That this is a proper case for the Honourabie Court to grant the said

reliefs.

AND TAKE FURTHER NOT|CE that the following documents are exhibited
in this application:

1.

2.
3

A certified true copy of the Enforcement Order of the Federal High
Court made on Nlay 11 2018; _

Proposed Notice of Appea| containing Proposed Grounds of Appeal;
The Deed of Legal Charge between the Appiicaht and the 2"°' and 3rd
Respondents; ‘

The Loan Facility Agreement between the Appiicaht and the 3rd
Respondent;

The All Asset Debenture Deed between the Appiicantyand the 2nd
Respondent

DATED THis l'-iRDAY o'F Aprii, 2018

signed by: Brrdger osazuwa, Esq _ @\

Kenna Partners

Professor Fabian Ajogwu, SAN
Charles Nwabu|u, ACArb
Okechukwu Ekweanya, Esq
Keivin Erhonsele, AC|Arb
Abisoia Yusuf (Miss)

~/ Bridget Osazuwa,(Miss)
Oluyemi Adebo, Esq
Counsei to the App|icant

 

Page 3 of 4

Barristers & Solicitors

 

 

 

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|N THE COURT OF APPEAL
HOLDEN AT LAGOS

APPEAL NO:

SUlT NO: FHCIL/CSI625l2017
BETWEEN `
ZEN|TH BANK PLC } APPL|CANT
AND
1. N|GER|AN AG|P EXPLORAT|ON L|M|TED
2. ALL|ED ENERGY PLC RESPONDENTS

3. ER|N PETROLEUM NlGERlA L|M|TEQ
(Previ`ously Known as “Camac Petroluem Limited)

AFFlDAVlT IN SUPPORT OF THE APPL|CANT’S NOTlCE OF MOTION
DATED APRIL 17, 2018 '

 

i, Bosah oi<onyia, iviaie, christiar{,mmi§ii'gerian citizen of zeniih' Heighis, Pioi

84/87Ajose Adeogun Street, Victoria lsland, Lagos State do hereby make oath
and state as follows:

1. That l am a Legal Practitioner in the law department of the Applicant, by
virtue of which position l am conversant with the facts of this case.

2. That l have the consent and authority of my employer (the Appiicant) to
depose to this Affidavit. l

3. That except as otherwise stated, l depose to facts within my personal
knowledge, as well as from information obtained by me from reading the
documents pertaining to the events leading up to this matter and from

information derived in the course of carrying out my duties in the
employment of the Appiicaht

4. That the Appiicant is a public company incorporated and licensed under the
Laws of the Federal Republic of Nigeria having its registered office at Plot
84, Ajose Adeogun Street, Victoria |sland, Lagos State.

5. The 1St Respondent is a private limited company incorporated under the
Laws of the Federal Republic of Nigeria to carry on business in Nigeria with
its offices situate at 1, Eisie Femi Pearse Street, Victoria lsland, Lagos.

 

 

 

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15. That some ofthe agreements execut
Term Loan Faci|it
Respondent are:

ed as security for the repayment ofthe
y Agreement granted by the App|icant to the 3rd

15.1 Ail Aeeeie Debenture deied November 25, 2014;

15.2Deed of Legal Charge dated lVlay 14, 2015; and
15.3 Deed of Assignment of Rights.

16. The agreements outlined in paragraph 15 above are hereto annexed and
marked as Exhibits 2, 3 and 4 respectively

17. That following the execution of the above referenced Deed of Legal Charge
and Deed of A|l Assets Debenture, the Appiicaht registered the
aforementioned security documents at the Corporate Affairs Commission
which are evidenced by the Certificate of Registration of Deed of Legal
Charge dated lvlay 26, 2015 and the Certificate of Registration of Deed of
All Assets Debenture dated December 12, 2014. Copies of the Certificates

of Registration are hereto annexed and marked as Exhibits 5 and 6
respectively -

18. That in compliance with Clause 3 (Disbursement) of the Term Loan Facility
Agreement between the Applicant and the 3m Respondent (earlier
described as Exhibit 1), the Appiicant has fulfilled its obligation by

disbursing the entire sum granted under the facility agreement to the 3rd
Respondentl

19.That by Clause 17 (Representation and Warranties) of the Term Loan
Facility Agreement between the Appiicaht and the 3rd Respondent,
particularly, paragraph 17.8 (proceedlngs pending or threatened), the 3rd
Respondent represented and warranted to the Appiicaht that, no litigation,
arbitration or administrative proceeding of or before any court, arbitral body
or agency has (to the best of its knowledge and belief) been stated or

threatened against it (or against its directors) or any other Obiigor (or
against any director of an Obiigor) which:

a) lVlay restrain its entry into, the exercise of its rights under, or the
performance, enforcement of or compliance with any of its
obligations under this Agreement; or

b) |f adversely determinedl would reasonably be expected to have a
material adverse effect

20. That at the time of entering into the Term Loan Facility Agreement and the
Disbursement of the loan sum by the Appiicant to the 3rd Respondentl the
Appiicaht was not aware or informed of the existence of any litigation,

 

 

 

 

ease 13-32106 Documeni1s7-s "i=iled infst on os/os/1s Page 173 oi 177

29_

31.

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36.

. That the Appiicaht was not

the sums of £7,119,290.99

(Seven l\/lillion, One Hundred and Nineteen
Thousand, Two Hundred an

d Ninety Pounds, Ninety Nine Pence)

And €550,796.01 (Five Hundred
Ninety Six Euro, One Cent) an
United States Dollars)
jointly and severa||y.

and 'Fifty Thousand, Seven Hundred and

d $5,900 (Five Thousand, Nine Hundred
against the 2nd Respondent and the 3rd Respondent

aware of the existence of any Sale and
Purchase Agreement entered into between the 1St and 2nd Respondent

neither was it informed of the existence of the Arbitral Proceedings from
which the Final Arbitral Award given by the LCIA dated February 14, 2017

(now recognised by an order of the Federal High Court dated May 11,2017)
arose

That the 15t Respondent in an attempt to realise the fruits of the Award
granted by the l_ClA and recognised by an Order of the Federal High Court
dated May 11, 2017 executed a ‘Noti`ce of Seizure/Attachment of Gooo's'
by locking the export valve on the FPSO operated by the 2“d Respondent
(the interest of which has been charged in favour of the Appiicaht for the
repayment of the loan granted by the Appiicaht to the 3rd Respondent).

That the Appiicaht being unaware of the existence of the Arbitral
Proceedings from which the Final Arbitral Award obtained by the 1at
Respondent against the 2nd and 3rd Respondent dated February 14, 2017
arose until several months after the Award Was recognised by an order of
the Federal High Court made on l\/lay 11, 2017 was unable to make an
appearance at the lower Court for an opportunity to be heard.

That the enforcement of the Order of the Federal High Court (recognising
the Arbitral Award given by the LC|A) made on l\/lay 11, 2017 will put the

security for the loan granted by the Appiicaht to the 3rd Respondent in
jeopardy

That the Appiicaht is an interested and necessary party Whose genuine

interests is adversely affected by the Order of the Federal High Court made
on lVlay 11l 2017.

That the Appiicant has a constitutional right to be heard and to appeal
against the Order of the Federal High Court in Suit No. FHC/L/CS/625/2017
delivered on l\/lay 11, 2017 as a party interested and affected by the Order.

That before the Appiicaht can appeal against the Order of the Federal High

Court made on l\/lay 11, 2017 in Suit No. FHC/L/CS/625/2017 as an
interested party, Leave of this Honourabie Court is required

 

 

 

ease 13-32106 Documeni1s7-s Filed infst on `06/03/18 Page 174 oi 177

46. That l make this deposition in

be true and correct to the best
Oaths Act.

good faith believing all the facts deposed to
of my knowledge and in accordance with the

di

DEPONENT

Sworn to at the Court of Appeal Registry,
Lagos, this£@@ay of )f-\prill 2018

BEFORE ME

 

 

 

 

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lN THE COURT OF APPEAL
HOLDEN AT LAGOS

APPEAL NO:
SUlT NO: FHCILICSI62512017

BETWEEN

ZEN|TH BANK PLC jf` APPELL,ANT

AND

1. N|GER!AN AG|P EXPLORAT|ON L|M|TED
2. ALL|ED ENERGY PLC

3. ER|N PETROLEUM NlGERlA L|M|TED
(Previous/y Known as "‘Camac Petro/uem Limife

RESPONDENTS

PROPOSED NOT|CE OF APPEAL
----_..___._________

TAKE NOT|CE that the Appellant being dissatisfied with the Decision Contained
in the Order of Honourabie Justice H. R. Shagari sitting at the Federal High
Court, lkoyi, Lagos made on May 11, 2017 (in Suit No. FHCILICSI625l17 -
Nigerian Agip Exploration Limited v. A||ied Energy Plc & Camac
international (Nigeria) Limited) does hereby appeal to the Court of Appeal

upon the grounds set out in paragraph 3 and will at the hearing of the appeal
seek the relief set out in paragraph 4.

AND the Appei|ant further states that the names and addresses of the persons
directly affected by the appeal are those set out in paragraph 5.

2. Part of the lower court decision complained of:

The Entire Order
3. Grounds of Appeal
GROUND 1

The Court erred in law when it held as on page 3 of the Honourabie Court‘s order
dated May 11, 2017 as follows:

1. That LEAVE be granted to\the Claimant/Applicant that the
London Court of international Arbitration Final Award made in

 

 

 

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The Honourabie Court failed to consider that in Statoil (Nig.) Lfo'. i/
lno'ucon (Ni'g.) Li‘o'. (2014) 9 NWLR (Pt. 1411) 43 at 55, the Court of Appeai
held that public policy holds that no subject can lawfully do that which has
a tendency to be injurious to the public or against public good, may be
termed the policy of the law or policy in relation to the administration of the

e United Kingdom where the
Arbltration award was issued, the High Court is wiili

[201_7] iach 1343 (cemm).

. The Court failed to consider '

page 77, the Engiish Court
should be refused where it w
and fully informed members
state are exercised

Leave for the enforcement of the award was granted when the Appellant’s
interest in OiVlLs 120 and 121 was and is still pending

Re|iefs sought from the Court of Appea|

AN ORDER allowing this appeal and setting aside the Order of the Federal
High Court appealed against herein_

Persons directiy affected by the appeal

. ZEN!TH BANK PLC

Zenith Heights

84/87, Ajose Adeogun Street
Victoria island

Lagos.

. N|GER|AN AG!P EXPLORAT|ON L|MiTED

1, Eisie Femi Pearse Street
Victoria island
Lagos

. ALL|ED ENERGY PLC

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Case 18-32106 Document 187-3 Fiied in TXSB on 06/08/18 Page 177 of

l Victoria island
Lagos

3. The 3'°' Respondent
ER|N PETROLEUM L|M|TED

(Previously Known as “Camac Petroluem Limited)
Camac House

` Piot 1649, Olosa Street
Victoria island
Lagos

fraga 5 of .’:`»

 

